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FOR The bv. CIRCUIT
Toe MAR 24 AN 7 BO
UNITED STATES DISTRICT COURT

for the ¢y 1, Sih
DISTRICT OF co PATER ele

STEVEN P. ENDRES |

4338 Hillside Drive
Ann Arbor, Michigan 48105 Case: 1:24-cv-00883
Assigned To : Kollar—Kotelly, Colleen
Plaintiff, Assign. Date : 3/24/2024
y. Description: Pro Se Gen. Civ. (F-DECK)
AIR CANADA, INC. Judge:
7373 Céte-Vertu Boulevard West
Saint-Laurent, Quebec, Canada H4S 1Z3
COMPLAINT,
AIR FRANCE-KLM S.A. REQUEST FOR
7 Rue du Cirque INJUNCTION,
75008 Paris, France AND REQUEST FOR
MANDATE TO ISSUE
ALASKA ATR GROUP, INC. PATENT

19300 International Boulevard
Seattle, Washington 98188

AMAZON.COM, INC.
410 Terry Avenue North
Seattle, Washington 98109-5210

AMERICAN AIRLINES GROUP INC.
1 Skyview Drive
Fort Worth, Texas 76155

ATLAS AIR WORLDWIDE HOLDINGS, INC.
2000 Westchester Avenue
Purchase, New York 10577

DELTA ATR LINES, INC.
1030 Delta Boulevard
Atlanta, Georgia 30354

DEUTSCHE LUFTHANSA AG
Venloer Street 151 — 153
50672 Cologne Germany

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Filed 03/24/24

FEDEX CORPORATION
942 South Shady Grove Road
Memphis, Tennessee 38120

FRONTIER GROUP HOLDINGS, INC.
4545 Airport Way
Denver, Colorado 80239

HAWAIIAN HOLDINGS, INC.
3375 Koapaka Street, Suite G-350
Honolulu, Hawaii 96819

INTERNATIONAL CONSOLIDATED AIRLINES

GROUP S.A.
El Caserio
Iberia Zona Industrial n° 2

Camino de La Mufioza
28042 Madrid, Spain

JETBLUE AIRWAYS CORPORATION
27-01 Queens Plaza North
Long Island City, New York 11101

LATAM AIRLINES GROUP S.A.
Avenida Presidente Riesco 5711
Las Condes, Santiago, Chile

RAND PARENT, L.L.C.

c/o Apollo Management Holdings, L.P.
9 West 57th Street, 43rd Floor

New York, New York 10019

SOUTHWEST AIRLINES, CO.
2702 Love Field Drive
Dallas, Texas 75235

SPIRIT AIRLINES, INC.
2800 Executive Way
Miramar, Florida 33025

UNITED AIRLINES HOLDINGS, INC.
233 S. Wacker Drive
Chicago, Illinois 60606

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UNITED PARCEL SERVICE, INC.
55 Glenlake Parkway, N.E.
Atlanta, Georgia 30328

ASHLEY MOODY, tn her official role as Attorney
General of the State of Florida

PL-01, The Capitol

Tallahassee, Florida 32399

CITY OF NEW YORK, NEW YORK
City Hall
New York, New York 10007

CITY OF NEWARK, NEW JERSEY
920 Broad Street
Newark, New Jersey 07102

METROPOLITAN WASHINGTON AIRPORTS
AUTHORITY

1 Aviation Circle

Washington, District of Columbia 20001

PORT AUTHORITY OF NEW YORK AND NEW
JERSEY

4 World Trade Center

150 Greenwich Street

New York, New York 10007

And

UNITED STATES OF AMERICA
450 Fifth Street NW, Suite 8000
Washington, DC 20530

Defendants.

Plaintiff Endres brings this action under the Clayton Act, 15 U.S.C. § 26, the

Organized Crime Cantrol Act of 1970, 18 U.S.C. §1964(c), and the U.S. Constitution
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to redress Defendants boycott of his competitive market-clearing process to allocate
airspace reservations to the public.

Endres’ competitive multi-sided market allocation of reservations to use the
public’s airspace has been blocked by a carrier cartel’s conspiracy to restrain trade
by price fixing and market allocating reservations to land and takeoff at airports,
and by a group boycott of the reservation market. The restraint of trade has
usurped the market competition for price, route, and service required by the Airline
Deregulation Act of 1978 and to which the United States has committed in air
transport agreements with over 100 of its trading partners. The lost commerce
exceeds $30,000,000,000 per year.

Endres has a particularized injury from the boycott of the market because he
is the only person to invent and offer the market a lawful competitive multi-sided
market-clearing process. Endres also solely developed the multi-sided market-
clearing service, based on the market-clearing process, to provide exclusive access to
takeoff and landing reservations to both suppliers and consumers of air
transportation. Endres has a constitutional right to the collection of demand-
calibrated multi-sided market-clearing premiums for airspace reservations as
offered to carriers. Endres’ market-clearing process was issued a patent by the
Canadian government on December 12, 2023.

Exceptional circumstances warrant the exercise of this Court’s injunctive
powers because the right claimed by each Defendant Carrier to own scarce public

airspace resources contradicts long-established property rights regarding the

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public’s title to the navigable airspace — thus undermining the statutory
framework and affecting passengers and shippers in over 800 million annual
enplanements across the U.S. on domestic and foreign carriers. !

Endres brings the parties that have orchestrated and joined this conspiracy
to restrain trade and boycott the competitive market allocation of U.S. airspace
reservations — domestic and foreign air carriers and their owners, airport owners,
airport operators, and a state Attorney General — before this Court to establish

traceability and redressability.

1 See Bureau of Transportation Statistics of the Department of Transportation,
Transportation Statistics Annual Report 2022, 1-18, Doc. 302, PE-A2 254.
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GLOSSARY OF ACRONYMS

Air Transport Association of America, Inc. d/b/a Airlines for America, a

aie domestic airline trade association
ACH Airlines for America’s Airlines Clearinghouse
ACIP Air Carrier Incentive Plan of an airport
AGM IATA Annual General Meeting
ARC Airline Reporting Corporation
ATPCO | Air Tarriff Publishing Company
CAB Civil Aeronautics Board
CPP City Pair Program of the GSA
DCA Reagan National Airport in Washington, D.C.
DOJ Department of Justice
Department of Transportation (abbreviation used by the Secretary),
DOT
a.k.a. TRN
EA Carrier-currency abbreviation for unknown carrier.
EWR Newark Liberty Airport in New Jersey
FAA Federal Aviation Administration under the Secretary of Transportation
FOIA | Freedom of Information Act
GDS Global Distribution Service
GSA General Services Administration, an executive branch agency
International Air Transport Association, an airline trade association
IATA .
incorporated in Canada
ICAG | International Consolidated Airlines Group S.A.
ICH IATA Clearing House
IROE | IATA Rates of Exchange

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| JFK John F. Kennedy Airport in New York
| LAX Los Angeles Airport in California
LGA LaGuardia Airport in New York
National Plan of Integrated Airport Systems published by the Secretary
NPIAS .
of Transportation
NYC New York City, New York
ORD Chicago O’Hare Airport in I1linois
OST Office of the Secretary of Transportation
PFC Passenger Facility Charge tax per 49 U.S.C. § 40117
PTAB | Patent Trial and Appeal Board of the USPTO
RICO _ | Racketeering Influenced and Corrupt Organizations
SF Unknown provider of IATA carrier-currency rates of exchange
SFO San Francisco Airport in California
SIS IATA Simplified Invoicing and Settlement
SITA Société Internationale de Télécommunications Aéronautiques SCRL
TACT | The Air Cargo Tariff
TRN Department of Transportation (abbreviation used by Fed. Cl.), also
abbreviated as DOT
UATP | Universal Air Travel Plan
USPTO | U.S. Patent and Trademark Office
WSG, | Worldwide Slot Guidelines, a.k.a. Worldwide Airport Slot Guidelines, an
WASG_ | agreement among member-airlines of the IATA

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GLOSSARY OF IATA ACRONYMS AND TERMINOLOGY

A government or corporation that has a Contract for

Acquiring Scheduled Service with an airline for future scheduled air
Partner :
transportation
BSP IATA Billing and Settlement Plan
CASS IATA Cargo Accounts Settlement Systems
CC Credit Card
CSI Credit Sales Invoicing
CSP Card Settlement Plan
An employee of a government or company that has a
Customer Contract for Scheduled Service with an airline for future
scheduled air transportation
FOP Form of Payment
GDS Global Distribution Service
HOT Travel Agent Billing
IBS IBS Software, a software provider
IBS OPS WG IATA Interline Billing and Settlement Operations
Working Group
ICER IATA Consolidated Exchange Rates (source: bank)
TROE IATA Rates of Exchange (source: IATA)
OMS Order Management System
PNR Passenger Name Record
RET Travel Agent Report
SC IATA Slot Conference
TA Travel Agent/Agency, also known as Sales Agent
TI Ticket Inventory
TMC Travel Management Company

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TABLE OF PLAINTIFF'S EXHIBITS

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A: Communication with Congress PE-A InfoCongress
B: Rulemaking PE-B Rulemaking
C: Unsolicited Proposal [N/A to District Court]
D: Agreements between Airlines PE-D Agreement
E: Exhaustless Auction Announcement PE-E Auction
F: Administrative Reservation Allocation PE-F MarketFail
G: Court Documents PE-G Court
H: Agency Information Collection PE-H CarrierInfo
I: U.S. Antitrust Cases PE-I Antitrust
J: Other PE-J Other
K: Table of Documents Referenced to Exhibits [N/A to District Court]
L: IATA Corporation Documents PE-L Cartel

2 To comply with the PDF size limit of 50MB in the local court, Plaintiff split
several exhibits into smaller files. The exhibits are referenced as, e.g., PE-Al, PE-
A2, PE-A3 in the case at bar, and are referenced as, e.g., PA-A in the U.S. Court of
Federal Claims. The document number will be the same for both courts, but the
page number referenced to the exhibit will be different between the two courts.
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M: Summer 2024 Carrier Scheduling Season PE-M Summer-2024
N: [No description given.] PE-N
O: [No description given.] PE-O

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1. INTRODUCTION

1. In 1938, the Congress “recognized and declared to exist in behalf of any
citizen of the United States a public right of freedom of transit in air
commerce through the navigable air space of the United States.”* The
Supreme Court upheld this right in 1946:

The air is a public highway, as Congress has
declared. Were that not true, every
transcontinental flight would subject the operator
to countless trespass suits. Common sense revolts
at the idea. To recognize such private claims to the
airspace would clog these highways, seriously
interfere with their control and development in the

public interest, and transfer into private ownership
that to which only the public has a just claim.4

2 In 1978, in deregulating air transportation, the Congress delegated those
decisions related to price, route, or service to be determined by market
competition. The Supreme Court found the law unambiguous.® The
remaining economic regulations were structured to ensure that carriers
comply with the terms of use of the National Airspace System — embodied in
the requirements of the economic certificate — including compliance with

antitrust laws.

3 Civil Aeronautics Act of 1938, Pub. L. 75-706, sec. 3, 52 Stat 973, 980, codified
as amended at 49 U.S.C. § 40103(a)(2).

4 U.S. v. Causby, 328 U.S. 256 (1946).
5 See Morales v. Trans World Airlines, 504 U.S. 374 (1992).
6

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The Congress searched for a competitive method to allocate to carriers the
scarce seasonal supplier reservations required for the use of the public’s
airspace at those airports with excess market demand. When a competitive
method did not emerge, the Secretary of Transportation accepted the Title of
“Slot Coordinator,” an arbiter of carrier disputes over the rights of access to
the reservations,® pursuant to an agreement among carriers to allocate the
reservation market with grandfathering, called the International Air
Transport Association’s (ATA) Worldwide Slot Guidelines? (WSG). The
Congress has acted several times to correct the market failure in airspace
reservations; yet, forty-six years into the deregulated era, domestic and
foreign carriers still allocate the supplier airspace reservation market
according to the IATA WSG agreement.

During this deregulated era, the Executive branch has negotiated and signed
treaties with foreign nations agreeing to allow a fair and equal opportunity
for the airlines of each country to compete to provide service;® it has issued

notices seeking a permanent solution to the allocation of airspace

The reservation by an air carrier for an aircraft to enter and exit the navigable

airspace is also known as a “slot”; see 49 U.S.C. § 41714(h)(4).

7

Also known as Worldwide Scheduling Guidelines and Worldwide Airport Slot

Guidelines (WASG).

8

See e.g., U.S. — E.U. Air Transport Agreement of April 30, 2007, Doc. 319, PE-Al

373, Article 2 at 868.
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reservations;? and it has justified its administrative allocation of market
access because of a market failure.!° This market failure is sustained by the
IATA WSG, which both declares exclusive rights to grandfathered carriers
and recruits regulators to confer those exclusive rights through enforcement
of the private agreement.

5. Relying on the statutory framework, Endres developed his competitive multi-
sided market allocation — which upgrades the supplier-carrier, the
consumer-passenger, and the consumer-cargo reservation systems to allocate
the congestion-free capacity of airspace reservations with a demand-
calibrated premium that is designed to ensure that prices meet market
clearing levels.

6. Endres offered his market-clearing service to carriers, but every Defendant
Carrier continued to obtain its grandfathered supplier reservations for free
rather than bid; and continued to not compete for supplier reservations
claimed by other carriers. Exhaustless challenged the orders that require an

administrative allocation of supplier airspace reservations by the Federal

9 See Notice of Market-based Actions to Relieve Airport Congestion and Delay, 66
Fed. Reg. 43947 (proposed Aug. 21, 2001), Doc. 337, PE-B1 225.

10 See Order 2017-4-6 (Apr. 10, 2017), Doc. 9, PE-B2 43 at 47 (‘[NJon-incumbent
carriers have had a difficult time acquiring viable slot times at both airports, and
that it is unlikely that a market solution will present itself. .. Our decision to
condition the grant of ATI with a slot divestiture remedy was not novel, but was
instead consistent with our prior rulings in other cases, in which we employed this
mechanism as a means of ensuring that the benefits of the transaction are realized
by providing the means for sufficient competition|[.]”)
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Aviation Administration (“FAA”) of the Department of Transportation (““DOT”
or “TRN”). The circuit court ruled that the FAA could withdraw its orders at
will and found no hurdles that would preclude carriers from adopting the
competitive allocation. But the court needed either more information to
determine traceability to regulators, or it needed carriers present before
taking further action. So, Endres again offered the service to carriers. Each
Defendant Carrier instead voted to continue to grandfather the public’s
reservations for free — worldwide —rather than bid in the supplier
reservation market.

Endres offered his market-clearing service in multiple proceedings in DOT
public dockets, notifying carriers that they are risking antitrust exposure by
boycotting the reservation market.

Carriers have continued to claim exclusive and proprietary rights to airspace
reservations and have de facto received that privilege with the aid of an
illegal subsidy from the DOT at seven airports at which it limits the volume
of flight reservations, which it then ‘grants’ to carriers for free every
scheduling season pursuant to the IATA WSG. Most of the Defendants have
since admitted in a dismissed case in the U.S. District Court for the District
of Massachusetts that the IATA WSG is a market allocating agreement
among carrier-members of the trade association the LATA.

This breakdown in the separation of powers has substituted Defendant

Carriers’ self-declared ‘grandfathered rights’ in supplier airspace reservations
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in place of long-established public property rights to the navigable airspace
and has usurped the Congress’ clear intent for market competition to
determine price, route, and service quality in air transportation.

10. Further, Endres has patented solutions to increase flight capacity at
constrained airports, and solutions to allocate reservations across the
National Intermodal Transportation System — while decreasing noise,
pollution, and greenhouse-gas emissions, !! as sought by the Congress (e.g.,
Clean Air Act,!2 Clean Water Act,!° air transport agreements, !4 the National
Aeronautics and Space Act,!5 and the Intermodal Surface Transportation
Efficiency Act of 199116). But the anticompetitive allocation has interfered
with the Congress’ policy for maximum market competition for
transportation — while squandering Endres’ limited time to the exclusive use
of his intellectual property.

11. Endres now files this complaint against the perpetrators of the conspiracy to

restrain trade in U.S. airspace reservations for monetary damages, a

11 See Patent Number US9,156,564 (2015) and Patent Number US9,920,695
(2018).

12 See 42 U.S.C. § 7401 et seq.
13 See 33 U.S.C. § 1251 et seq.

144 See e.g., U.'S.—E.U. Air Transport Agreement of April 30, 2007, Doc. 319, PE-Al
373; U.S. —E.U. Air Transport Agreement of June 24, 2010, Art. 15 § 6(a), as
amended by Art. 3, Doc. 320, PE-A1 461 at 468; and U.S. — E.U. dceland, Norway)
Air Transport Agreement of June 21, 2011, Doc. 321, PE-A1 489.

1 See Pub. L. 111-314, §3, 124 Stat. 3328, 3331, codified at 51 U.S.C. § 20102¢(e).
16 See Pub. L. 102-240, §2, 105 Stat. 1914, codified at 49 U.S.C. § 5501.
II.

12.

13.

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permanent injunction of the Defendant Carrier’s agreement to grandfather
supplier reservations, the issuance of Endres’ patent for the market-clearing

process, and other structural remedies.

STATEMENT OF JURISDICTION AND VENUE

Plaintiff Endres brings this action to enforce his individual right to treble
damages under section 4 of the Clayton Act, 15 U.S.C. § 15; to enforce his
individual right to a permanent injunction under section 16 of the Clayton
Act, 15 U.S.C. § 26; to enforce his right to monetary remedies under section
901, Racketeering Influenced and Corrupt Organizations (“RICO”) of the
Organized Crime Control Act of 1970, 18 U.S.C. § 1964(c); to seek structural
remedies under section 901, RICO of the Organized Crime Control Act of
1970, 18 U.S.C. § 1964(a), and to seek “further necessary or proper relief”
based on the D.C. Circuit’s declaratory judgment regarding his market-
clearing service, which uses his market-clearing process to which Canada
recently issued a patent, pursuant to the law of June 14, 1934, chapter 512,
28 U.S.C. § 2202. Endres also brings this action under articles I and IV and
the first amendment of the U.S. Constitution.

This complaint is timely filed. The constitutional claims have no statute of
limitation; the antitrust claims are filed “within four years after the cause of
action accrued,” section 4 of the Clayton Act, 15 U.S.C. § 15b, which was on

March 25, 2020; and the claims under 18 U.S.C. §§ 1956 and 1957 are filed
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within seven years, section 5904 of the James M. Inhofe National Defense
Authorization Act for Fiscal Year 2023 (2022), 18 U.S.C. §1956G).17

14. This Court has jurisdiction pursuant to (i) section 9(a) of Pub. L. 95-486
(1978), 28 U.S.C. § 1337 because this complaint arises under acts of the
Congress regulating commerce and protecting trade and commerce against
restraints; (ii) the law of June 25, 1948, ch. 646, 62 Stat. 931, 28 U.S.C. §
1338(b) because the claim of unfair competition is related to a claim under
the patent laws; (iii) section 4 of the Clayton Act, 15 U.S.C. § 15(a); Gv)
section 901 of the Organized Crime Control Act of 1970, 18 U.S.C. § 1964(a);
and (v) section 24, par.1 of the law of March 3, 1911, ch. 231, 28 U.S.C. §
1331 for claims arising under the U.S. Constitution, laws and treaties.

15. This Court has jurisdiction over the foreign defendants pursuant to section
317 of the USA PATRIOT Act of 2001, 18 U.S.C. § 1956(b)(2).

16. This Court has jurisdiction, concurrent with the U.S. Court of Federal
Claims, section 24, par. 20 of the law of March 3, 1911, ch. 231, 28 U.S.C. §
1346(a)(2) because the U.S. is a defendant in a claim founded on the U.S.
Constitution. Plaintiff has filed a complaint in the U.S. Court of Federal
Claims, Case No. 1:23-cv-01536, regarding the federal government’s related

actions, which culminated in a regulatory taking of Endres’ market clearing

17 Prior to Dec. 23, 2022, the statute of limitations was 5 years pursuant to 18
U.S.C. § 3282. See 18 U.S.C. § 1956 note (“The amendments made by this section
shall apply to conduct that occurred before the date of enactment of this Act for
which the applicable statute of limitations has not expired[.]”).
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premiums, violating his constitutional right to conduct commerce and
requiring compensation under the fifth amendment.

17. ‘This Court has jurisdiction over the action related to mandamus to compel
action of an officer of the U.S. pursuant to section 1(a) of Pub. L. 87-748
(1962), 28 U.S.C. § 1361.

18. Venue is proper under sections 4 and 12 of the Clayton Act, 15 U.S.C. §§
15(a) and 22 because each Defendant Carrier obtains and maintains its
certificate of public convenience and necessity or its foreign air carrier permit
from the Secretary of Transportation in this district; and each Defendant
Carrier also obtains the primary allocation of its airspace reservations for
scheduled air transportation service at seven U.S. airports from the Secretary
of Transportation in this district. Venue is proper under section 901(a) of the
Organized Crime Control Act of 1970, 18 U.S.C. § 1965(a) because each
Defendant Government either resides or has an agent in this district.

19. This complaint will aid the Court’s jurisdiction because it involves the
Congress’ constitutional authority over the regulation of the use of the

public’s airspace, !8 domestic and foreign commerce, !? and the public’s right to

18 See U.S. Const. art. IV, § 3, cl. 2. See also, 49 U.S.C. §§ 40103(a)(1) (‘The
United States Government has exclusive sovereignty of airspace of the United
States”) and 41101(c) (an air carrier certificate “does not confer a proprietary or

exclusive right to use airspace, an airway of the United States, or an air navigation
facility”).

19 See U.S. Const. art. I, § 8, cl. 3. See also, 49 U.S.C. § 40101(a)(12)B).
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patents.2° It will also aid the Court’s jurisdiction by reliance upon Art. III.’s

separate power to interpret the law in conflicts.

Il. THE PLAINTIFF AND HIS INVENTIONS

A. The Plaintiff

20. Endres’ Background: Endres earned a Master of Business Administration

degree and a Bachelor of Science degree in electrical engineering, both from
universities in the U.S. His work in other industries involved knowledge of,
inter alia, wireless technology, wireless spectrum allocated by auction,
enterprise software development, and satellite navigation.

21. The Congestion Delay Problem: In 2012, Endres read a news article that the

U.S. Navy was converting its assisted takeoff system from steam to electric
power (jet pilots use the system to takeoff from the short runway of an
aircraft carrier). That led Endres to research the use of the launch system in
commercial aviation. Endres discovered a U.S. Congress Joint Economic
Committee study from 2008 that estimated that a portion of flight delays cost
the economy $41 billion in 2007.2! A follow-on study commissioned by the
FAA estimated that the cost of domestic passenger service delays was $31

billion in 2007 and determined that most of these delays were due to

20 See U.S. Const. art. I, § 8, cl. 8.

21 Charles E. Schumer, et al., Your Flight Has Been Delayed, Report by the Joint
Economic Committee Majority Staff (May 2008), Doc. 1, Plaintiffs Exhibit Al -
(“PE-A1”) 1 at 5.
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overscheduling by airlines and therefore avoidable.?2 Moreover, the study
suggested that the actual market opportunity was likely higher than its cost-
based estimates.22 Endres saw the economic opportunity of reducing
congestion delays and founded a company to address this market need.

The Company: Endres, the sole incorporator, created a company he named

Exhaustless, and incorporated it in the State of Delaware in December 2012.
Endres retained ownership of 95.129% of the issued shares of Exhaustless.
Endres hired an employee to which he bestowed the title of Chief Financial
Officer (CFO), and as an incentive to retain the employee-CFO until the
company obtained financing or began earning revenues from which cash
compensation could be paid, he issued the employee the remaining shares of
the company. The incentive shares vested over three years, with the
company retaining the right to repurchase any unvested shares. The
employee-CFO had no involvement in the inventions. The employee-CFO
took medical leave from the company from mid-2013 to mid-2017, during

which time Endres worked unassisted.

Michael Ball, et al., Total Delay Impact Study, National Center of Excellence for

Aviation Operations Research (““NEXTOR’”) (Nov. 3, 2010), Doc. 2, PE-A1 35 at 46.

Se

e also, id. at 49 (“Such flight delay . . . reflects excess travel time much of which is

related to congestion in the air transportation system.”).

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See id. at 54 (“In general, passengers are willing to pay a higher price for less

delayed flights[.]”).

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B. The Plaintiffs Inventions

The Assisted Takeoff System: In early 2012, Endres began researching and

designing systems to increase flight throughput at constricted urban airports
to alleviate chronic-congestion delays. Endres developed the grid-assisted
takeoff system for commercial aircraft, using, inter alia, his own prior
knowledge, the prior art of the system developed for the U.S. Navy,
information from jet engine manufacturers, and research from many U.S.
universities —such as information on computational fluid dynamics and
open-source state of the art for aerospace design. Endres disclosed the
invention of the takeoff system to the public in a provisional patent
application in 2013 and assigned the invention to Exhaustless. In 2015, The
U.S. Patent and Trademark Office (USPTO) issued Patent Number

US9, 156,564 for the assisted takeoff system, and the European Union issued
Patent Number EU2948375 under the Patent Cooperation Treaty. Endres
began seeking venture capital to complete the research and development of
the takeoff system.

The UK Airports Commission: In 2013 the Airports Commission of the

Department for Transport of the United Kingdom issued a request for
proposals for making best use of existing capacity and on adding new
capacity in the longer term. On July 16, 2013, Endres submitted his
company’s proposal, which involved incorporating his takeoff system into the

Heathrow airport system and the London/U.K. airspace and airway system.

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The consortium that performed the sifting process rejected the proposal at

the first sifting stage because the takeoff system required further research
and development and because “/t/he extent to which the proposal fits within
international aviation legislative framework and guidelines is unclear.” 24

25.  Reduced-Throttle Descent System: The information Endres learned from

developing the assisted takeoff system led to insights in how to increase
capacity in landings. Endres developed a reduced-throttle descent aircraft
system that increases landing throughput and assigned this innovation to
Exhaustless. The innovation was disclosed in a patent filing in 2015, and in
2018 the USPTO issued Patent Number US9,920,695 (2018).

26. The Market Allocation Problem: In early 2015, the FAA proposed a rule to

provide a “comprehensive approach to slot management” to replace its
“current temporary Orders” limiting operations at the three New York City
(“NYC”) area airports; 25 “slot” means a reservation for the use of the airspace
needed by an aircraft for each takeoff and landing conducted under
instrument flight rules.2° The history of the reservation allocation problem

as presented in the proposed rule showed the failure of the industry to

24 Airports Commission: Interim Report, Appendix 2: Assessment of Long-term
Options at 12 (December 2013) (emphasis added).

25 Slot Management and Transparency for LaGuardia Airport, John F. Kennedy
International Airport, and Newark Liberty International Airport, 80 Fed. Reg. 1274
(proposed Jan. 8, 2015), Doc. 3, PE-B2 1 at 2 and 24.

26 Federal Aviation Administration Authorization Act of 1994, Pub. L. 103-305,
§206(a)(1), 108 Stat. 1569, 1587 (1994), codified at 49 U.S.C. § 41714(h)(4).

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establish a primary market, leading to the intervention of regulators to
allocate the market. The proposed rule stated that the “Secretary is required
to consider several objectives as being in the public interest, including, .. .
placing maximum reliance on competitive market forces and on actual and
potential competition.”27 However, per the proposal, the FAA’s stated
authority contradicted this requirement, because rather than placing
maximum reliance on market competition, “the FAA believes it must strike a
balance between (1) promoting competition and permitting access to new
entrants and (2) recognizing historical investments in the airport and the need
to provide continuity for allocation based on historical rights.”28 Endres then
began researching the statutory framework for the market allocation.

27. The Statutory Framework: The statutory framework requires “placing

maximum reliance on competitive market forces and on actual and potential
competition to provide the needed air transportation system .. . [and] to decide
on the variety and quality of, and determine prices for, air transportation

seruices.”29 Competitive markets are also required in bilateral air transport

27 Slot Management and Transparency for LaGuardia Airport, John F. Kennedy
International Airport, and Newark Liberty International Airport, 80 Fed. Reg. 1274
(proposed Jan. 8, 2015), Doc. 3, PE-B2 1 at 2.

28° Id. at 3.

22 Airline Deregulation Act of 1978, Pub. L. 95-504, § 102(a), 92 Stat. 1705, 1706
(Oct. 24, 1978), codified at 49 U.S.C. § 40101(a)(6), (12).

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agreements between the U.S. and over 100 of its trading partners.°°. Endres
began researching and formulating a private market solution to the
reservation allocation. This research included, inter alia, watching all
relevant historical Congressional hearings; learning the statutory economic
regulations of carriers and their evolution; and learning the disconnects
between the law and the executive branch regulations.

28. The Market Clearing Process: Endres developed a method to calculate the

congestion-free Instrument-Flight-Rule flight capacity of an airport that is
part of a coordinated, shared airspace, such as the New York City area
airspace, to allocate months prior to each bi-annual carrier scheduled-flight
season. Endres then developed a multi-sided competitive market allocation,
which upgrades the three separate reservation systems — the supplier-
carrier, the consumer-passenger, and the consumer-cargo — to allocate the
congestion-free airspace capacity of flight reservations with a demand-
calibrated premium. Because there can only be one market-clearing service
in a market, this creates a natural monopoly; but because it discovers and

broadcasts the market price of exclusivity from bidding participants, it has no

30 See Open Skies Partners, Bureau of Economic and Business Affairs (Sep. 1,
2020), Doc. 303, PE-A1 289. See also, e.g., Air Transport Agreement Between the
Government of the United States and the Government of Canada, T.I.A.S. No. 07-
312, Preamble and Article 5 (Mar. 12, 2007), Doc. 4, PE-A1 124 at 124, 127
(“DESIRING to promote fair and equal opportunities for airlines to compete in the
marketplace with minimum government regulation; * * * Each Party shall allow a
fair and equal opportunity for the designated airlines of both Parties to compete in
providing the international air transportation governed by this Agreement.”).

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monopoly pricing power. In 2015, consequent to the development of the
solution and its new commerce, Endres filed a patent application for the
competitive market-clearing process in the U.S. and in Canada and assigned

the invention to Exhaustless.?!

29. The Competitive Market Standard: Endres then packaged the combination
of his inventions in a competitive market standard that he developed called
the Exhaustless Aviation 2.0 Operating Standard (the “Competitive Market
Standard”). In line with the statutory framework, the standard relied on the
competitive market allocation of airspace capacity to fund the development of
Endres’ inventions that increase capacity at constrained airports.

30. Unsolicited Proposal 1: On January 15, 2016, Endres submitted an

unsolicited proposal to the Secretary of Transportation, pursuant to the
Federal Acquisition Regulation, requesting that the Secretary license
Exhaustless’ Standard, fund the development of the reservation system, and
support the development of the flight technologies.?2 On May 6, 2016, the
Office of the Secretary of Transportation (OST) rejected the proposal,
declaring that a “privately owned pricing service” would require new

legislation and the support of airlines.?*

31 See Patent Application US15/789,585 (Aug. 19, 2016).

82 See Exhaustless Inc. Unsolicited Proposal Aviation 2.0 (an. 15, 2016), Doc. 5,
PA-C Offer 1.

33 TRN Aviation Transportation Analyst Email (May 6, 2016), Doc. 6, PA-C Offer
32.

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31. On March 8, 2017, to recruit the support that the Office of the Secretary
required to adopt his proposal, Endres sent information regarding the
Competitive Market Standard to the boards of directors of Defendants
American Airlines, Delta, and United Airlines — including a copy of the
unsolicited proposal it had sent to the DOT in 2016.

32. Unsolicited Proposal 2: Endres decided to simplify the unsolicited proposal to

focus only on the market failure in the allocation of airspace reservations. On
September 19, 2017, Endres submitted an updated unsolicited proposal
which requested support for a one-year trial of the market-clearing service at
the major airports serving New York City and explained its compliance with
the statutory framework.*4 On February 28, 2018, The Office of the
Secretary of Transportation rejected the proposal.®5

33. On September 21, 2017, Endres sent a copy of the updated unsolicited
proposal it had sent to the DOT — which showed the increased profit
potential from reduced congestion delays — to the chief executive officers of
each Defendant American Airlines, Delta, Southwest, and United Airlines.

34. Rulemaking: Petition for Rulemaking: Endres and the other shareholder of

his company personally funded the development of the market-clearing

service. Endres solely developed the related enterprise software, and

34 See Exhaustless Inc. Unsolicited Proposal Aviation 2.0 -NYC Market Trial
(Sep. 19, 2017), Doc. 10, PA-C Offer 33.

85 See TRN Procurement Analyst Letter (Feb. 28, 2018), Doc. 11, PA-C Offer 68.

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directed the development of the auction design, auction rules, and the
licensing agreement of the operating standard. On May 21, 2018, Endres
petitioned the FAA to withdraw its market-allocating rules that interfere

with Exhaustless’ competitive airspace reservation market.*6

C. Market Rollout - Winter 2018 Seasonal Reservations

35. On May 28, 2018, Endres announced an auction by Exhaustless for supplier
airspace reservations for the Winter 2018 carrier scheduling season.?”7 No
carrier joined the Competitive Market Standard.

36. OnJune 7, 2018, each Defendant Carrier obtained exclusive reservations for
the Winter 2018 season according to the IATA WSG grandfathering rules
when the DOT/IATA WSG Slot Coordinator allocated each public reservation
— for free — to the carrier claiming entitlement and denied the opportunity
to hear the market price or bid on that reservation to other carriers and to

consumers.*® (To 391.)

36 See Exhaustless Inc. Petition for Rulemaking, Dkt. FAA-2018-0481-0001 (May
21, 2018), Doc. 12, PE-B2 66. Also filed at, Exhaustless Inc. v. FAA, D.C. Cir. Case
19-1158, Joint Appendix, ECF 1815348 (Nov. 12, 2019), Doc. 227, PE-G2 1 at 131.

37 Steve Endres, Congestion-free Flights for NYC Now, LinkedIn (May 28, 2018),
Doc. 13, PE-E 1. Also filed at, Exhaustless Inc. v. FAA, D.C. Cir. Case 19-1158,
Joint Appendix, ECF 1815348 (Nov. 12, 2019), Doc. 227, PE-G Court 239 at 376.

38 See Exhaustless Documentation of [ATA WSG Calendar of Coordination
History, Doc. 14, PE-D1 1.

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37. On June 19, 2018, each Defendant Carrier and the DOT/IATA WSG Slot
Coordinator attended the Slot Conference in Vancouver, Canada to complete

the airspace reservation market allocation.®°

IV. THE DEFENDANTS

A. Air Canada

38. Defendant Air Canada, Inc. (“Air Canada”) is a corporate citizen of Canada
and an air carrier, and owns another air carrier Air Canada Rouge L.P. Air
Canada purportedly holds at least one foreign air carrier permit issued by the
Secretary of Transportation that permits it to conduct air commerce in the
U.S. pursuant to Chapter 413 of Title 49 of the U.S. Code.” Air Canada
provides passenger and cargo air transportation between Canada and the
United States, including flights originating and terminating at airports from
this District.

39. Air Canada has a joint venture agreement with Defendants United Airlines

and Lufthansa called the Star Alliance.?!

89 See Exhaustless FOIA Request Use of Government Aircraft (Mar. 6, 2023), Doc.
21, PE-B2 73 at 75.

40 See Order 98-5-11 (May 15, 1998).

41 See DOT List of Active Antitrust Immunized Alliances (Oct. 19, 2022), Doc. 287,
PE-D3 380 (referencing Dkt. DOT-OST-2000-7828).

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40. Air Canada has a joint venture agreement with Defendants Hawaiian,
JetBlue, United Airlines, and others, called the United Airlines Ventures
Sustainable Flight Fund. 4

41. Air Canada owns a ticket agent, Touram L.P.

42. Air Canada admitted that the IATA WSG is an agreement among member-
carriers of the IATA to allocate the market of takeoff and landing

reservations. 42

B. Air France-KLM

43. Defendant Air France-KLM S.A. (Air France-KLM”) is a corporate citizen of
France and owns or controls several air carriers, including Air France (citizen
of France), KLM Royal Dutch Airlines (citizen of Netherlands), and
Transavia (Netherlands). Air France-KLM purportedly holds a foreign air
carrier permit for each of its carriers, issued by the Secretary of

Transportation, that permits it to conduct air commerce in the U.S. pursuant

to Chapter 413 of Title 49 of the U.S. Code. Air France-KLM provides

42 See United Airlines Ventures Sustainable Flight Fund partners, Doc. 447, PE-
N1 151 from
https://web.archive.org/web/20240123165130/https://www.united.com/en/us/fly/comp
any/responsibility/united-airlines-ventures.html.

43 See Endres v. Moody et al, Case 1:23-cv-12051, Defendants’ Memorandum of
Law, ECF 121 (D.Mass. Dec. 8, 2023), Doc. 425, PE-N1 1 at 2 ({T]he Worldwide Slot
Guidelines (““WSG”) [{] are global guidelines established by relevant trade
associations setting forth a system by which airlines . . . can allocate reservations
for flight take offs and landings.”).

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passenger and cargo air transportation between the European Union and the
United States, including flights originating and terminating at airports from
this District.

44. Air France-KLM is a joint venture between, inter alia, the government of
France, the government of the Netherlands, the government of China
(through its controlling interest of China Eastern Airline), an ocean carrier,
and Delta.4

45. Air France-KLM has a joint venture agreement with Defendant Delta called
the SkyTeam Alliance.*

46. Air France-KLM admitted that the [ATA WSG is an agreement among
member-carriers of the IATA to allocate the market of takeoff and landing

reservations.‘

C. Alaska Air

47. Defendant Alaska Air Group, Inc. (‘Alaska Air”) is a corporate citizen of the
U.S. and owns or controls at least two air carriers — Alaska Airlines, Inc.

and Horizon Air Industries, Inc. For each owned air carrier, Alaska Air

44 See Air France-KLM Shareholding Structure Screenshot, Doc. 473, PE-N3 82
from
https://web.archive.org/web/20240301195805/https://www.airfranceklm.com/en/fina
nce/air-france-klm-capital/shareholding-structure.

45 See DOT List of Active Antitrust Immunized Alliances (Oct. 19, 2022), Doc. 287,
PE-D3 380 (referencing Dkt. DOT-OST-2013-0068).

46 See Endres v. Moody et al, Case 1:23-cv-12051, Defendants’ Memorandum of
Law, ECF 121 @.Mass. Dec. 8, 2023), Doc. 425, PE-N1 1 at 2.

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purportedly holds a Certificate of Public Convenience and Necessity issued by
the Secretary of Transportation, that permits it to conduct air commerce in
the U.S. pursuant to Chapter 411 of Title 49 of the U.S. Code. Alaska Air
provides passenger and cargo air transportation in the United States,
including flights originating and terminating at airports from this District.
Alaska Air has a partnership, joint venture, alliance, or other combination
agreement with American Airlines called the West Coast International
Alliance (““WCIA”).47

Alaska Air has a joint venture agreement with Defendants American Airlines
and ICAG called Oneworld Alliance.

Alaska Air has a merger agreement with Defendant Hawaiian.”

Alaska Air owns an aircraft engine and aircraft leasing company, AAG
Leasing, Inc.; a motor carrier, ASA Beverages LLC, USDOT No. 2831293;

and a real estate agent, AAG Real Property, LLC, among other enterprises. °

See U.S. et al v. American Airlines and JetBlue Airways, D. Mass. 1:21-cv-

11558, Findings of Fact and Conclusions of Law, ECF 344 (May 19, 2023), Doc. 224,
PE-I2 320 at 335. Note that no party has publicly filed the agreement with the SEC
or the DOT.

48 See Alaska Air SEC Form 10-K (Feb. 14, 2024) at 24 (‘Our airlines are parties
to marketing agreements with a number of domestic and international air carriers,
or “partners,” including an expanded relationship with American and other

oneworld carriers.”) Note that no party has publicly filed the agreement with the
SEC or the DOT.

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See id. at Exhibit 2.1.
See id. at Exhibit 21.

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Alaska Air admitted that the IATA WSG is an agreement among member-
carriers of the IATA to allocate the market of takeoff and landing

reservations.®!

D. Amazon

Defendant Amazon.com, Inc. (“Amazon”) is a corporate citizen of the U.S. and
owns or controls at least one air carrier, Amazon.com Services LLC, dba
Amazon Prime Air. For each owned air carrier, Amazon purportedly holds a
Certificate of Public Convenience and Necessity issued by the Secretary of
Transportation, that permits it to conduct air commerce in the U.S. pursuant
to Chapter 411 of Title 49 of the U.S. Code. Amazon provides cargo air
transportation in the United States, including flights originating and
terminating at airports from this District.

Amazon has a joint venture agreement with Defendant Hawaiian called Air
Transport Services Agreement (““ATSA").®

Amazon has a Contract for Scheduled Passenger Service with Defendant

Hawauian.®*

See Endres v. Moody et al, Case 1:23-cv-12051, Defendants’ Memorandum of

Law, ECF 121 (D-Mass. Dec. 8, 2023), Doc. 425, PE-N1 1 at 2.

52

See Hawaiian SEC Form 10-K (Feb. 15, 2024) at 4, referenced on the exhibit list

as Exhibit 10.44. Note that neither party has publicly filed the agreement with the
SEC or the DOT.

53

See id. at 41 (mentioning Amazon’s “commercial passenger service”).

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56. Amazon owns a freight forwarder, Amazon.com Services LLC, USDOT
3371498, FF 36211; a freight broker, Amazon Services LLC, USDOT
2629914, FF 22778; a motor carrier, Amazon Data Services, Inc., USDOT
3375727; an aircraft fleet; an unnamed aircraft leasing operation; and an

insurance carrier, Day One Insurance, Inc. among other enterprises.*4

E. American Airlines

57. Defendant American Airlines Group Inc. (‘American Airlines”) is a corporate
citizen of the U.S. and owns or controls at least four air carriers — American
Airlines, Inc., Envoy Air, Inc., PSA Airlines, Inc., and Piedmont Airlines, Inc.
For each owned air carrier, American Airlines purportedly holds a Certificate
of Public Convenience and Necessity issued by the Secretary of
Transportation, that permits it to conduct air commerce in the U.S. pursuant
to Chapter 411 of Title 49 of the U.S. Code. American Airlines provides
passenger and cargo air transportation in the United States, including flights

originating and terminating at airports from this District.

54 See Amazon SEC Form 10-K (Feb. 2, 2024), Exhibit 21.1. See also, Hawaiian
SEC Form 8-K (Oct. 20, 2022) (“Hawaiian will maintain and fly Amazon’s A330s
under Hawaiian’s FAA air carrier certificate to move cargo between airports[.]’).

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58. American Airlines has a partnership, joint venture, alliance, or other
combination agreement with Defendant Alaska Air called the West Coast
International Alliance (““(WCIA”).5

59. American Airlines has a joint venture agreement with Defendants Alaska Air
and ICAG called Oneworld Alliance.

60. American Airlines admitted that the IATA WSG is an agreement among
member-carriers of the IATA to allocate the market of takeoff and landing

reservations.5?

F. Atlas

61. Defendant Atlas Air Worldwide Holdings, Inc. (“Atlas”) is a corporate citizen
of the U.S. and a wholly owned subsidiary of Defendant Rand. Atlas owns or
controls at least two air carriers, Atlas Air and Polar Air Cargo. For each
owned or controlled air carrier, Atlas purportedly holds a Certificate of Public
Convenience and Necessity issued by the Secretary of Transportation, that

permits it to conduct air commerce in the U.S. pursuant to Chapter 411 of

55 See U.S. et al v. American Atrlines and JetBlue Airways, D. Mass. 1:21-cv-
11558, Findings of Fact and Conclusions of Law, ECF 344 (May 19, 2023), Doc. 224,
PE-I2 320 at 335. Note that neither party has publicly filed the agreement with the
SEC or the DOT.

56 See DOT List of Active Antitrust Immunized Alliances (Oct. 19, 2022), Doc. 287,
PE-D3 380 (referencing Dkt. DOT-OST-2008-0252). See also,
https://www.oneworld.com/members (showing Alaska Air).

57 See Endres v. Moody et al, Case 1:23-cv-12051, Defendants’ Memorandum of
Law, ECF 121 (D.Mass. Dec. 8, 2023), Doc. 425, PE-N1 1 at 2.

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Title 49 of the U.S. Code. Atlas provides passenger and cargo air
transportation in the United States, including flights originating and
terminating at airports from this District.

62. In July 2021, Polar Air Cargo reported evidence of an internal kickback
arrangement to law enforcement. Several people that were executives, sales
agents, freight forwarding vendors, ground handling vendors, trucking
vendors, and an airline-customer of Polar Air Cargo have since pled guilty to
a wire fraud and money laundering conspiracy that operated from 2009 to
July 2021, and are awaiting sentencing.*®

63. Atlas owns Titan Aviation Leasing, an aircraft leasing company.

G. Delta

64. Defendant Delta Air Lines, Inc. (“Delta”) is a corporate citizen of the U.S., an
air carrier, and owns or controls at least one other air carrier, Endeavor Air,
Inc. For each owned or controlled air carrier, Delta purportedly holds a

Certificate of Public Convenience and Necessity issued by the Secretary of

58 See, e.g., DOJ Press Release, “Chief Operating Officer And Vice President Of
International Cargo Airline Plead Guilty To Defrauding Their Employer” (Feb. 29,
2024), Doc. 497, PE-N4 319 (“The fraud they perpetrated — which involved a
substantial portion of Polar’s senior management and at least 10 customers and
vendors of Polar — led to pervasive corruption of Polar’s business, touching nearly
every aspect of the company’s operations for over a decade.”); and DOJ Press
Release, "Senior Operations Executive Pleads Guilty To Defrauding International
Cargo Airline Employer" (Jan. 16, 2024), Doc. 498, PEN4 322; and U.S.A. v.
Winkelbauer et al, SDNY Case 23-crim-133, Sealed Indictment, ECF 3 (Mar. 13,
2023) (unsealed Apr. 12, 2023), Doc. 499, PE-N4 324.

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Transportation, that permits it to conduct air commerce in the U.S. pursuant
to Chapter 411 of Title 49 of the U.S. Code. Delta provides passenger and
cargo air transportation in the United States, including flights originating
and terminating at airports from this District.

65. Delta has a joint venture agreement with Defendant Air France-KLM called
the SkyTeam Alliance.®

66. Delta has a joint venture agreement with Defendant LATAM.®°

67. Delta owns 10% of Defendant LATAM, 3% of Defendant Air France-KLM,
and owns shares of other foreign carriers Virgin Atlantic (UK), Aeroméxico,
Korean Air, and China Eastern.*! Many of these interests represent a joint
venture with a foreign sovereign. ®

68. Delta owns Monroe Energy, LLC, a refinery with storage facilities and

pipelines. ®

59 See DOT List of Active Antitrust Immunized Alliances (Oct. 19, 2022), Doc. 287,
PE-D3 380 (referencing Dkt. DOT-OST-2013-0068).

60 See id. (referencing Dkt. DOT-OST-2020-0105).
61 See Delta 2023 SEC Form 10-K, 5 (Feb. 12, 2024).

62 See, e.g., LATAM 2023 SEC Form 6-K, Note 1 (Feb. 22, 2024) (stating that
Qatar Airways is an owner). See also, Air France-KLM Website, Shareholding
Structure, Doc. 473, PE-N3 82 from
https://web.archive.org/web/20240223032723/https://www.airfranceklm.com/en/fina
nce/air-france-klm-capital/shareholding-structure (Air France-KLM showing the
governments of France, the Netherlands, and China (through its control of China
Eastern Airlines) are also owners).

63 See Delta Air Lines, Inc. SEC Form 10-K, 11 (Feb. 10, 2023).

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Delta admitted that the IATA WSG is an agreement among member-carriers

of the IATA to allocate the market of takeoff and landing reservations.

H. Lufthansa

Defendant Deutsche Lufthansa AG (“Lufthansa”) is a citizen of Germany, an
air carrier, and owner of air carriers Swiss International Air Lines (citizen of
Switzerland), Austrian Airlines (citizen of Austria), Brussels Airlines (citizen
of Belgium), Eurowings Europe GmbH (citizen of Austria), EW Discover
GmbH (citizen of Germany), Lufthansa CityLine GmbH (citizen of Germany),
and Air Dolomiti (citizen of Germany). Lufthansa purportedly holds a foreign
air carrier permit for certain of its carriers, issued by the Secretary of
Transportation, that permits it to conduct air commerce in the U.S. pursuant
to Chapter 413 of Title 49 of the U.S. Code. Lufthansa provides passenger
and cargo air transportation between member-states of the European Union
and the United States, including flights originating and terminating at
airports from this District.

Lufthansa has a joint venture agreement with Defendants Air Canada and

United Airlines called the Star Alliance.®

See Endres v. Moody et al, Case 1:23-cv-12051, Defendants’ Memorandum of

Law, ECF 121 (.Mass. Dec. 8, 2023), Doc. 425, PE-N1 1 at 2.

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See DOT List of Active Antitrust Immunized Alliances (Oct. 19, 2022), Doc. 287,

PE-D3 380.

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72. Lufthansa admitted that the IATA WSG is an agreement among member-
carriers of the IATA to allocate the market of takeoff and landing

reservations.®

L. FedEx

73. Defendant FedEx Corporation (“FedEx”) is a corporate citizen of the U.S. and
owns at least one air carrier, Federal Express Corporation d/b/a FedEx
Express. For each owned air carrier, FedEx purportedly holds a Certificate of
Public Convenience and Necessity issued by the Secretary of Transportation,
that permits it to conduct air commerce in the U.S. pursuant to Chapter 411
of Title 49 of the U.S. Code. FedEx provides cargo air transportation in the
United States, including flights originating and terminating at airports from
this District.

74. FedEx owns or controls several domestic and foreign motor carriers,
including Federal Express Corporation, USDOT No. 86876; FedEx Freight
Canada Corp., USDOT No. 1542047; FedEx Freight Inc., USDOT No. 239039;

and FedEx Ground Package System Inc., USDOT No. 265752.

66 See Endres v. Moody et al, Case 1:23-cv-12051, Defendants’ Memorandum of
Law, ECF 121 (D.Mass. Dec. 8, 2023), Doc. 425, PE-N1 1 at 2.

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75. FedEx admitted that the IATA WSG is an agreement among member-
carriers of the IATA to allocate the market of takeoff and landing

reservations. ®

J. Frontier

76. Defendant Frontier Group Holdings, Inc. (“Frontier”) is a corporate citizen of
the U.S. and owns at least one air carrier, Frontier Airlines, Inc. For each
owned air carrier, Frontier purportedly holds a Certificate of Public
Convenience and Necessity issued by the Secretary of Transportation, that
permits it to conduct air commerce in the U.S. pursuant to Chapter 411 of
Title 49 of the U.S. Code. Frontier provides passenger and cargo air
transportation in the United States, including flights originating and
terminating at airports from this District.

77. Frontier admitted that the IATA WSG is an agreement among member-
carriers of the IATA to allocate the market of takeoff and landing

reservations. ®

87 See Endres v. Moody et al, Case 1:23-cv-12051, Defendants’ Memorandum of
Law, ECF 121 (D.Mass. Dec. 8, 2023), Doc. 425, PE-N1 1 at 2.

68 See Endres v. Moody et al, Case 1:23-cv-12051, Defendants’ Memorandum of
Law, ECF 121 (D.Mass. Dec. 8, 2023), Doc. 425, PE-N1 1 at 2.

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K. Hawaiian

78. Defendant Hawaiian Holdings, Inc. (“Hawaiian”) is a corporate citizen of the
U.S. and owns at least one air carrier, Hawaiian Airlines, Inc. For each
owned air carrier, Hawaiian purportedly holds a Certificate of Public
Convenience and Necessity issued by the Secretary of Transportation, that
permits it to conduct air commerce in the U.S. pursuant to Chapter 411 of
Title 49 of the U.S. Code. Hawaiian provides passenger and cargo air
transportation in the United States, including flights originating and
terminating at airports from this District.

79. Hawaiian has a joint venture agreement with Defendants Air Canada,
JetBlue, United Airlines, and others, called the United Airlines Ventures
Sustainable Flight Fund.®

80. Hawaiian has a joint venture agreement with Defendant Amazon called the
Air Transport Service Agreement (““ATSA").7

81. Hawaiian has a Contract for Scheduled Passenger Service with Defendant

Amazon.7!

69 See United Airlines Ventures Sustainable Flight Fund partners, Doc. 447, PE-
N1 151.

70 See Hawaiian SEC Form 10-K (Feb. 15, 2024) at 4, referenced on the exhibit list
as Exhibit 10.44. Note that neither party has publicly filed the agreement with the
SEC or the DOT.

71 See id. at 41 (mentioning Amazon’s “commercial passenger service’).

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82. Hawaiian has a merger agreement with Defendant Alaska Air.”
83. Hawaiian admitted that the IATA WSG is an agreement among member-
carriers of the [ATA to allocate the market of takeoff and landing

reservations. 73

L. ICAG

84. Defendant International Consolidated Airlines Group, S.A. “TCAG”) is a
citizen of Spain and owns several air carriers including British Airways Plc
(citizen of U.K.), Iberia Air Lines (citizen of Spain), Vueling (citizen of Spain),
and Aer Lingus (citizen of Ireland). ICAG purportedly holds a foreign air
carrier permit for each of its carriers, issued by the Secretary of
Transportation, that permits it to conduct air commerce in the U.S. pursuant
to Chapter 413 of Title 49 of the U.S. Code. ICAG provides passenger and
cargo air transportation between member-states of the European Union, the
U.K. and the United States, including flights originating and terminating at
airports from this District.

85. ICAG has a joint venture agreement with Defendants Alaska Air and

American Airlines called Oneworld Alliance.74

72 See Alaska Air SEC Form 10-K (Feb. 14, 2024) at Exhibit 2.1.

73 See Endres v. Moody et al, Case 1:23-cv-12051, Defendants’ Memorandum of
Law, ECF 121 (D.Mass. Dec. 8, 2023), Doc. 425, PE-N1 1 at 2.

74 See DOT List of Active Antitrust Immunized Alliances (Oct. 19, 2022), Doc. 287,
PE-D3 380 (referencing Dkt. DOT-OST-2008-0252). See also,
https://www.oneworld.com/members (showing Alaska Air).

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ICAG admitted that the IATA WSG is an agreement among member-carriers

of the IATA to allocate the market of takeoff and landing reservations.”

M. JetBlue

Defendant JetBlue Airways Corporation (“JetBlue”) is a corporate citizen of
the U.S. and an air carrier. JetBlue purportedly holds a Certificate of Public
Convenience and Necessity issued by the Secretary of Transportation, that
permits it to conduct air commerce in the U.S. pursuant to Chapter 411 of
Title 49 of the U.S. Code. JetBlue provides passenger and cargo air
transportation in the United States, including flights originating and
terminating at airports from this District.

JetBlue owns, has an interest in, or has a joint venture, partnership, alliance,
or other combination agreement with AGA Service Company d/b/a Allianz
Partners USA, an insurance carrier.

JetBlue has a joint venture agreement with Defendants Air Canada,
Hawaiian, United Airlines, and others, called the United Airlines Ventures

Sustainable Flight Fund.”

See Endres v. Moody et al, Case 1:23-cv-12051, Defendants’ Memorandum of

Law, ECF 121 (.Mass. Dec. 8, 2023), Doc. 425, PE-N1 1 at 2.

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See United Airlines Ventures Sustainable Flight Fund partners, Doc. 447, PE-

N1 151.

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JetBlue admitted that the IATA WSG is an agreement among member-
carriers of the IATA to allocate the market of takeoff and landing

reservations. 7’

N. LATAM

Defendant LATAM Airlines Group S.A. “LATAM”) is a corporate citizen of
Chile that owns or controls several air carriers of different citizenship
including Transporte Aéreo S.A. LATAM Airlines Chile), LAN Airlines Pert
S.A. (LATAM Airlines Peru), Aerolane, Lineas Aéreas Nacionales del
Ecuador S.A. (LATAM Airlines Ecuador), LAN Argentina S.A. LATAM
Airlines Argentina), Aerovias de Integracion Regional, Aires S.A. LATAM
Airlines Colombia), TAM S.A. (TAM or LATAM Airlines Brazil), Transportes
Aéreos del Mercosur S.A.(LATAM Paraguay), LAN Cargo S.A. LATAM
Cargo, Chile), Linea Aérea Carguera de Colombia S.A. (LANCO or LATAM
Cargo Colombia), and Aerolinhas Brasileiras S.A. (ABSA or LATAM Cargo
Brazil). LATAM purportedly holds a foreign air carrier permit for each of its
carriers, issued by the Secretary of Transportation, that permits it to conduct
air commerce in the U.S. pursuant to Chapter 413 of Title 49 of the U.S.
Code. LATAM provides passenger and cargo air transportation between

Argentina, Brazil, Chile, Columbia, Ecuador, Paraguay, Peru, and the United

See Endres v. Moody et al, Case 1:23-cv-12051, Defendants’ Memorandum of

Law, ECF 121 (D.Mass. Dec. 8, 2023), Doc. 425, PE-N1 1 at 2.

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States, including flights originating and terminating at airports from this
District.

92. LATAM has a joint venture agreement with Defendant Delta.”

93. LATAM admitted that the IATA WSG is an agreement among member-
carriers of the IATA to allocate the market of takeoff and landing

reservations. 7”?

O. Rand

94. Defendant Rand Parent, L.L.C. (“Rand”) is a corporate citizen of the U.S.
created by a joint venture of investment firms Apollo Global Management,
Inc., J.F. Lehman & Company, LLC and Hill City Capital LP, to acquire
Defendant Atlas on March 17, 2023.89 Rand purportedly received a private
list of investments of Atlas Air and information regarding its legal
proceedings involving former Polar Air Cargo employees as part of its due

diligence prior to its acquisition.®!

78 See DOT List of Active Antitrust Immunized Alliances (Oct. 19, 2022), Doc. 287,
PE-D3 380 (referencing Dkt. DOT-OST-2020-0105).

79 See Endres v. Moody et al, Case 1:23-cv-12051, Defendants’ Memorandum of
Law, ECF 121 (D.Mass. Dec. 8, 2023), Doc. 425, PE-N1 1 at 2.

80 See Atlas Air Worldwide Holdings, Inc. SEC Form 8-K (Mar. 17, 2023).

81 See Atlas Air Worldwide Holdings, Inc. SEC Form 8-K (Aug. 4, 2022), Exhibit
2.1 Merger Agreement, Article III Representations and Warranties of the Company,
Sections 3.03 (subsidiaries and joint ventures), 3.08 (egal proceedings), 3.12 (labor),
3.16 (property), 3.17 (contracts), 3.18 (government contracts), 3.26 (vendors and
customers), and 3.27 (title to assets).

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P. Southwest

95. Defendant Southwest Airlines, Co. (“Southwest”) is a corporate citizen of the
U.S., an air carrier, and owns air carrier AirTran Airways, Inc. For each
owned air carrier, Southwest purportedly holds a Certificate of Public
Convenience and Necessity issued by the Secretary of Transportation, that
permits it to conduct air commerce in the U.S. pursuant to Chapter 411 of
Title 49 of the U.S. Code. Southwest provides passenger and cargo air
transportation in the United States, including flights originating and
terminating at airports from this District.

96. On information and belief, Southwest has a partnership, joint venture,
alliance, or other combination agreement with National Railroad Passenger
Corporation, dba Amtrak.®

97. Southwest admitted that the IATA WSG is an agreement among member-
carriers of the [ATA to allocate the market of takeoff and landing

reservations.®3

Q. Spirit

98. Defendant Spirit Airlines, Inc. (“Spirit”) is a corporate citizen of the U.S., an

air carrier, and may own other air carriers. Spirit purportedly holds a

82 See D. Mass. Case 1:21-cv-11558 docket showing joint representation.

83 See Endres v. Moody et al, Case 1:23-cv-12051, Defendants’ Memorandum of
Law, ECF 121 (D-Mass. Dec. 8, 2023), Doc. 425, PE-N1 1 at 2.

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Certificate of Public Convenience and Necessity issued by the Secretary of
Transportation, that permits it to conduct air commerce in the U.S. pursuant
to Chapter 411 of Title 49 of the U.S. Code. Spirit provides passenger and
cargo air transportation in the United States, including flights originating
and terminating at airports from this District.

Spirit admitted that the IATA WSG is an agreement among member-carriers

of the IATA to allocate the market of takeoff and landing reservations. ®4

R. United Airlines

Defendant United Airlines Holdings, Inc. (“United Airlines”) is a corporate
citizen of the U.S. and owns or has an interest in several air carriers of
different nationality, including United Airlines, Inc., (citizen of U.S.), CAL
Cargo, S.A. de C.V. (citizen of Mexico), Continental Airlines de Mexico, S.A.
(citizen of Mexico), Challenge Airlines (IL) Ltd. (citizen of Israel), and
ExpressJet Airlines, Inc., f/k/a/ Continental Express, Inc. (citizen of U.S.).
For each owned air carrier, United Airlines purportedly holds a Certificate of
Public Convenience and Necessity issued by the Secretary of Transportation,
that permits it to conduct air commerce in the U.S. pursuant to Chapter 411

of Title 49 of the U.S. Code. United Airlines provides passenger and cargo air

See Endres v. Moody et al, Case 1:23-cv-12051, Defendants’ Memorandum of

Law, ECF 121 (D.Mass. Dec. 8, 2023), Doc. 425, PE-N1 1 at 2.

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transportation in the United States, including flights originating and
terminating at airports from this District.

United Airlines has a joint venture agreement with Defendants Air Canada
and Lufthansa called the Star Alhance.®

United Airlines has a joint venture agreement with Defendants Air Canada,
Hawaiian, JetBlue, and others, called the United Airlines Ventures
Sustainable Flight Fund® to invest in entities involved in the manufacture of
Sustainable Aviation Fuel (SAF), a biofuel.

United Airlines admitted that the LATA WSG is an agreement among
member-carriers of the IATA to allocate the market of takeoff and landing

reservations. 87

S. UPS

Defendant United Parcel Service, Inc. “UPS”) is a corporate citizen of the
U.S. and owns at least one air carrier, United Parcel Service Co. (citizen of
U.S.). For each owned air carrier, UPS purportedly holds a Certificate of
Public Convenience and Necessity issued by the Secretary of Transportation,

that permits it to conduct air commerce in the U.S. pursuant to Chapter 411

See DOT List of Active Antitrust lLmmunized Alliances (Oct. 19, 2022), Doc. 287,

PE-D3 380.

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See United Airlines Ventures Sustainable Flight Fund partners, Doc. 447, PE-

N1 151.

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See Endres v. Moody et al, Case 1:23-cv-12051, Defendants’ Memorandum of

Law, ECF 121 (D.Mass. Dec. 8, 2023), Doc. 425, PE-N1 1 at 2.

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of Title 49 of the U.S. Code. UPS provides cargo air transportation in the
United States, including flights originating and terminating at airports from
this District.

UPS owns, or controls several domestic and foreign motor carriers, including
license USDOT No. 21800.

UPS admitted that the [ATA WSG is an agreement to allocate the market of

takeoff and landing reservations.®®

T. Government Defendants

“Defendant Government” means one or more of the six government

defendants Ashley Moody, City of New York, City of Newark, MWAA,

PANYNJ, and the United States.
1. Ashley Moody, Attorney General of Florida

Defendant Ashley Moody (“Moody”) is and has been the Attorney General of
Florida since January 2019, and as such is the highest law enforcement
officer of the State’s government. Moody was purportedly employed as a
judge in a state court of Florida from 2006-2017 and as an attorney for the

US. prior to that.

See Endres v. Moody et al, Case 1:23-cv-12051, Defendants’ Memorandum of

Law, ECF 121 (D.Mass. Dec. 8, 2023), Doc. 425, PE-N1 1 at 2.

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109. Moody is a member of the National Association of Attorneys General, which
resides in this district, and therefore she or her agent is found in this
district.89

110. Moody admitted that the IATA WSG is an agreement among member-
carriers of the [ATA to allocate the market of takeoff and landing

reservations. 9°
2. City of New York, NY

111. Defendant City of New York is a local government in the State of New York
and is the owner of LaGuardia and John F. Kennedy airports and
purportedly leases both airports to Defendant PANYNJ.

112. The City of New York is represented in this district by the National League of

Cities, and therefore it or its agent is found in this district.®!

89 See, e.g., (a) National Assoc. of Attorneys General, Letter to Congress Re:
Support for the State Antitrust Enforcement Venue Act of 2021 (Jun. 18, 2021),
Doc. 490, PE-N4 1; and (b) National Assoc. of Attorneys General, Letter to Congress
Re: Support for Reforming Pharmacy Benefit Managers (Feb. 20, 2024), Doc. 491,
PE-N4 6.

20 See Endres v. Moody et al, Case 1:23-cv-12051, Defendants’ Memorandum of
Law, ECF 121 (@.Mass. Dec. 8, 2023), Doc. 425, PE-N1 1 at 2.

91 See NYC Council, “National League of Cities Convening” (Apr. 28, 2017), Doc.
492, PE-N4 12 from https://council nyc.gov/news/2017/04/28/national-league-of-
cities-convening/.

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3. City of Newark, NJ

113. Defendant City of Newark is a local government in the State of New Jersey
and is the owner of Newark Liberty airport and purportedly leases the
airport to Defendant PANYNJ.

114. The City of Newark is represented in this district by the National League of
Cities, and therefore it or its agent is found in this district.%

115. The City of Newark admitted that the IATA WSG is an agreement among
member-carriers of the IATA to allocate the market of takeoff and landing

reservations.
4. MWAA

116. Defendant Metropolitan Washington Airports Authority “MWAA’) is a bi-
state agency, a “public body politic and corporate,” created in 1985 by the
Commonwealth of Virgina and the District of Columbia “for the purpose of
acquiring, operating, maintaining, developing, promoting and protecting

‘Ronald Reagan Washington National Airport and Washington Dulles

92 See National League of Cities, “The City of Newark Solves a Big Problem" (Feb.
23, 2018), Doc. 494, PE-N4 21 from
https://web.archive.org/web/20240304230718/https://www.ulc.org/post/20 18/02/23/th
e-city-of-newark-solves-a-big-problem/.

93 See Endres v. Moody et al, Case 1:23-cv-12051, Defendants’ Memorandum of
Law, ECF 121 (D.Mass. Dec. 8, 2023), Doc. 425, PE-N1 1 at 2.

24 Code of Virginia, §5.1-153. See also, Ch. 598, Virginia Acts of Assembly of 1985,
as amended. See also, the District of Columbia Regional Aisports Authority Act of
1985, as amended.

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International Airport together as primary airports for public purposes serving
the metropolitan Washingion area.”® In 1987, the Congress hired the MWAA
to operate the two metropolitan Washington, D.C. airports for public
purposes, 49 U.S.C. § 49106(b)(1)(a); the Congress had previously authorized
the FAA to operate these airports. The terms of the operating lease were
codified in law® and adopted in the federal government’s lease agreement
with the MWAA.°7 MWAA operates the airports pursuant to the Congress’
regulations of aviation programs at Subtitle VII of Title 49 of the U.S. Code.%
MWAA therefore is found in this district.

117. MWAA leases various airport assets at Reagan National and/or Washington

Dulles airports to each Defendant Carrier.

9% Code of Virginia, Chapter 10, § 5.1-156. See also, the District of Columbia
Regional Airports Authority Act of 1985, as amended, and Ch. 598, Virginia Acts of
Assembly of 1985, as amended.

96 See Metropolitan Washington Airports Act of 1986, Pub. L. 99-500, title VI,
§6012, 100 Stat. 1783-385 (1986), codified at 49 U.S.C. § 49101 et seq.

97 See Lease of the Metropolitan Washington Airports between the U.S.A. acting
by and through the Secretary of Transportation and the Metropolitan Washington
Airports Authority (Mar. 2, 1987), amend. 1 (1991), amend. 2 (1998), amend. 3
(2003) and amend. 4 (2013), Doc. 308, PE-A1 295.

98 See id. at 305 (“[MWAA] shall have the same proprietary powers and be subject
to the same restrictions with respect to federal law as any other airport, except as
provided herein.”).

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118. MWAA presumably holds an airport operator certificate issued by the
Secretary of Transportation, pursuant to section 51(b)(1) of the Airport and
Airway Development Act of 1970, 49 U.S.C. § 44706.

119. MWAA admitted that the IATA WSG is an agreement among member-
carriers of the IATA to allocate the market of takeoff and landing

reservations. 10°
5. PANYNJ

120. Defendant Port Authority of New York and New Jersey (““PANYNJ”) is a
“body corporate and politic,” created by the States of New York and New
Jersey to jointly develop the designated port “district,” having agreed to
“hold{] in high trust for benefit of the Nation the special blessings and natural
advantages thereof.”1°1 Congress authorized the bi-state agency, !°2 as

required by the U.S. Constitution. 103

99 Note that the DOT does not publish the airport operator certificate or a list of
operator certificates but it publishes a list of certificated “airports;” see FAA Part
139 Airport Certification Status List (ACSL) (Feb. 22, 2024), Doc. 486, PE-N3 167
from
https://web.archive.org/web/20240301013255/https://www.faa.gov/sites/faa.gov/files/
arp-aas-part139-cert-status-table.xlsx.

100 See Endres v. Moody et al, Case 1:23-cv-12051, Defendants’ Memorandum of
Law, ECF 121 ().Mass. Dec. 8, 2023), Doc. 425, PE-N1 1 at 2,

101 Port Authority of New York, Pub. Res. No. 17, S.J. Res. 88 (Aug. 23, 1921) Art.
6, Art. 2, and Art. 1, respectively.

102 See id.
103 See U.S. Const. art. I, § 10, cl. 3. (“No State shall, without the Consent of
Congress, .. . enter into any Agreement or Compact with another State[.]’).

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121. PANYNJ operates, inter alia, LaGuardia, JFK, and Newark Liberty airports
pursuant to the Congress’ regulation of aviation programs at Subtitle VII of
Title 49 of the U.S. Code. The Congress has delegated the authority to
enforce the economic and safety regulations of air commerce, including those
of airport operators, to the Secretary of Transportation, whose office resides
in this district.

122. PANYNJ purportedly leases LaGuardia and JFK airports from the City of
New York, and purportedly leases Newark Liberty airport from the City of
Newark.

123. PANYNJ leases various airport assets at LaGuardia, JFK, and/or Newark
Liberty airports to each Defendant Carrier.

124. PANYNJ presumably holds an airport operator certificate issued by the
Secretary of Transportation, pursuant to section 51(b)(1) of the Airport and
Airway Development Act of 1970, 49 U.S.C. § 44706. 1%

125. PANYNd is a member and a director of Airports Council International North

America which is located in this district, therefore 19%

104 Note that, as stated supra, the FAA does not publish the airport operator
certificate or a list of operator certificates but publishes a list of certificated
“airports;” see FAA Part 139 Airport Certification Status List (ACSL) (Feb. 22,
2024), Doc. 486, PE-N3 167 from
https://web.archive.org/web/20240301013255/https://www.faa.gov/sites/faa.gov/files/
arp-aas-part139-cert-status-table.xlsx.

105 See ACI-NA Leadership, Doc. 493, PE-N4 14 from
https://web.archive.org/web/20240304223749/https://airportscouncil.org/about/aci-
na-leadership/.

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126. PANYNJ admitted that the IATA WSG is an agreement to allocate the

market of takeoff and landing reservations. 1°
6. The United States of America

127. Defendant the United States of America (“the United States”) is a nation
established “of the people, by the people, for the people” pursuant to the U.S.
Constitution, as amended.!°7 The people (the “public”) own Reagan National
(DCA) and Dulles (IAD) airports located in Washington, D.C. The Congress,
as fiduciary of the public’s airport assets, authorized the Secretary of
Transportation to bind the United States to a lease agreement between
Defendant MWAA for the two airports pursuant to 49 U.S.C. § 49104.

128. The United States admitted that the IATA WSG is an agreement to allocate

the market of takeoff and landing reservations. 108

U. Defendant Carriers, [ATA Carriers, and Passenger Carriers

129. “Defendant Carrier” means one or more of the eighteen Defendants Air

Canada, Air France — KLM, Alaska Air, Amazon, American Airlines, Atlas,

106 See Endres v. Moody et al, Case 1:23-cv-12051, Defendants’ Memorandum of
Law, ECF 121 (D.Mass. Dec. 8, 2023), Doc. 425, PE-N1 1 at 2.

107 Abraham Lincoln, Gettysburg Address (Nov. 19, 1863). from
https://www.loc.gov/exhibits/gettysburg-address/ext/trans-nicolay-copy.html (“[W]e
here highly resolve these dead shall not have died in vain; that the nation, shall
have a new birth of freedom, and that government of the people by the people for
the people, shall not perish from the earth.”).

108 See Endres v. Moody et al, Case 1:23-cv-12051, Defendants’ Memorandum of
Law, ECF 121 (D.Mass. Dec. 8, 2023), Doc. 425, PE-N1 1 at 2.

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Delta, Lufthansa, FedEx, Frontier, Hawaiian, ICAG, JetBlue, LATAM,
Southwest, Spirit, United Airlines, and UPS.

130. (rom 4164.) “Defendant IATA Carrier” means one or more of the fourteen

Defendants Air Canada, Air France — KLM, Alaska Air, American Airlines,
Atlas, Delta, Lufthansa, FedEx, Hawaiian, ICAG, JetBlue, LATAM, United
Airlines, and UPS.

131. “Defendant Passenger Carrier” means one or more of the fifteen Defendants
Air Canada, Air France — KLM, Alaska Air, American Airlines, Atlas, Delta,
Lufthansa, Frontier, Hawaiian, ICAG, JetBlue, LATAM, Southwest, Spirit,

and United Airlines.

V. THE CONSPIRACY OF DEFENDANT CARRIERS TO RESTRAIN
TRADE IN AIRSPACE RESERVATIONS

A. The IATA and the WSG Agreement

7. The IATA Ownership Structure

132. The International Air Transport Association (ATA) is a joint venture of
Defendants Air Canada, Air France-KLM, Alaska Air, American Airlines,
Delta, FedEx, Hawaiian, ICAG, JetBlue, LATAM, Lufthansa, Rand, United

Airlines, UPS, and other non-party air carriers and foreign air carriers. !°

(To 4133.)

109 See hitps://www.iata.org/en/about/members/accessed on Jan 15, 2024 (“TATA
now represents some 320 airlines in over 120 countries.”).

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133. (rom 4132.) The IATA joint venture is a revenue sharing agreement.!!° (To

7395.)
8. The IATA Governance Structure

134. The IATA is governed by a General Meeting and an executive committee,
known as the Board of Governors.1!!1 The Board of Governors approves the
agenda for the General Meeting and determines IATA policy.!!2 To serve on
the Board of Governors, the individual must be chair of the board, chief
executive officer, or president of the member-airline or the entity that is its

majority shareholder.!!3 Each Board member agrees to “act as a

110 See [ATA Membership Dues, Doc. 441, PE-N1 118 from
https://web.archive.org/web/20240118051711/https://www.iata. orgien/aboutimember
s/fees/ (“The variable fee is calculated only for members that perform over 5 million

International Revenue Tonne Kilometers (RTKMs) per annum and is paid in
addition to the fixed fee.”).

111 See IATA Articles of Association (undated, unsigned), Doc. 399, PE-L 1, Art.
VIII at 5 from
https://web.archive.org/web/20240224195920/https://www.iata.org/contentassets/0 le
197ea66384f27a9e763d15 lae2d7d/articles-of-association.pdf. See also, IATA Act of
Incorporation, Doc. 400, PE-L 11 from

https://web.archive.org/web/202302 152 10134/https://www.iata.org/contentassets/01e
197ea66384£2 7a9e763d151ae2d7d/act-of-incorporation.pdf.

112 See IATA Articles of Association (undated, unsigned), Doc. 399, PE-L 1, Art.
XIV, 8(d) and @) at 7, 8.

113 See IATA Rules and Regulations of the Board of Governors (undated), Doc. 401,
PE-L 14, II (7) at 15 from
https://web.archive.org/web/20230606001013/https://www.iata.org/contentassets/01le
197ea66384f27a9e763d15 1lae2d7d/rules-regulations-bg.pdf.

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representative of the interests of the membership as a whole and not as a
representative of his or her region or Member airline.” 114
135. Below is each Defendant Carrier that has been a member of the IATA Board

of Governors as stated in the [ATA’s Annual Reviews from 2005 to 2022,

which are published on its website. 115

a. Air Canada

136. An executive for Defendant Air Canada has served on the Board of Governors
since at least June 2004.

137. Calin Rovinescu, President and Chief Executive Officer of Air Canada from
April 2009 to February 2021, was an IATA Governor from June 2011 to
November 2020.

138. Michael Rousseau, President and Chief Executive Officer of Air Canada from

February 2021 to present, has been an IATA Governor since June 2020.

b. Air France-KLM

139. An executive for Defendant Air France-KLM has served on the Board of
Governors since at least June 2004.
140. Alexandre de Juniac, President and Chief Executive Officer of Air France-

KLM from 2013 to 2016, was an IATA Governor from June 2013 to June 2014

4 Id., Ill 6).

1145 See Exhaustless Inc. Workpaper IATA BOGs, Doc. 402, PE-L 26. See also,
IATA’s Annual Reviews published at https://www.iata.org/en/publications/annual-
review/.

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and from June 2015 to June 2016. Juniac then became IATA’s Director
General from August 2016, after the [ATA’s Board of Governors nominated
him and the voting members ratified his appointment at the June 2016
Annual General Meeting, until he left in April 2021.

141. Jean-Marc Janaillac, Chairman and Chief Executive Officer Air France-KLM
from July 2016 to June 2018, was an IATA Governor from August 2016 to
June 2018.

142. Benjamin Smith, Chief Executive Officer of Air France-KLM from August
2018 to present, and Director from December 2018, has been an IATA

Governor since June 2018.

c. American Airlines

143. An executive for Defendant American Airlines has served on the Board of
Governors since at least June 2004.

144. W. Douglas Parker was an executive officer of various airlines from 1995 to
2022, most recently as Chief Executive Officer of American Airlines Group,
Inc. from December 2013 to March 2022, and was Chairman of the Board
from 2014 to April 2023. Parker was an JATA Governor from 2015 to
November 2022.

145. Robert Isom has been an executive officer of American Airlines and its
predecessors since 2007 and has been Director and Chief Executive Officer of
American Airlines Group, Inc. from March 2022, to present. Isom has been

an [ATA Governor since June 2023.

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d. Atlas

John Dietrich, an attorney, was an executive officer at Atlas Air Worldwide
Holdings, Inc. from September 2006, culminating in serving as its President
and Chief Executive Officer from January 2020 to June 2023. Dietrich has

been on the Board of Governors from June 2022 to present (see {[150).

e. Delta

An executive for Defendant Delta has served on the Board of Governors
periodically since at least June 2004.
Richard Anderson, Chief Executive Officer of Delta from 2007 to 2016 anda

former attorney, was an [ATA Governor from June 2007 to June 2015.

f. FedEx

David Bronczek was an executive officer of FedEx Express from 1998 to 2017
and President and Chief Operating Officer of Defendant FedEx from 2017
through March 1, 2019. Bronczek was an IATA Governor from at least June
2004 to June 2015 and from June 2016 to June 2019.)

John Dietrich has been Executive Vice President and Chief Financial Officer
of Defendant FedEx since July 2023. Dietrich has been an IATA Governor

from June 2022 to present (see {[146).116

116 See IATA Business Registration Quebec (July 2023), Doc. 408, PE-L 40 at 47.

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g. Hawaiian

Mark Dunkerly, Director, President, and Chief Executive Officer of
Defendant Hawaiian from June 2005 to March 2018, was an IATA Governor
from June 2016 to March 2018.

Peter Ingram, Director, President, and Chief Executive Officer of Hawaiian

from March 2018, to present, has been an IATA Governor since June 2023.

h. ICAG

Willie Walsh, Chief Executive Officer of British Airways from 2005 until it
merged with Iberia Airlines in 2011 and became International Consolidated
Airlines Group (CAG), was an IATA Governor from June 2005 to June 2007.
Walsh was Chief Executive Officer of ICAG from 2011 to September 2020,
and was an IATA Governor from June 2011 to June 2020. Walsh has been
JATA’s Director General since April 2021 to the present, after IATA’s Board
of Governors nominated him and the voting members ratified his
appointment at the November 2020 Annual General Meeting.

Luis Gallego Martin, Chief Executive Officer ICAG from September 2020 to

present, has been an [ATA Governor since June 2018.

i. JetBlue

David Barger, Chief Executive Officer of Defendant JetBlue from 2007 to

2015, was an IATA Governor from June 2012 to June 2015.

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156. Robin Hayes, Chief Executive Officer of JetBlue from 2015 to present, was an
IATA Governor from June 2015 to June 2023, and was Chair of the Board of

Governors from June 2020 to June 2022.

j. LATAM

157. Enrique Cueto, Chief Executive Officer of LATAM from June 2012 to April
2020, was an IATA Governor from June 2004 to March 2020.
158. Roberto Alvo, Chief Executive Officer of LATAM Airlines Group S.A. from

March 2020 to present, has been an IATA Govermor since June 2019.

k. Lufthansa

159. An executive for Lufthansa has served on the Board of Governors since at
least June 2004.
160. Carsten Spohr, Chairman and Chief Executive Officer of Lufthansa from May

2014 to present, has been an IATA Governor since June 20138.

1. United Airlines

161. An executive for Defendant United Airlines has served periodically on the
Board of Governors since at least June 2004.

162. Oscar Munoz, President and Chief Executive Officer of United Airlines
Holdings, Inc. from September 2015 to May 2020, and Executive Chairman of
the Board from May 2020 to May 2021, was an IATA Governor from June

2018 to June 2020.

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J. Scott Kirby has been an executive of three airlines: President of US
Airways from 2006 to 2013, President of American Airlines from 2013-2016,
President of United Holdings from August 2016 to May 2020, and Chief
Executive Officer of United Airlines Holdings, Inc. from May 2020 to present.

Kirby has been an IATA Governor from June 2020 to present.
9. The IATA Annual General Meeting

(From 91134 to 163, and 165 to 167.) The process to manage and carry on the

IATA WSG occurs at the IATA’s Annual General Meeting (“AGM”) among
airline executive officers. !!7 On June 2, 2019, each Defendant Carrier voted
to continue allocating reservations to use the public's airspace according to
the IATA WSG instead of competing for reservations using Endres’ market-

clearing service. 1/18 (To 9/130, 388, 406.)

Below are Defendant Carrier members of the IATA, except the members
listed supra whose executive serves the IATA as governor, as stated in the

IATA’s Annual Reviews from 2005 to 2022, which are published on its

website.

117 See, e.g., [ATA Press Release, Aviation Leaders Assemble in Istanbul for [ATA’s
79th AGM (Jun. 2, 2023), Doc. 316, PE-J 12. See also, IATA Website, Annual
General Meeting (printed Aug. 1, 2023), Doc. 329, PE-J 13.

118 See [ATA Resolution on Slot Policy, 75th Annual General Meeting (Jun. 2,
2019), Doc. 304, PE-D3 401.

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m. Alaska Air

An Alaska Air executive officer has voted, or has authorized an employee to
vote, at the IATA AGM since at least 2004.

n. UPS
A UPS executive officer has voted, or has authorized an employee to vote, at
the IATA AGM since at least 2004.

10. The IATA WSG

(From 938 et seq.) Defendant Carriers have agreed to allocate the market of
seasonal public airspace reservations for scheduled service among horizontal
competitors according to the IATA Worldwide Slot Guidelines, which states:

“An atrline ts entitled to retain a series of slots for the next equivalent season

uf they were operated at least 80% of the time during the period for which they
were allocated. This is referred to as historic precedence.” 9 Each Defendant
PANYNJ, MWAA, City of Newark, Florida Attorney General Moody, the
United States, and each Defendant Carrier except Amazon and Atlas, neither
of which were a party, admitted that the IATA WSG is a market allocation

agreement among carrier-members of the IATA. !2° (To 4183, 389.)

119 TATA Worldwide Slot Guidelines, 9tb Edition (Effective Jan. 1, 2019), Dkt. FAA-
2020-0862 (Dec. 17, 2020), Doc. 69, PE-D1 136, § 8.1.1 at 174 (emphasis added).

120 See Endres v. Moody et al, Case 1:23-cv-12051, Defendants’ Memorandum of
Law, ECF 121 (D.Mass. Dec. 8, 2023), Doc. 425, PE-N1 1 at 2.

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169. In addition to horizontally allocating the market for routes and service with
grandfathering, each Defendant Carrier has agreed to fix the market price of
the scarce public airspace reservation to $0.12! The IATA WSG agreement
prohibits bidding for the reservations that are needed to offer scheduled
service between city-pair markets and maintains a group boycott of Endres’
market among all carriers, which restrains competition throughout the
network of 145 domestic public service hub airports served by those carriers
— the airports which fall into the IATA WSG ‘level 1’, ‘evel 2’, or ‘level 3’

category — that account for 96% of enplanements!22.123 (To 7390.)

11. The IATA WSG Process to Allocate Airspace Reservations in the

US.

170. The twice-a-year process to coordinate the seasonal public reservations for

scheduled flight service originating and/or terminating at an airport in the

121 See IATA Managing Scarce Airport Capacity: Airport Slots & Worldwide Slot
Guidelines (WSG) Fact Sheet (Dec. 2019), Doc. 305, PE-D3 403 at 404 (“The cost
must only cover charges for the slot coordination process and not include
discriminatory charges such as for the initial or primary allocation of slots.”).

122 See Secretary of Transportation, National Plan of Integrated Airport Systems
(NPIAS) 2023-2027, 5 (Sep. 30, 2022) (showing that there are 30 large hub, 35
medium hub, and 80 small hub airports in the National Airport System).

123 See IATA Worldwide Airport Slots Fact Sheet (Apr. 2023), Doc. 306, PE-D3 405
at 406 “Why Not Auction Slots to the Highest Bidder? Auctioning adds costs and
uncertainty to the slots process with potentially disastrous outcomes for
consumers.”).

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U.S. is managed by the IATA and closely follows the process as described in

the IATA WSG. !#4

oO. Each carrier stakes its claim to a grandfathered
entitlement.

171. Each Defendant Carrier compares the recently expired season’s airspace
reservations that it obtained with grandfathering to its actual operated
flights; if the carrier operated flights for at least 80% of its allocated airspace
reservations, it claims ‘entitlement’ to 100% of the corresponding reservations
at each terminal point for the next equivalent season (for example, Summer
2024 reservations ‘entitles’ it to Summer 2025 reservations). This list of
‘entitled’ reservations is referred to as the “SHL” or Slot Historic List. 125

172. For the seven airports at which the FAA currently limits airspace
reservations — which the IATA WSG calls “level 2” or “level 3” airports —
each Defendant Carrier sends the Slot Historic List to the DOT/IATA WSG
Slot Coordinator.!26 This is called the “Agreed Historics Deadline.” !27 (To

175.)

124 See IATA Worldwide Slot Guidelines, 9th Edition (Effective Jan. 1, 2019), Dkt.
FAA-2020-0862 (Dec. 17, 2020), Doc. 69, PE-D1 136, Part 3 at 184.

125 Id. §9.4 at 185.

126 See FAA Information Collection Request, OMB Control No: 2120-0524, ICR
Reference No: 202108-2120-002, Supporting Statement A (Aug. 26, 2021), Doc. 261,
PE-H 283 at 286 (note that the details of this calculation vary slightly at each
airport to disguise it as a “local rule”).

27 See IATA Worldwide Slot Guidelines, 9t Edition (Effective Jan. 1, 2019), Dkt.
FAA-2020-0862 (Dec. 17, 2020), Doc. 69, PE-D1 136 at 193.

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173. The LATA WSG does not describe the process Defendant Carriers use to
allocate the airspace reservations at the remaining 138 U.S. airports which it

calls “level 1.” (To 9217.)

p. The ‘Slot Coordinator’ sets the season’s reservation
limit at each airport.

174, The DOT/IATA WSG Slot Coordinator issues a Notice of Schedule
Submission Deadline to inform the public of the U.S. airports that the DOT
will limit the volume of supplier airspace reservations for the next season, !28
and communicates that limit and other pertinent constraints on capacity to
carriers via the IATA WSQ’s private system; !2° this is referred to as the
“coordination parameters.” 18° This notice informs carriers at which airports
the FAA will interfere in the allocation of the market of reservations. (See

the communications and messaging service provider, SITA, at 201 et seq.)

128 See, e.g., FAA Notice of Submission Deadline for Schedule Information for
[ORD, JFK LAX, EWR, SFO] for the Winter 2023/2024 Scheduling Season, 88 Fed.
Reg. 22514 (Apr. 13, 2023), Doc. 218, PE-B1 194.

129 See IATA, How to get the most out of attending the Slot Conference (March
2022), Doc. 338, PE-J 168 at 169 (“Coordinators please . . . upload any of the
following documents or website links to Swapcard . . . Declared airport capacities . .
.”). See also, PANYNJ Comment, Dkt. FAA-2020-0385-0004 (Aug. 23, 2023) (“The
FAA’s standards, practices, and procedures for Slot Coordination and Schedule
Facilitation, including, but not limited to, the determination of runway capacity and
allocation of access to runways at such airports, are not made available to airport
operators and prospective new entrants and limited incumbent air carriers.”).

130 Exhaustless Documentation of IATA WSG Calendar of Coordination History,
Doc. 14, PE-D1 1. See also, FAA Notice of Submission Deadline for Schedule
Information for [ORD, JFK, LAX, EWR, SFO] for the Summer 2024 Scheduling
Season, 88 Fed. Reg. 64964 (Sep. 20, 2023), Doc. 427, PE-N1 17.

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q. Each carrier submits its requested schedule.

175. (From 4172.) Each carrier then submits its ‘requested’ schedule to the
DOT/IATA WSG Slot Coordinator, which is basically its same schedule as the
last equivalent season; this is called the “initial submission.” !8! No other
carrier ‘requests’ the same reservation for which another IATA carrier has
claimed entitlement because the IATA carriers have agreed not to compete
for airspace reservations claimed by another carrier. In this way, each
reservation to use the airspace at each airport has largely stayed in the
hands of the carrier, and that carrier’s business heir, that received the
reservation in a route certificate from the Civil Aeronautics Board (“CAB”)

during the regulatory era. !°2

r. The Slot Coordinator then ‘grants’ the carrier its
schedule.

176. The DOT/IATA WSG Slot Coordinator then replies to the carrier’s schedule

request with a “K” to ‘grant’ an exclusive right to that distinct airspace

131 TATA Worldwide Slot Guidelines, 9» Edition (Effective Jan. 1, 2019), Dkt. FAA-
2020-0862 (Dec. 17, 2020), Doc. 69, PE-D1 136, §9.6 at 186.

132 See, e.g., Excerpts from CAB Reports Economic Cases Dec 1969 to Apr 1970,
OMB Control 2120-0524, ICR 202108-2120-002 (Sep. 20, 2021), Doc. 98, PE-H 121
at 123 (showing an example of a grant of a route certificate, Certificate for Route
5A).

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reservation, or with a “U” to deny a grant;!*° this is called “initial

coordination” and “SAL deadline.” 34 (To 9217.)

s. The Slot Conference.

177. Delegates of each Defendant Carrier that claimed an ‘entitlement’ to a
reservation to use the public’s airspace at an airport in the U.S., delegates of
the DOT/IATA WSG Slot Coordinator, and delegates of many U.S. airport
operators!*5 attend a meeting to negotiate trades, swaps, or adjustments to
the airspace reservation and complete their market allocation of the season’s
airport schedule; this is called the “Slot Conference.” !°6 (To $217.)

178. To trade in airspace reservations at the conference and bind the carrier, the
carrier’s delegate must be authorized by the “[pJerson in charge of entire

organization.” 187

133 FAA Slot Administration Email (Jan. 29, 2021), Doc. 20, PE-B1 19.

134 TATA Worldwide Slot Guidelines, 9t* Edition (Effective Jan. 1, 2019), Dkt. FAA-
2020-0862 (Dec. 17, 2020), Doc. 69, PE-D1 136, § 9.9 at 187.

135 See IATA 152nd Slot Conference — Organizations attending (Jun. 11, 2023), Doc.
254, PE-D3 18 (showing the airport operators registered to attend the slot
conference scheduled to begin June 13, 2023 — Chicago O’Hare; Newark Liberty,
JFK, and LaGuardia (Port Authority of New York and New Jersey); Los Angeles;
and Seattle-Tacoma (Port of Seattle) registered to attend; and a carrier joint
venture at San Francisco airport (GSFOTEC).) See also, IATA 150th Slot Conference
— Organizations attending (Jun. 13, 2022), Doc. 231, PE-D3 10.

136 TATA Worldwide Slot Guidelines, 9th Edition (Effective Jan. 1, 2019), Dkt. FAA-
2020-0862 (Dec. 17, 2020), Doc. 69, PE-D1 136, §§ 9.11-9.12 at 189.

187 TATA Slot Conference, Form 1 - Accreditation of Head Delegate, Doc. 404, PE-L
53.

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t. A domestic branch of the trade association manages
the domestic slot conference.

179. Airlines for America (A4A) hosts the ‘slot conference’ for the airspace
reservations using the U.S. airports at which the FAA limits airspace
reservations and that are not allocated at the IATA slot conference. 138 The

so-called domestic slot conference follows the market allocating and price

fixing rules of the JATA WSG. 89 (To (9217, 258, 392.)

180. Defendants Air Canada, Alaska Air, American Airlines, Delta, Frontier,
JetBlue, Southwest, Spirit, United Airlines, the United States, and possibly
other Defendants, attend the domestic slot conference to claim their ‘entitled’
airspace reservations at Reagan National and/or LaGuardia airports — for
free. (To [392.)

181. A4A is a joint venture of Defendants Alaska Air, American Airlines, Atlas,

Delta, FedEx, Hawaiian, JetBlue, Southwest, United Airlines, and UPS. !40

(To $392.)

138 See FAA Notice of Submission Deadline for Schedule Information for [ORD,
JFK, LAX, SFO] for the Summer 2020 Scheduling Season, 84 Fed. Reg. 51222 (Sep.
27, 2019), Doc. 34, PE-B2 85 at 87 (“The FAA discussed the Level 2 review with
airlines and airport operators in meetings at the 144th IATA Slot Conference, the
domestic slot conference hosted by Airlines for America, as well as other individual
meetings.”).

189 See FAA Notice of limited waiver of the minimum slot usage requirement, 85
Fed. Reg. 16989 (proposed Mar. 25, 2020), Doc. 41, PE-B2 109 (“[FJAA Limits
operations ... via rules at DCA and an Order at LGA that are equivalent to IATA
Level 3.”)

140 See Joint Complaint of Members of Airlines for America, Inc., Dkt. DOT-OST-
2023-0148-0001 (Sep. 25, 2023), Doc. 405, PE-M 1 at 5.

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182.

183.

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An executive officer for each of Defendants Alaska Air, American Airlines,
Atlas, Delta, FedEx, Hawaiian, JetBlue, Southwest, United Airlines, and

UPS is also a current director of A4A. 141 (To 9392.)

u. Carriers hold on to grandfathered claim even when
reservation is not used as agreed.

(From §168.) Carriers agree to honor at least 80% of the airspace
reservations they obtained for the season to retain ‘entitled’ status for the
next equivalent season. Carriers also agree to retain entitled status when
the slots are not used 80% of the time when there is an “[i]nterruption of the
air services of the airline due to unforeseeable and unavoidable causes
outside the airline’s control, for example a closure of an airport or airspace or
severe weather;” this is referred to as “Justified Non Utilization of Slots,” or
JNUS.1!42 The FAA has implemented a modified version of this clause,
requiring “a highly unusual and unpredictable condition which is beyond the
control of the carrier and which affects carrier operations for a period of five

consecutive days or more.” /42 (To 4244.)

141 See A4A Who We Are, Doc. 470, PE-N3 23 from
https://web.archive.org/web/20240219003019/https://www.airlines.org/who-we-are/.

142 TATA Worldwide Slot Guidelines, 9*t Edition (Effective Jan. 1, 2019), Dkt. FAA-
2020-0862 (Dec. 17, 2020), Doc..69, PE-D1 136, §8.8 at 178.

143 Order Extending Order Limiting Operations at John F. Kennedy International
Airport, 83 Fed. Reg. 46865 (Gep. 17, 2018), Doc. 22, PE-B1 23, Item 9.a.ii. at 25.

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12. No Non-Party Co-Conspirators

184. On information and belief, at all relevant times, no other airline, entity, or
person willingly conspired with Defendants in their allocation of reservations
to use the United States airspace. No averments herein against Defendants

are averred against unnamed co-conspirators.
13. Relevant Air Transportation Service Providers

185. Plaintiff addresses only those services involved in the distribution and sale of
air transportation related to his instant antitrust and RICO complaint in the

jurisdiction of the United States.

Vv. Airline Tariff Publishing Company (ATPCO)

186. Each Defendant Carrier submitted fare and fare-related information to
Airline Tariff Publishing Company (““ATPCO”) to act as a tariff repository and
to distribute that information to reservation systems. !44 (To 394.)

187. Each Defendant Carrier instructed ATPCO, directly or indirectly, to deny

access by Exhaustless to the tariff publishing system, which precluded

144 Alitalia v. ATPCO, Case 1:07-cv-00756, ECF 42, Memorandum and Order
(SDNY Sep. 5, 2008), Doc. 442, PE-N1 119 at 120 ("‘ATPCO maintains a database of
airfares and the rules and restrictions pertaining to those airfares and electronically
distributes such data to nearly all the world’s airfare quotation and airline ticketing
systems. . . The entities to which ATPCO distributes data are referred to in the
airline industry as Global Distribution Systems (“GDS”) or Customer Reservation
Systems (“CRS”).”).

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Endres from publishing the Exhaustless market-clearing premium alongside
the passenger airfare. 145 (To 394.)

188. ATPCO is a joint venture of carriers including Defendants Air Canada, Air
France-KLM, Alaska Air, American Airlines, Delta, Hawaiian, ICAG,
LATAM, Lufthansa, United Airlines, and possibly other defendants. !4° (To
11394.)

189. ATPCO’s directors include Defendants Air Canada, Air France-KLM,
American Airlines, Delta, Hawaiian, ICAG, LATAM, Lufthansa, and United
Airlines. |47 (To 394.)

190. (Gee trial at 4303 et seq.) Testimony at the 2022 trial regarding the U.S.’s
antitrust complaint against Defendants American Airlines and JetBlue’s
Northeast Alliance revealed how certain Defendant Carriers coordinated

pricing through ATPCO software features. 148 This is the same behavior that

45 See Email from ATPCO (Dec. 10, 2019), Doc. 501, PE-N4 350. See also, Email
from ATPCO (Wov. 11, 2019), Doc. 502, PE-N4 352. See also, Email to ATPCO (Nov.
19, 2019), Doc. 503, PE-N4 354.

146 See ATPCO Owners, Doc. 439, PE-N1 111 from
https://web.archive.org/web/20180620153257/www.atpco.net/about-us.

147 See ATPCO Directors, Doc. 443, PE-N2 1 from
https://web.archive.org/web/20240118002654/https://www.atpco.net/about.

148 See, e.g., Testimony of JetBlue Pricing Manager, Evan Jarashow, D. Mass. Case
1:21-cv-11558, ECF 300 pp 1-4 and 29-102 (Sep. 29, 2022), Doc. 291, PE-I1 433, line
16 at 461 (“Q. Okay. And there you report that JetBlue canceled the $149 tactical
fare for JFK to LAX, right? A. [Y]es. Q. Okay. And then American also canceled that
$149 fare, right? A. That's right[.] Q. And then after that, American refiled the $149
fare the following day? A. [YJes. Q. And JetBlue matched that fare action by

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led to a ten-year consent decree with seven defendants from 1993 to 2003.1
In 2004, the United States charged American Airlines with contempt-of-court

for violating the consent decree, and settled with a fine.1©° (To 394.)

w. Airlines Reporting Corp. (ARC) Contract Repository

191. Each Defendant Carrier submits its government and company contracts for
scheduled air transportation service (“Contracts for Scheduled Service”) for
domestic fare-related data to Airlines Reporting Corporation (“ARC”) or
another entity and authorizes ARC or another entity to act as a contract
repository and to distribute that information to Distribution Systems.!5! (To

11204, 393.)

192. ARC is a joint venture of Defendants Air Canada, Alaska Air, American
Airlines, Atlas, Delta, Hawaiian, JetBlue, Southwest, United Airlines, and

possibly other defendants. 52 (To 7393.)

American, right? A. That's what I see there. Q. So both American and JetBlue
would have kept the $149 tactical fare in the JFK to LAX market as a result? A.
That seems right.”).

149 See U.S.A. v. Airline Tariff Publishing Company, et al, Case 1:92-cv-02854,
Order and Final Judgment (D.D.C. Aug. 10, 1994), Doc. 460, PE-N2 254.

150 See U.S.A. v. American Airlines Inc., Case 1:92-cv-02854, Settlement Agreement
and Order, ECF 147 (D.D.C. Sep. 23, 2004), Doc. 459, PE-N2 247 at 250.

151 See ARC Corporate Intelligence, Doc. 465, PE-N2 421 from
https://web.archive.org/web/202402 102229 18/https://www2.arccorp.com/products-
participation/products/arc-corporate-intelligence/.

152 See Airlines Reporting Corporation - About ARC, Doc. 461, PE-N1 207 from
https://web.archive.org/web/200 10104150600/http://www.arccorp.com/aboutarc.htm

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193. An employee of Each Defendant Air Canada, Air France-KLM, Alaska Air,
American Airlines, Delta, Hawaiian, JetBlue, Lufthansa, Southwest, and

United Airlines is a director of ARC. 45° (To 393.)

x. Universal Air Travel Plan (UATP) Contract Credit
Card

194. Universal Air Travel Plan, Inc. (““(UATP”) is a joint venture of Defendants Air
Canada, American Airlines, Delta, Lufthansa, Frontier, ICAG, JetBlue,
LATAM, Southwest, and United Airlines 1!54 to operate a ‘global’ card network
that processes travel cards linked to each Contract for Scheduled Service. 155
(To 398.)

195. (From 9214.) Each Defendant Passenger Carrier authorizes UATP to receive
information from the contract repository (ARC or IATA DPC) to collectively

bill government agencies and company customers for passenger and cargo

(“Only passenger carrying, scheduled airline members of the Air Transport
Association of America (ATA), that are also party to ARC’s Carrier Services
Agreement, are eligible to be shareholders. There currently are thirteen
shareholders. Total sales processed annually through ARC amount to
approximately US$75 billion. As successor to ATA’s Air Traffic Conference .. . ARC
continues to service the travel industry in accordance with the structure and
principals established in 1964 with the creation of the Area Settlement Plan.”).

153 See ARC Board of Directors, Doc. 430, PE-N1 69 from
https://web.archive.org/web/20240119024130/https://www2.arccorp.com/about-
us/leadership-governance/.

154 See UATP Shareholder Airlines (2002), Doc. 453, PE-N1 190 from
https://web.archive.org/web/20240128013147/https://uatp.com/wp-
content/uploads/2023/12/Merchant-List-December-27-2023.pdf.

155 See UATP Products and Solutions, Doc. 431, PE-N1 76 from
https://web.archive.org/web/202208 1309021 1/https://uatp.com/ndex.php/products-
solutions/charge-cards.

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transportation services procured by their employees pursuant to a Contract

for Scheduled Service. 15 (To 4205, 398.)

y. A4A Airlines Clearinghouse (ACH)

196. ACH is a division of Airlines for America.’ (To 1392.)

197. Each Defendant Carrier uses Airlines Clearinghouse (“ACH”) to receive
information from, inter alia, ATPCO, ARC, UATP, IATA Exchange Rates,
and IATA Clearing House regarding its carrier-currency transactions to
settle its accounts according to its agreements with other airlines. 158 (To
1392.)

198. ‘An executive officer of each Defendant Alaska Air, American Airlines, Atlas,
Delta, FedEx, Hawaiian, JetBlue, Southwest, United Airlines, and UPS is a

director of A4A. 9 (To 4392.)

156 See UATP One Merchant Services, ACH Conference (May 16, 2023), Doc. 445,
PE-N1 138, step 12 at 144 and 145 from

https://web.archive.org/web/20240 120230248 /https://airlinesclearinghouse.com/wp-
content/uploads/2023/05/UATP-One-ACH-Presentation.pdf.

157 Note that (a) both A4A and ACH’s address is 1275 Pennsylvania Ave Suite 1300
Washington D.C.; (b) ACH’s contact email is ACH@airlines.org and
www.airlines.org is A4A’s website; and (c) ACH has filed no business registration in
the District of Columbia.

158 See Airlines Clearinghouse Members, Doc. 432, PE-N1 78 from
https://web.archive.org/web/20240119021904/https://airlinesclearinghouse.com/mem
bers/. See also, Airlines Clearinghouse Net Settlement Website, Doc. 436, PE-N1 93
from

https://web.archive.org/web/20240222 1026 15/https://airlinesclearinghouse.com/net-
settlement/.

159 See A4A Who We Are, Doc. 470, PE-N3 23 at 30.

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199. Defendant Air Canada, and each defendant in 4198, is a member of A4A. 160
(To 7392.)
200. Each Defendant Air Canada, Alaska Air, American Airlines, Delta,

Hawaiian, and United Airlines is a director of ACH.16! (To 1392.)

Ze SITA

201. Société Internationale de Télécommunications Aéronautiques SCRL (“SITA”)
is a joint venture of Defendant Carriers!® to provide communication, data
exchange, messaging, and information technology services to airlines, !68

airports (including total airport management), '64 border control, !® air

160 See id.

161 See Airlines Clearinghouse Board of Directors, Doc. 435, PE-N1 90 from
https://web.archive.org/web/202401202 10803/https://airlinesclearmghouse.com/the-
team/.

162 See SITA Membership, Doc. 457, PE-N1 197 (a “membership owned
organization”) from
https://web.archive.org/web/20240203031018/https://www.sita.aero/about-us/sita-
membership/.

163 See SITA Activity Report 2022, Doc. 455, PE-N2 62, Business Review beginning
at 89 and specifically at 90, from
https://web.archive.org/web/20240202235955/https://www.sita.aero/globalassets/doc
s/surveys--reports/activity-report-2022.pdf.

164 See id.

165 See id., e.g. at 100 (“Driving the digital transformation of borders for air, sea or
rail travel across the world, as well as for major international sporting and cultural
events, and the cargo targeting market to smooth the safe flow of goods
everywhere.”).

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navigation service providers, 6 aircraft manufacturers, !*7 aircraft
maintenance providers, !68 motor carrier warehouse operations, © rail and
ocean service integration, !7 entertainment arenas, !7! and its effort to
privatize the public’s 5G spectrum. !72 (To 397.)

202. Each Defendant Air Canada, Air France-KLM, American Airlines, Delta,
Lufthansa, LATAM, Southwest, United Airlines, and UPS is a director for

SITA and/or a member of the SITA Council.173 (To 1397.)

166 See id., e.g. at 106.

167 See id., e.g. at 108 (“17,700+ commercial air transport and business aviation
aircraft currently use SITA’s services for their daily operations, for over 300 airline
customers. 470 customers in every corner of the globe are now served by SITA’s
Aircraft business, including airlines, airports, Air Navigation Service Providers
(ANSPs), and aircraft lifecycle partners, such as Original Equipment
Manufacturers (OEMs), Maintenance and Repair Organizations (MROs) and other
players.”).

168 See id.

169 See id., e.g. at 147.
170 See id., e.g. at 92.
171 See id., e.g. at 100.

172 See id., e.g. at 114 “SITA also maintained focus in the year on Value Add
Services ... as an emerging area offering customers complementary digital
communication solutions, while looking to future offerings for 5G private networks,
low orbit satellite, and cybersecurity.”). See also, e.g., Mike Robuck, AT&T targets
$10M airport connectivity deal Mobile World Live (May 5, 2023), Doc. 458, PE-N1
204 from
https://web.archive.org/web/20240203170730/https://www-.mobileworldlive.com/featu
red-content/top-three/att-targets-10m-airport-connectivity-deal/.

173 See SITA Activity Report 2022, Doc. 455, PE-N2 62 at 65, 79-80.

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203. SITA, a corporate citizen of Belgium, owns or controls companies in the

United States that engage in domestic and foreign commerce. !"4 (To 4397.)

aa. Distribution Services!

204. (rom 97191, 213.) Each Defendant Carrier used at least one Distribution
Service to receive the schedule, fare and booking information pursuant to
each Contract for Scheduled Service from the contract repository (ARC and/or
IATA DPC) and to distribute that contract information to its sales/ticket
agents. (To 4205.)

205. (From 99195, 204, 209.) Each Defendant Carrier used at least one

Distribution Service to link an employee’s purchase of air transportation
using a UATP or other travel card attached to the Contract for Scheduled

Service to a Card Scheme. !6 (To 41206, 207.)

174 See, e.g., SITA Annual Financial Report for 2022 (Jun. 27, 2023), Doc. 456, PE-
N2 148 at 238 from its public filing accessed from the National Bank of Belgium at
https://consult.cbso.nbb.be/consult-enterprise/0403 150410.

175 Note that Distribution Service providers include but are not limited to (a)
Sabre, Amadeus, Travelport, and Farelogix; see U.S. v. Sabre et al, Case 1:19-cv-
01548, Complaint, ECF 1 (D. Del. Aug. 20, 2019), Doc. 449, PE-N1 160 at 165; (b)
IATA TACT Air Cargo Solutions, Doc. 448, PE-N1 154 from
https://web.archive.org/web/20240123203452/https://www .iata.org/en/services/comp!
iance/tact/; (c) SITA; see Exploring Industry Practices on Distribution and Display
of Airline Fare, Schedule, and Availability Information, 81 Fed. Reg. 75481 (Oct. 31,
2016), Doc. 7, PE-B2 35 at 37.

176 See UATP One Merchant Services, ACH Conference (May 16, 2023), Doc. 445,
PE-N1 138, step 3 at 144 and 145.

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206. (From {205.) Each Defendant Carrier used at least one Distribution Service
to issue the consumer ticket or waybill for air transportation pursuant to the

Contract for Scheduled Service.!77 (To 4218.)

bb. Card Services and Banks

207. (rom 7205.) Each Defendant Carrier used a Card Scheme to link the
Contract for Scheduled Service to the government agency’s or business’
account with a Card Issuing Bank.!78 (To {209.)

208. Each Defendant Passenger Carrier used a Card Scheme to process its carrier-
currency in addition to the United States Dollar or other sovereign
currencies. !79 (To 9452.)

209. (rom 9207.) Each Defendant Carrier used a Card Issuing Bank to authorize

the UATP or other travel card linked to the Contract for Scheduled Service.

(To 1205.)

177 See id., steps 2, 7, and 9 at 144 and 145.
178 See id.

179 See A4A Unaddressed, Unsigned Letter (Jul. 13, 2023), Doc. 450, PE-N1 181
from https://web.archive.org/web/20240123223933/https://www.airlines.org/wp-
content/uploads/2023/11/Durbin-Marshall-Letter-FINAL-.pdf. See also, A4A Protect
Our Points, Doc. 451, PE-N1 182 (‘What is an Airline Affinity Credit Card? Airlines
partner with banks, community financial institutions and credit unions to provide
consumers with credit options featuring rewards programs that accumulate
points/miles every time they use a card.”) from
https://web.archive.org/web/2024012322492 1/https://www.airlines.org/protect-our-
points/#take-action.

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210.

211.

212.

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ce. International Air Transport Association (IATA)

01. IATA Clearing House (ICH)

Each Defendant Carrier authorized its agent, IATA — which provides a
service called Clearing House (“ICH”), including acting as depository trustee

to its members — to distribute transaction information to ACH.!8° (To 4411.)

02. LATA Rates of Exchange (IROE)

Each Defendant Carrier has an agreement with at least one other Defendant
Carrier to set the rates of exchange for its carrier-currency against other
carrier-currencies and/or sovereign currencies (“Rate of Exchange
Agreement’). (To 7411.)

Each Defendant Carrier submitted its Rate of Exchange Agreement to IATA
and authorized the IATA, through its Rates of Exchange service (“IROE”), to
act as an agreement repository and to distribute that information to

Distribution Systems and other parties.!8! (To {411.)

180 See ICH IATA Member Airlines Application (Aug. 2015), Doc. 437, PE-N1 97 at
98 (“The IATA Clearing House requires that a standing deposit of USD5,000 be
deposited to the IATA Clearing House Standing Deposit account [at a bank in
London].”) from

https://web.archive.org/web/202402 10011800/https://www.iata.org/contentassets/82a
24c7a736142b6bd18e20f7 7dcef60/ich-iata-member-airline-application-aug2015.pdf.

181 See [ATA Exchange Rates File Comparison, Doc. 454, PE-N1 194 from
https://web.archive.org/web/20240201014059/https://go.updates.iata.org/exchange-
rates-file-comparison?_ga=2.262861900.1179821552.1706751261-
1613296733.1706751261&_gl=1%2A6wasp3%2A_ga%2AMTYxMzI5NjczMy4xNzA2

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03. IATA DPC.Contract Repository

213. Each Defendant Carrier authorizes the “IATA DPC” to act as its contract
repository — which collects its fare and fare-related information for each
government and business Contract for Scheduled Service for foreign air
transportation — and to distribute that information to at least one
Distribution System to be used by its Travel Agents/General Sales Agents in
issuing consumer flight reservations. '82 (To 99204, 411.)

214. Each Defendant Carrier also uses the IATA DPC to link the purchase of a
passenger flight reservation purchased through a Distribution System to the
UATP Card associated with the government and business Contract for
Scheduled Service and distributes that information to UATP.!® (To 94195,

11.)

04. IATA The Air Cargo Tariff (TACT)

215. Each Defendant Carrier submitted fare and fare-related information to IATA
The Air Cargo Tariff (“TACT”) to act as a tariff repository and to distribute

that information to reservation systems. !** (To {411.)

NzUxMjYx%2A_ga_PLLGIEY0X0%2AMTcwNjc1MTI20S4xLjAuMTcwNjc1MTI20
S42MC4wLjA. Note that the IATA Rates of Exchange service is distinct from the
IATA Consolidated Exchange Rates (ICER) service, the latter of which is a service
that provides bank exchange rates between sovereign currencies; see id.

182 See UATP One Merchant Services, ACH Conference (May 16, 2023), Doc. 445,
PE-N1 138 at 144.

183 See id.

184 See IATA TACT Air Cargo Solutions, Doc. 448, PE-N1 154.

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dd. Other Industry Services

216. Each Defendant Carrier authorized IATA and/or Airlines for America to
transfer carrier-currencies and sovereign-currencies related to supplier
payments, customer receipts, and alliance-carrier payments and receipts
through various other services, including JATA Simplified Invoice Settlement
(“SIS”), Cargo Account Settlement System (“CASS”), IATA Currency
Clearance Service (“ICCS”), LATA Financial Gateway (“IFG”), IATA
Enhancement and Financing (““E&F”), Aviation Charges Intelligence Center

(“ACIC”). (To 4411.)
14. Monetization of Grandfathered Allocation to use the Public’s

Airspace

ee. Carrier Charged its Partner Carrier for Each
Airspace Reservation

217. (rom 9173, 176, 177, 179.) After securing reservations to use the public’s

airspace at 145 domestic airports for each IATA season for $0 by the unlawful
grandfathering pursuant to the IATA WSG agreement, each Defendant
Carrier transferred certain of its airspace reservations at an airport ata
certain time to its alliance partner-carrier, and each receiving Defendant
Carrier paid its alliance partner-carrier for using any such airspace

reservation — the value of which was determined by its “Block Space

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218.

Agreement” or “Air Transport Services Agreement”, or by agreement of any

name, as part of its Partner Alliance agreement.!® (To 4218, 410.)

ff. Carrier Sold Airspace Reservations to Consumers

(From {{173, 176, 177, 179, 206, 217.) After securing reservations to use the

public’s airspace for each IATA season for $0 by the unlawful grandfathering
of the IATA WSG agreement or by paying its alliance partner-carrier for the
reservation, each Defendant Carrier sold airspace reservations to consumers.
Each Defendant Carrier accomplished this by bundling the consumer’s
purchase of a reservation to use the public’s airspace with the purchase of a
reservation for space on an aircraft for air transportation service provided by
the carrier. The consumer had no knowledge that there was a separate price
for clearing excess consumer demand of the public airspace. In this way,

each Defendant Carrier independently determined and collected the premium

185 See IATA ISPG Block Space Agreement Invoice Example, Doc. 444, PE-N1 136

from

https://web.archive.org/web/20240120182826/https://www .iata.org/globalassets/iata/
services/financial-services/sis/ispg--release-notes/4.2.0.0/misc-invoice-samples-
4.2.0.0.zip (Misc. Invoice Samples 4.2.0.0 > Misc. Input Files and VAL Reports >
Misc. Charge Category > Partner Alliance > Block Space > MXMLF-
A892019010420180131123351.xml). Note that the example models (a) an invoice
from seller “A89” to buyer “A55” valued at 1 unit of “EA” carrier-currency at airport
“YUL” (Montreal-Trudeau in Canada) for Flight# ZZ928 at FughtDateTime 2019-
01-28T04:11:18, with the exchange rate of EA to USD of 35,000 pursuant to
Contract No. ZZ7044<A; and (b) an invoice from seller “A89” to buyer “A55” valued at
1 unit of “EA” carrier-currency at airport “YUL” for Flight# ZZ928 at
FlightDateTime 2017-01-29T04:11:18, with the exchange rate of EA to USD of
45,000 pursuant to Contract No. ZZ7044B, for (c) a total invoice of USD80,000.

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219.

220.

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of the consumer reservation to clear the public’s airspace, collected a portion
of the consumer airspace reservation market surplus — to which they were
not entitled — and blocked Exhaustless’ market from clearing the excess

supplier and excess consumer demand. (To {[421.)

gg. Carrier Allocated Future Capacity to Certain
Employers

Each Defendant Carrier allocated access to its claimed future reservation to
the airspace to its preferred consumers — by unlawfully contracting with an
entity to allocate a portion of future cargo aircraft space; and/or by unlawfully
contracting with an employer to allocate a portion of future passenger
aircraft space on a specified future route to its employees. 18°

Defendant United States entered into unlawful Contracts for Scheduled
Service for air freight service.!87 Defendant United States entered into an
unlawful Contract for Scheduled Service for passenger service it calls the
City Pair Program (“CPP”) administered by the General Services

Administration (““GSA”).188 These contracts are fulfilled outside of the

186 See, e.g., GSA Press Release, FY23 City Pair Contracts Awarded for Official
Government Travel (Jul. 12, 2022), Doc. 186, PE-H 273.

187 See, e.g., the contracts awarded by USTRANSCOM to 22 carriers on Dec. 22,
2022: Alaska Airlines, Doc. 357; American Airlines, Doc. 358; Atlas Air, Doc. 360;
Delta Air Lines, Doc. 361; Hawaiian Airlines, Doc. 364; JetBlue Airways, Doc. 365;
United Airlines, Doc. 374; and UPS, Doc. 375, PE-H 316 to 358.

188 See GSA FY23 CPP Request for Proposal (Feb. 17, 2022), Doc. 185, PE-H 153,
Section F, Item F.1 at 191 (requiring the term of the contract to be 12 to 15 months,
whereas an IATA season is approximately 6 months).

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Exhaustless public market and thus exclude the market-clearing premium.
Because these seats are not available for purchase in the public market, the
public has fewer seats for which to compete for a given level of market

demand.
hh. Carrier Coined its Own Currency

221. To monetize the value of the air carrier’s claimed future passenger
reservation to the airspace beyond the current slot term for which the carrier
has not yet scheduled flights and thus could not sell a consumer reservation,
each Defendant Passenger Carrier coined its own currency, called ‘airline
points’ or ‘airline miles’ (carrier-currency”) which it manages through its

‘frequent flyer’ or ‘loyalty’ program.!®? (To 7439.)

189 See, e.g., JetBlue Airways Corporation SEC Form 10-K (Feb. 27, 2023) at 7
(“{P]oints can be redeemed for any open seat. . . if the TrueBlue member has enough
points to exchange for the value of an open seat.”). See also, U.S. et alv. AMEX et
al, Case 1:10-cv-04496, Affidavit of [employee of] Starwood Hotels and Resorts, ECF
393 (EDNY Jun. 2, 2014), Doc. 467, PE-N3 1 (“(SPG members can redeem Starpoints
to pay for free nights at Starwood hotels, but they can also use Starpoints as a de
facto currency to purchase other benefits that Starwood, through the SPG Program,
makes available to SPG members. For example, the SPG Program contracts with . .
. Delta Air Lines to enable elite SPG members to receive automatically certain
travel benefits from Delta and Delta members can earn Starpoints for flying with
Delta.” (emphasis in original)).

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222. Each Defendant Passenger Carrier claimed that it determined the conversion
rate of its carrier-currency to U.S. currency, !* until recently. !9!

223. Each Defendant Passenger Carrier converted its carrier-currency to U.S.
currency by (a) selling carrier-currency directly to a consumer with an
undisclosed surcharge on the airfare and accruing the carrier-currency in the
consumer’s personal loyalty account; !%2 (b) charged an undisclosed surcharge
on the airfare to the consumer’s employer as part of its fixed price Contract
for Scheduled Service and accrued the carrier-currency in the consumers

personal loyalty account; 1% and/or (c) sold carrier-currency to a credit card

190 See, e.g., JetBlue Airways Corporation SEC Form 10-K (Feb. 27, 2023) at 80
(“We determine the standalone selling price of TrueBlue points issued using the
redemption value approach.”).

191 See American Airlines SEC Form 8-K, Investor Presentation (Mar. 4, 2024),
Doc. 495, PE-N4 25 at 78 (“Third-party currency valuation” of an undefined
currency per undefined mile. Note that this ‘valuation’ excludes American Airlines
second currency, which it calls “Loyalty Points;” see American Airlines SEC Form
10-K (Feb. 21, 2024) at 11 (“In 2023, we introduced a new business loyalty program,
AAdvantage Business, which rewards both eligible companies with AAdvantage
miles and their travelers with additional Loyalty Points[.]”)).

192 See, e.g., id. at 80 (“Points Earned From a Ticket Purchase. When a TrueBlue
member travels, we recognize a portion of the fare as revenue and defer in air traffic
liabilities the portion that represents the value of the points[.]”) (Note that the
consumer does not know the dollar amount they paid for the points).

193 See, e.g., National Defense Authorization Act for Fiscal Year 2002, Pub. L. 107-
107, div. A, title XI, § 1116, 115 Stat. 1012, 1241 (ec. 28, 2001), codified at 5 U.S.C.
§ 5702 note, Retention of Travel Promotional Items (“[A] Federal employee, .. any
family member or dependent of such an employee or member, or other individual
who receives a promotional item (including frequent flyer miles, upgrade, or access
to carrier clubs or facilities) as a result of using travel or transportation services
obtained at Federal Government expense . . . may retain the promotional item for
personal use if the promotional item is obtained under the same terms as those
offered to the general public and at no additional cost to the Federal Government.”).

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company, hotel, car rental, or ride sharing company, which allocated the
carrier-currency to its customers using its own method. !%

224. The consumer’s personal loyalty account with each Defendant Passenger
Carrier was divorced from the dollar value of the points; the value of the
carrier-currency purchased by everyone is instead accrued in one pool. !%

225. When a consumer redeemed carrier-currency to purchase a seat reservation,
each Defendant Passenger Carrier claimed to determine the value of the
carrier-currency based on an average conversion rate of the pool —
irrespective of the dollar amount that individual consumer paid for the

carrier-currency, irrespective of which airspace and time the flight was

194 See, e.g., Delta Air Lines, Inc. SEC Form 10-K, 72 (Feb. 10, 2023). See aiso,
JPMorgan Chase & Co., 2022 SEC Form 10-K (Feb. 21, 2023) (“JPMorgan Chase
offers credit cards with various rewards programs which allow cardholders to earn
rewards points based on their account activity and the terms and conditions of the
rewards program. Generally, there are no limits on the points that an eligible
cardholder can earn, nor do the points expire, and the points can be redeemed for a
variety of rewards, including cash ... gift cards and travel.”). See also, UATP One
Merchant Services, ACH Conference (May 16, 2023), Doc. 445, PE-N1 138 at 141
(“for direct and indirect sales [of] 150+ Global currencies”). Compare to Airlines
Clearinghouse Net Settlement Website, Doc. 436, PE-N1 93 at 94 (showing four
sovereign currencies, CAD, EUR, GBP, and USD, in which ACH settles). Compare
also to ICH IATA Member Airlines Application (Aug. 2015), Doc. 487, PE-N1 97 at
99 (showing three sovereign currencies, EUR, GBP, and USD, in which ICH settles).

195 See, e.g., JetBlue Airways Corporation SEC Form 10-K, 80 (Feb. 27, 2023)
(“TrueBlue points are combined in one homogeneous pool and are not separately
identifiable. As such, the revenue is comprised of the points that were part of the air
traffic liability balance at the beginning of the period as well as points that were
issued during the period.”).

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scheduled, and irrespective of the level of overall excess market demand and

subsequent congestion delay.19

ii. Carrier Joint Venture Valued Each Carrier Currency
Separately for Each Type of Transaction

226. Although each Defendant Passenger Carrier claimed to determine the value
of the carrier-currency based on an average conversion rate of its pool, it used
the conversion rate of each carrier-currency to U.S. currency supplied by an
unknown IATA source identified as “SF”.197

227. Each Defendant Passenger Carrier used a different conversion rate for the
accrual of carrier-currency than for the redemption of carrier-currency at

each airport. 1%

196 See, e.g., Delta Air Lines, Inc. SEC Form 10-K, 72 (Feb. 10, 2023) (We...
recognize loyalty travel awards in passenger revenue as the miles are redeemed and
transportation is provided.”) (note that no carrier discloses a redemption valuation
procedure).

197 See Frequent Flyer Redemption Example, Doc. 438, PE-N1 109 from
https://web.archive.org/web/20240120182826/https://www.iata.org/globalassets/ata/
services/financial-services/sisispg--release-notes/4.2.0.0/misc-invoice-samples-
4.2.0.0.zip (folder IATA ISPG > Misc. Invoice Samples 4.2.0.0 > Misc. Input Files
and VAL Reports > Misc. Charge Category > Partner Alliance > FF Accrual>
MXMLEF-1252019010420190206150701). Note that “SF” is identified as the source
of the conversion rate of “EA” to “USD.”

198 See id. (Note that the Example models an invoice from seller ICAG’s British
Airways (BA) to buyer Delta (DL) for USD50,000 for sale (accrual) and redemption
transactions of the “EA” carrier-currency at airport “AMM” (Queen Alia airport in
Amman, Jordan) during the calendar month of February 2019. The acronym
“UOM” is Unit of Money. When 100 units of “EA” carrier-currency are purchased,
the carrier uses a conversion rate to U.S. currency of 200 to charge the buyer
$20,000; and when 100 units of “EA” carrier-currency are redeemed, the carrier
uses a conversion rate to U.S. currency of 100 to value the revenue at $10,000.).

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228. Each Defendant Passenger Carrier used a different conversion rate for the
accrual of carrier-currency at each airport by class of transportation. !%

229. Each Defendant Passenger Carrier used a distinct conversion rate for
different invoice types, such as the payment of monthly joint venture charges
from its carrier-currency or the payment of airspace reservations to its

partner-carrier.2°

199 See IATA Code Share Example, Doc. 440, PE-N1 115 from
https://web.archive.org/web/20240120182826/https://www.iata.org/globalassets/iata/
services/financial-services/sis/ispg--release-notes/4.2.0.0/misc-invoice-samples-
4.2.0.0.zip (folder LATA ISPG > Misc. Invoice Samples 4.2.0.0 > Misc. Input Files
and VAL Reports > Misc. Charge Category > Partner Alliance > Code Share>
MXMLF-A892019010420190131123352). Note that the Example models an invoice
from seller A89 to buyer A55 for purchase transactions of the “EA” carrier-currency
at airport “YUL” (Montreal-Trudeau in Canada) from Jan. 28 to Jan. 29, 2019.
When 100 units of “EA" carrier-currency are purchased by C-Class, the carrier uses
a conversion rate to U.S. currency of 200 to charge the buyer $20,000; and when 100
units of “EA” carrier-currency is purchased by Y-Class, the carrier uses a conversion
rate to U.S. currency of 100 to charge the buyer $10,000.

200 See [ATA Joint Venture Invoice Example, Doc. 462, PE-N1 209 from
https://web.archive.org/web/20240120182826/https://www.iata.org/globalassets/iata/
services/financial-services/sis/ispg--release-notes/4.2.0.0/misc-invoice-samples-
4.2.0.0.zip (folder LATA ISPG > Misc. Invoice Samples 4.2.0.0 > Misc. Input Files
and VAL Reports > Misc. Charge Category > Partner Alliance > Joint Venture >
MXMLF-A892019010420190131123352.xml. Note that the Example models an
invoice from organization “A89” to “A55” for “Joint Venture charges for the month of
Jan as per agreement of ZZ/GG” of one unit of “EA” carrier-currency with the
exchange rate of EA to USD of 175,000 for a total invoice of USD 175,000. See also,
IATA ISPG Block Space Agreement Invoice Example at footnote 185.

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ji- Carrier Allocated Future Service to Consumers with
Grandfathering

Each Defendant Passenger Carrier allocated a certain portion of seats on
each flight to passenger service reservations paid with carrier-currency.?°!
Because these seats are not available for purchase in the Exhaustless public
market, the public has fewer seats for which to compete with U.S. currency.
Each Defendant Passenger Carrier accepted its carrier-currency as payment
for both the reserved use of the public’s airspace and for the air

transportation service the carrier committed to provide.

kk. Carrier Collateralized Private Loans with Public
Assets

On August 11, 2002, Defendant American Airlines’ predecessor US Airways
filed for Chapter 11 federal bankruptcy protection in federal court.?°? In the
case, US Airways claimed ownership of public airspace assets and

collateralized those public airspace assets to secure bank loans.?°? US

201 See Testimony of JetBlue Pricing Manager, D. Mass. Case 1:21-cv-11558, ECF
300 (Sep. 29, 2022), Doc. 291, PE-I1 433, line 13 at 443 (“We'll have a certain
number of seats available in each of the booking classes[.]”)

202 See US Airways Group, Inc. SEC Form 10-K, 2 (Mar. 27, 2003).

203 See id. at 7, “Under the RSA DIP [Debtor in Possession] Facility, borrowing
availability is determined by a formula based on a percentage of eligible assets. The

eligible assets consist of certain previously unencumbered ... takeoff and landing
slots[.]”).

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Airways emerged from Chapter 11 bankruptcy protection on March 31,
2003.204

233. On December 9, 2002, Defendant United Airlines filed for Chapter 11 federal
bankruptcy protection in federal court.25 In the case, United claimed
ownership of public airspace assets, and collateralized those public airspace
assets to secure bank loans.2°° On February 1, 2006, United Airlines
emerged from Chapter 11 bankruptcy protection.2©7

234. On September 14, 2005, Defendant Delta filed for Chapter 11 federal
bankruptcy protection in federal court.2°° In the case, Delta claimed
ownership of public airspace assets, and collateralized those public airspace
assets to secure bank loans.2° On April 30, 2007, Delta emerged from

Chapter 11 bankruptcy protection. ?!°

204 See US Airways Group, Inc. SEC Form 10-K, 1 (Mar. 12, 2004).
205 See UAL Corporation SEC Form 10-K, 2 (Mar. 28, 2003).

206 See id., Exhibit 4.7, 79 (showing “Additional DIP [Debtor in Possession]
Collateral” includes slots). See also, id., Note 2(k), 40 (‘Slots and gates, like routes,
are highly valued assets that do not frequently come into the marketplace. The
Company has no intention to sell these assets[.]’).

207 See UAL Corporation SEC Form 10-K, 4 (Mar. 16, 2007).
208 See Delta Air Lines, Inc. SEC Form 10-K, 1 (Mar. 27, 2006).

209 See id., Note 8, F-29 (“Our senior secured debt and our secured debt is
collateralized by first liens, and in many cases second and junior liens, on
substantially all of our assets, including . . . landing slots[.]”).

210 See Delta Air Lines, Inc. SEC Form 10-K, 1 (Feb. 15, 2008).

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On November 29, 2011, Defendant American Airlines’ predecessor AMR
Corp. filed for Chapter 11 federal bankruptcy protection in federal court.?2!!
In the case, AMR claimed ownership of public airspace assets, and
collateralized those public airspace assets to secure bank loans.?!2 On
December 9, 2013, AMR emerged from Chapter 11 bankruptcy protection by
merging with US Airways.?!8

On March 30, 2020, Defendant Spirit secured financing with public airspace
assets.214

On May 26, 2020, Defendant LATAM filed for Chapter 11 federal bankruptcy
protection in federal court. LATAM claimed ownership of the U.S. public’s
airspace assets and collateralized those public airspace assets to secure bank
loans.?15

On March 17, 2023, Defendant Rand, through its affiliate Apollo Global

Management, Inc.,2!6 secured $1.1 billion in financing with the consolidated.

211 See AMR Corporation SEC Form 10-K, 1 (eb. 15, 2012).

212 See id., Note 7, 71 (‘[T]Jhe Senior Secured Notes are secured by certain...
airport landing and takeoff slots[.]”).

213 See American Airlines Group, Inc. SEC Form 10-K, 5 (Feb. 28, 2014).

214 See Spirit Airlines, Inc. SEC Form 10-K, 144 (Feb. 6, 2023).

215 See LATAM Airlines Group S.A., Case 1:20-bk-11254 (i) Debtor’s Motion, ECF
5669-2 (SDNY Jun. 24, 2022), Doc. 463, PE-N2 272, 911(a) at 278; and Gi) Exhibit
B Omnibus Commitment Letter, ECF 5669-2, Doc. 464, PE-N2 292 at 330
(“Coverage Assets’ means ... slots, gates and routes in the United States[.]”).

216 See Conyers Dill & Pearman Press Release (Mar 2023), Doc. 500, PE-N4 347.

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assets of Rand, including public airspace and public airport assets that Atlas
claimed to own.?!"

On February 22, 2024, Defendant United Airlines disclosed loan agreements
with a U.S. national bank association of up to $5.3 billion secured by routes,
airspace reservations at JFK, LaGuardia and Reagan National airports, and
rights to use airport terminal assets.?!8

Each Defendant American Airlines, United Airlines, Delta, JetBlue, Spirit,
and LATAM continues to collateralize private loans with public airspace
assets, preventing Endres from leveraging his inventions to obtain working
capital to operate his airspace reservation market-clearing service for the

public.

217 See Atlas Air Worldwide Holdings, Inc. SEC Form 8-K (Mar. 17, 2023). See
also, e.g., Atlas Air Worldwide Holdings, Inc. SEC Form 10-K, 7 (Feb. 23, 2023) (“
Under a 20-year blocked space agreement that expires in 2028 (the “BSA”), Polar
provides air cargo capacity to DHL’).

218 See United Airlines SEC Form 8-K (Feb. 22, 2024). See also, id. Exhibit 10.1,
Section 3.14. “Ownership of Collateral. Each Grantor has good title to the
Collateral owned by it, free and clear of all Liens other than Permitted Liens.”).

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VI. DEFENDANTS’ BOYCOTT OF THE MARKET

A. Exhaustless v. FAA

241. Rather than withdraw its market-allocating rules as Endres had petitioned,
the FAA reissued its rules on September 17, 2018.249 In November 2018,
Exhaustless petitioned the court to review the FAA’s rules at LaGuardia
(LGA) and John F. Kennedy (JFK) airports over Exhaustless’ competitive
market allocation.22° In oral arguments, the court declared that it would
“address the merits of the remaining legal obstacles in our first decision.” 221
In its ruling, the court declared the Aviation 2.0 market-clearing service:

Using Aviation 2.0, carriers would compete in semi-
annual auctions to purchase slots for a six-month
period, with the total number of slots determined
by Exhaustless using its proprietary technology.
Passengers would then pay demand-calibrated

congestion premiums (on top of their airfare) when
purchasing tickets. Both the congestion premiums

219 See Order Extending Order Limiting Operations at John F. Kennedy
International Airport, 83 Fed. Reg. 46865 (Sep. 17, 2018), Doc. 22, PE-B1 23. See
also, Order Extending Order Limiting Operations at New York Laguardia (sic)
Airport, 83 Fed. Reg. 47065 Gep. 18, 2018), Doc. 23, PE-B1 26.

220 See (a) Exhaustless Inc. v. FAA, D.C. Cir. Case 18-1303, Petitioner's Amended
Opening Brief, ECF 1773615 (Feb. 15, 2019), Doc. 25, PE-G1 1; (b) Exhaustless Inc.
v. FAA, D.C. Cir. Case 18-1303, Joint Appendix, ECF 1771626 (Feb. 1, 2019), Doc.
243, PE-G3 1; (c) and Exhaustless Inc. v. FAA, D.C. Cir. Case 18-1303, Petitioner’s
Reply Brief, ECF 1780513 (Apr. 1, 2019), Doc. 242, PE-G1 503.

221 See Exhaustless Internal Transcript of Oral Argument, D.C. Cir. Case 18-1303,
Doc. 255, PE-G1 709, 00:20:54 at 714. Note that the court docketed an official
transcript at ECF 1787958, but that document is not accessible by Plaintiff.

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and the auction proceeds would go to
Exhaustless. 222

242. In addition, the court declared that the “interim rule resembled the High
Density Rule and generally grandfathered the slots held by airlines under the
previous regime,” and is “revocable at will.” 228

243. Although, as cited in the joint brief of the DOT/IATA WSG Slot Coordinator
and the DOJ, the “United States government has ‘exclusive sovereignty’ over
U.S. airspace” 224 the Court found that without carriers added as defendants,
Exhaustless failed to demonstrate traceability and redressability and

therefore dismissed the petition for lack of standing.22°

B. COVID Pandemic

244. (From 4183.) Beginning in March 2020, passenger demand declined suddenly
and sharply due to the global spread of the COVID-19 virus. On March 2,
2020, through a trade association, each Defendant Carrier requested the FAA
to waive the terms of their private [ATA WSG agreement to minimum

reservation usage requirements through the Summer 2020 carrier scheduling

222 Kxhaustless Inc. v. FAA, 931 F. 3d. 1209 (D.C. Cir. 2019), Doc. 27, PE-G1 207 at
210.

223 Id. at 212 and 214.

224 See Exhaustless Inc. v. FAA, D.C. Cir. Case 18-1303, Brief for Respondent, ECF
1778181 (Mar. 18, 2019), Doc. 26, PE-G1 87 at 120, referencing 49 U.S.C. §
40103(a)(1).

225 See Exhaustless Inc. v. FAA, 931 F. 3d. 1209 (D.C. Cir. 2019), Doc. 27, PE-G1
207 at 208.

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season ending on October 24, 2020.226 On March 16, 2020, the FAA ‘granted’
carriers the waiver through May 31, 2020.227 On March 25, 2020, the FAA
issued a notice to show cause, stating that “/oJn March 16, 2020, the FAA
received a letter addressed to responsible slot authorities from leaders of
twenty-three airlines around the world, including United Airlines from the
United States, requesting ‘a global waiver from standard slot usage rules
through summer 2020 to obtain flexibility for capacity reductions in light of
diminishing passenger demand, and to help stabilize a very tenuous
operational and commercial environment.”228 The FAA proposed a waiver of
the IATA WSG’s minimum usage requirements through October 24, 2020 —
a seven month freeze of the pre-pandemic market allocation.?29 This was the
moment when Endres realized that the carriers were orchestrating the
conspiracy worldwide, and that he had a private antitrust claim against the
IATA-member carriers. (To 4282.)

On March 27, 2020, the D.C. Circuit Court denied Exhaustless’ petition to
review the FAA’s denial of Exhaustless petition for rulemaking (the petition

in which Endres had requested the FAA to withdraw its market allocating

226 See FAA Notice of limited waiver of the minimum slot usage requirement, 85
Fed. Reg. 15018, 15019 (Mar. 16, 2020), Doc. 40, PE-B2 106.

227 See id.

228 See FAA Notice of limited waiver of the minimum slot usage requirement, 85
Fed. Reg. 16989 (proposed Mar. 25, 2020), Doc. 41, PE-B2 109 (emphasis added).

229 See id.

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orders, see J34).2°° At this moment, Endres suspected that he had a fifth
amendment takings claim.

Also on March 27, 2020, the President of the United States signed the
CARES Act into law, which included provisions for carriers to receive
financial assistance from the public’s treasury.22! On March 31, 2020, the
Assistant Secretary of Aviation and International Affairs of the DOTIATA
WSG Slot Coordinator issued a show cause order regarding the regulation of
the required Service Obligation an air carrier must commit to when receiving
financial assistance, pursuant to the CARE Act.282 The order stated that
“These provisions do not authorize any coordination among air carriers that
would violate the antitrust laws.”23> But the order did not mention how the
antitrust immunity that carriers had been granted by the DOTIATA WSG
Slot Coordinator under their sealed alliance agreements intersects with the
provision of financial assistance from the public.

On April 2, 2020, Endres objected to the proposed order, stating: “But the
airlines are already coordinating to violate antitrust laws by using the

anticompetitive International Air Transport Association’s Worldwide Slot

230 See Exhaustless Inc. v. FAA, Case 19-1158, Judgment, ECF 1835740 (D.C. Cir.
2020), Doc. 225, PE-G1 236.

231 See Coronavirus Aid, Relief, and Economic Security (CARES) Act, Pub. L. 116-
136, Title IV, Subtitle A, 134 Stat. 281, 469 (Mar. 27, 2020).

232 See Order 2020-3-10 (proposed Mar. 27, 2020), Doc. 339, PE-B1 229.
233 Td. at 231.

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Guidelines (IATA WSG) to allocate slot and schedule reservations at airports
where excess supplier demand and excess passenger demand exist.”28+ On
April 7, 2020, the DOT/IATA WSG Slot Coordinator issued its final order and
did not address Endres’ comments. 25

248. The Department of Treasury of the United States issued loans to carriers,
which carriers secured with public airspace assets. In conjunction with its
loans to the carriers, and outside of the public stock market on which the
shares trade, the Department of Treasury of the United States acquired an
interest in the shares of private-sector entities Defendants Alaska Air,
American Airlines, Delta, Frontier, Hawaiian, JetBlue, Southwest, Spirit,
and United Airlines in the form of warrants to purchase shares.?°6

249. Endres then began delving into public information about the sealed so-called

immunized alliance agreements.

234 Exhaustless Objection, Dkt. DOT-OST-2020-0037 (Apr. 2, 2020), Doc. 340, PE-
B1 405.

235 See Order 2020-4-2 (Apr. 7, 2020), Doc. 341, PE-B1 407.

236 See Alaska Air SEC Form 10-K (Feb. 14, 2024), Note 11 at 83; American
Airlines SEC Form 10-K (Feb. 21, 2024), Note 1 at 134; Delta SEC Form 10-K (Feb.
12, 2024), Note 12 at 92; Frontier SEC Form 10-K (Feb. 20, 2024), Note 8 at 102;
Hawaiian SEC Form 10-K (Feb. 15, 2024), Note 9 at 86; JetBlue SEC Form 10-K
(Feb. 12, 2024), Note 3 at 82; Southwest SEC Form 10-K (Feb. 6, 2024), Note 2 at
101; Spirit SEC Form 8-K (Feb. 22, 2024); and United Airlines SEC Form 10-K
(Feb. 29, 2024), Note 2 at 73.

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C. Delta/WestJet Alliance Agreement

Rather than compete for airspace reservations in Endres’ announced
competitive market, Defendant Delta and Canadian citizen WestJet — both
members of the IATA — requested antitrust immunity in a “confidential”
agreement to pool the respective U.S. and Canada airspace reservations to
which they each claimed entitlement.?27

On October 23, 2020, the DOT/A.ATA WSG Slot Coordinator proposed to grant
the antitrust immunity on condition that the carriers “divest” 16 airspace
reservations at LaGuardia airport in New York City because “market entry
for services involving NYC airports, particularly for new entrants, is not
likely, timely, or sufficient to address our concerns due to the persistent
inability of carriers to access slots for new and/or additional services.” 238 The
DOT/IATA WSG Slot Coordinator proposed that Delta/WestJet acquire the
services of a third party to administer an auction of the reservations, the
proceeds of which would be retained by the carriers.?°9 Endres objected to

the proposal because, inter alia, “[a] competitive alternative ts available for

237 Delta-WestJet Application for Antitrust Immunity for Alliance Agreements,
Dkt. DOT-OST-2018-0154 (Oct. 10, 2018), Doc. 326, PE-D2 261 at 265.

238 Order 2020-10-13 (proposed Oct. 23, 2020), Doc. 59, PE-D1 14 at 17-18.
239 See id. at 43.

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airlines to obtain airspace slots without regulatory intervention. tn the slot
market.” 240

Delta/WestJet rejected the conditions, withdrew their application, and
requested that the administrative proceeding be closed, which the DOT/IATA

WSG Slot Coordinator granted.?4!

D. U.S. Airport Operators Join the IATA WSG Agreement

1. Members of Airports Council International

In 2018, when the IATA published the WSG 9t» Edition, it informally
announced that the Airports Council International (ACD), a trade association
for airport operators, had joined the IATA WSG agreement.?“ On June 3,
2019 (the day after each Defendant Carrier voted at the IATA Annual
General Meeting to continue to allocate the market of airspace reservations
with the IATA WSG, see 4164), the IATA announced, but did not disclose, a

formal agreement joining the ACI to the IATA WSG agreement.?

240 Exhaustless Objection, Dkt. DOT-OST-2018-0154-0053 (Nov. 9, 2020), Doc. 60,
PE-D1 52.

241 See Order 2020-12-17 (Dec. 21, 2020), Doc. 63, PE-D1 90.

242 See IATA Worldwide Slot Guidelines, 9tb Edition (Effective Jan. 1, 2019), Dkt.
FAA-2020-0862 (Dec. 17, 2020), Doc. 69, PE-D1 136 at 139. (‘The first changes to
the WSG because of the joint work of airports, airlines, and coordinators in the
Strategic Review have been accepted and published in this, the 9th edition of the
WSG.”).

243 See IATA Press Release, Industry Collaboration Brings New Era for Airport
Slot Allocation (June 3, 2019), Doc. 32, PE-D1 12.

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Defendants PANYNdJ and MWAA, both public entities, are members of the
private trade association ACI through its North American branch.2*4 (To

1405.)
2. SFOTEC

254. Defendants Air France-KLM, Alaska Air, Delta, Lufthansa, LATAM, ICAG,
United Airlines, and possibly other Defendants?“ co-own the San Francisco
Terminal Equipment Company, L.L.C. (GFOTEC) which operates the San
Francisco Airport’s International Terminal Complex and has attended the
LATA WSG slot conference to allocate the public’s terminal resources at San

Francisco Airport.246 (To 9396.)

244 See Airports Council International-North America Members (printed Aug. 8,
2023), Doc. 343, PE-J 174.

245 See San Francisco International Airport, Competition Plan Update (Aug. 2001),
Doc. 391, PE-J 250 ““SFOTEC, LLC, formed by all 25 airlines operating out of the
ITC, operates and maintains the Airport-owned common use equipment related to
handling flights and passengers at the ITC.”). See also, San Francisco Board of
Supervisors, Notification of Contract Approval (Aug. 3, 2012), Doc. 392, PE-J 261
(showing the owners of SFOTEC to be Aeromexico, Air China, Air France, Air New
Zealand, Alaska Airlines, All Nippon Airways, Asiana, British Airways, Cathay
Pacific, China Airlines, Delta Air Lines, Emirates, Japan Airlines, KLM, Korean
Airlines, LAN Peru, Lufthansa, Mexicana, Philippine Airlines, Singapore Airlines,
Swiss International, TACA International, United Airlines, Virgin Atlantic, and
Virgin America). Noite that several of these airlines, that control a terminal at a
U.S. airport, are controlled by a foreign government.

246 See IATA 1524 Slot Conference — Organizations attending (Jun. 11, 2023), Doc.
254, PE-D3 18.

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Ek. Airport Owners and Operators Block the Market’s Access to the

U.S. Air Transportation System

1. Access to a Washington, D.C. Airport

255. The Congress prohibited nonstop air transportation between Reagan
National Airport (DCA), a Washington, D.C. port, and certain domestic and
foreign terminal points.?47

256. The Congress ‘granted’ the MWAA an exception to market competition in
acquiring certain supplies or services, or in awarding concession contracts,
when approved by most of its directors.24

257. MWAA has relied on terms of its charter and the federal government’s ‘grant’
of an exception to market competition to justify its failure to procure services
and supplies by competing in a market, and its failure to allocate its
commercial leased space in a competitive market:

MWAA stated, however, that [GSA’s] assessment of
its contracting practices using recognized principles

of full and open competition was inappropriate
because, in its view, these principles do not

247 See id., codified as amended at 49 U.S.C. § 49109 (“An air carrier may not
operate an aircraft nonstop in air transportation between Ronald Reagan
Washington National Airport and another airport that is more than 1,250 statute
miles away[.]”).

248 See id., §6005()(4), 100 Stat. 1783-376, codified at 49 U.S.C. § 49104(a)(4) (“In
acquiring by contract supplies or services for an amount estimated to be more than
$200,000, or awarding concession contracts, the Airports Authority to the maximum
extent practicable shall obtain complete and open competition through the use of
published competitive procedures. By a vote of 7 members, the Airports Authority
may grant exceptions to the requirements of this paragraph.”).

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adequately reflect the unique environment
applicable to contracting at commercial airports.
MWAA noted that its charter, as reflected in
statutes of the District of Columbia and the
Commonwealth of Virginia, recognized the need for
flexibility in MWAA’s contracting and,
consequently, granted it expanded commercial
discretion in making and entering into contracts.
In MWAA’s view, it has the power to use
contracting practices and procedures that are based
upon business needs and “not inherently linked to
federal concepts” for maximizing competition.249

258. (From 9179.) On information and belief, Defendant MWAA attended the

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(To 1405.)

domestic slot conference for each carrier scheduling period since May 2018 to

allocate the public’s air transportation infrastructure with grandfathering.25°

Defendant MWAA, a public entity, has entered into agreements with certain
Defendant Carriers to share the public airport system’s revenue while at the

same time seeking federal grants.251

249 U.S. General Accounting Office Report to Congress, GAO-02-36 Metropolitan
Washington Airports Authority, 34 (March 2002).

250 See FAA Notice of Submission Deadline for Schedule Information for [ORD, .
JFK, LAX, SFO] for the Summer 2020 Scheduling Season, 84 Fed. Reg. 51222 Gep.
27, 2019), Doc. 34, PE-B2 85 at 87 (“The FAA discussed the Level 2 review with
airlines and airport operators in meetings at the 144th IATA Slot Conference, the
domestic slot conference hosted by Airlines for America, as well as other individual

meetings.”).

251 See MWAA 2022 Annual Comprehensive Financial Report (Mar. 29, 2023) (“Key
provisions of the Use and Lease Agreement are: ... * A revised allocation for
sharing Airport Net Remaining Revenue (NRR) with airlines at Reagan National
(sincluding 100 percent of NRR from 2014-2016, 55 percent in 2017-2018, and 45

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260. Defendant MWAA has purportedly issued a new regulation of price, route,
and service in air transportation, at Defendant United Airlines’ request, to
tax a carrier operating a certain flight to Reagan National airport for the
benefit of Dulles airport carrier-users.252

261. Defendant MWAA has purportedly issued a new regulation of price, route,
and service in air transportation to refuse access to Reagan National airport

if the flight by a carrier is connecting from an airport of certain U.S. states.25°
2. Access to a New York Airport

262. Since the 1950s, the Port Authority of New York and New Jersey (PANYNJ),
a bi-state agency of New York and New Jersey, has established and enforced
a regulation prohibiting nonstop air transportation between LaGuardia

Airport (LGA), a New York port, and certain terminal points in the world (the

percent in 2019 through 2023, to be retained by the Airports Authority for use in
the following years),* The Airports Authority can apply NRR from Reagan National
at Dulles International, up to certain limitations,» NRR generated at Dulles
International will be shared between the Airports Authority and Dulles
International airlines (generally 50 percent to airlines and 50 percent to the
Airports Authority ...in 2022, and thereafter 75 percent to airlines and 25 percent
to the Airports Authority. .. The Dulles CCP is primarily debt-funded, and the
Airports Authority will seek grant funding where available.”).

252 See Request for Information from Sen. Ted Cruz, ranking member of the Senate
Committee on Commerce, Science, and Transportation, to John Potter, CEO of
MWAA (Dec. 19, 2023), Doc. 428, PE-N1 20 at 23.

253 See id. (“But the board has also contemplated creating political litmus tests for
which states may or may not get flights to and from DCA.”).

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“LaGuardia Perimeter Rule”).254 When the Congress passed the Airline
Deregulation Act in 1978, it prohibited states from enforcing regulations
related to price, route, and service in air transportation.255 The Supreme
Court upheld the preemption of state regulations in 1992.256 Defendant
PANYNJ has not repealed its regulation of routes serving LaGuardia. (To
1490.)

263. (rom 4179.) On information and belief, Defendant PANYNJ attended the
domestic slot conference for each carrier scheduling period since May 2018 to
allocate the public’s air transportation infrastructure with grandfathering.257
(To 405.)

264. Defendant the City of New York knew or should have known of the unlawful

restraint of trade of airspace reservations occurring at its airports.

254 See The Port Authority of New York and New Jersey, Airport Rules and
Regulations, Chapter VIII Aircraft Operations (Jul. 27, 2022), Doc. 335, PE-J 146,
U.16 at 167 (LaGuardia Airport is to be utilized for nonstop domestic flights and
international flights pre-cleared by the Federal Inspection Services only to and from
points that are located within 1,500 statute miles of LaGuardia Airport, and to and
from Denver, CO. The foregoing limitation does not apply to flight operations
conducted on Saturdays or to general aviation operations conducted at the Marine
Air Terminal.”).

255 See 49 U.S.C. § 41713.
256 See Morales v. Trans World Airlines, 504 U.S. 374 (1992).

257 See FAA Notice of Submission Deadline for Schedule Information for [ORD,
JFK, LAX, SFO] for the Summer 2020 Scheduling Season, 84 Fed. Reg. 51222 (Sep.
27, 2019), Doc. 34, PE-B2 85 at 87 (‘The FAA discussed the Level 2 review with
airlines and airport operators in meetings at the 144th IATA Slot Conference, the
domestic slot conference hosted by Airlines for America, as well as other individual
meetings.”).

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265. Defendants the City of New York and PANYNY, through their undisclosed
lease agreement, have taxed the revenue from domestic and foreign air
commerce at the two airports by charging rent at 10% of annual gross
revenue of the airports;258 (To 7475); and

266. Defendants the City of New York and PANYNJ, through their undisclosed
lease agreement, diverted $780.2 million of airport revenue to the City of
New York in 2004.259 The statute of limitations regarding this violation
expired in 2010 per 49 U.S.C. § 47107(m)(7). There was reported to be an

amendment to the lease in 2021.26°
3. Access to Airspace at a New Jersey Airport

267. Defendant the City of Newark knew or should have known of the unlawful

restraint of trade of airspace reservations occurring at its airports.

258 See New York State Office of the State Comptroller, Division of State
Government Accountability, Report 2014-S-28 at 1 (April 2017), Doc. 480, PE-N3
124 at 125.

259 See id. (“The lease required the Port Authority to pay the City a lump sum of
$500 million and an additional lump sum of $280.2 million at execution.”).

260 See Centre for Aviation, “Recovery for All of Us: Mayor de Blasio,
Representative Meeks, Borough President Richards Announce Foundation for JFK
Airport Construction, Over 20,000 Jobs” (Feb. 23, 2021), Doc. 485, PE-N3 165 from
https://web.archive.org/web/20240229202336/https://centreforaviation.com/mem
bers/direct-news/recovery-for-all-of-us-mayor-de-blasio-representative-meeks-
borough-president-richards-announce-f-552485.

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4, Access to New York City Metropolitan Airspace

268. On May 8, 2020, Endres notified PANYNJ that it was violating antitrust
laws and Exhaustless’ right to allocate the market by “allowing flights whose
reservations were obtained through an anticompetitive allocation process” and
offered to license its Competitive Market Standard to the PANYNG to rectify
this violation.26! On July 17, 2020, the PANYNJ responded that Exhaustless
should elevate this claim.?62

269. Defendant PANYNJ attended the IATA WSG Slot Conference to allocate the
use of terminals and gates at Newark Liberty and JFK airports based on the

grandfathered airspace reservation market allocation.2®
5. Access to U.S. Airports

270. Exclusive long-term leases: Each Defendant PANYNJ and MWAA

exclusively leases certain public airport infrastructure to each Defendant
Carrier, which holds a public economic certificate to conduct commerce issued
by the federal government. Each Defendant PANYNJ and MWAA and each

Defendant Carrier have agreed to exclusively lease gates for terms of decades

261 Hxhaustless Notice of Claim (May 8, 2020), Doc. 350, PE-J 220.
262 See Letter from PANYNJ Claims Division (Jul. 17, 2020), Doc. 351, PE-J 222.

263 See, e.g., [ATA 152nd Slot Conference — Organizations attending (Jun. 11,
2023), Doc. 254, PE-D3 18.

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— even though the term of the airspace reservation under the IATA WSG is
approximately 6-months, or each IATA carrier scheduling season.?¢4

271. PFCs: Each airport authority that receives passenger facility charge (“PFC”)
taxes on the air tariff, pursuant to 49 U.S.C. § 40117, applied for financing a
airport project from PFCs, and its application was approved by the
DOT/IATA WSG Slot Coordinator. 26

272. Defendant United Airlines retained a credit from an unidentified airport(s)
for all or a portion of the amount of passenger facility charge tax collected by
carriers from passengers and remitted to the unidentified airport(s).26¢ (To

472.)

264 See, e.g., United Airlines Holdings, Inc. SEC Form 10-K for 2022 (Feb. 16, 2023),
Item 2 at 36 (“United leases gates, hangar sites, terminal buildings and other
airport facilities in the municipalities it serves. United has major terminal facility
leases at SFO, LAD, ORD, LAX, DEN, EWR, IAH and GUM with expiration dates
ranging from 2023 through 2053.”). See also, Newark Liberty International Airport,
Airline Competition Plan Update (Feb. 1, 2013), Doc. 484, PE-N3 151 at 153 (“As of
January 1, 2013 EWR consists of 109 gates, 87 are exclusively leased and 22 are
common use.”). See also, MWAA Press Release, Airports Authority and United
Airlines Execute Long-Term Lease at Dulles International Sep. 13, 2017), Doc. 483,
PE-N3 149. See also, Delta SEC Form 10-K (Feb. 12, 2024), Exhibit 10.7, Amended
and Restated Agreement of Lease by and between PANYNJ and Delta dated Sep.
13, 2017, 39 (showing lease termination date of Dec. 30, 2050).

265 See, e.g., FAA PFC Approved Locations, Collections, and Expiration Dates (as of
January 30, 2024), Doc. 466, PE-N2 432 from
https://web.archive.org/web/20240211012312/https://www.faa.gov/sites/faa.gov/files/
2024-0 l/arp-pfc-monthly-reports-airports-20240130.pdf.

266 See United Airlines Holdings, Inc. SEC Form 10-K for 2022 (Feb. 16, 2023),
Note 10 at 91 (“Certain of these leases include provisions for variable lease
payments which are based on several factors, including, but not limited to, relative

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273. ACIPs: Each Defendant PANYNJ267 and MWAA2® acknowledged that it
pays carriers pursuant to its Air Carrier Incentive Plan (ACIP) to influence

route decisions. (T'o 481.)
6. Control of U.S. Airports

274. (From §111.) JFK airport is owned by Defendant the City of New York, which
purportedly leases the airport to Defendant PANYNJ to operate. PANYNJ
subleases a terminal to another operator, JFK International Air Terminal
L.L.C. (“JFKIAT"), a joint venture with a foreign government, the
Netherlands.269 JFKIAT has issued a leasehold mortgage to PANYNJ, which

is secured by the City of New York’s airport assets.?”°

leased square footage, available seat miles, enplaned passengers, passenger facility
charges, terminal equipment usage fees, departures, and airports' annual operating
budgets.”).

267 See PANYNJ Comment re ACIP, Dkt. ID. FAA-2022-1204-0012 (Apr. 4, 2023),
Doc. 469, PE-N3 20.

268 See MWAA Comment re ACIP, Dkt. ID. FAA-2022-1204-0011 (Apr. 4, 2023),
Doc. 468, PE-N3 15 at 18 (“We agree with ACI-NA that Airport sponsors should be
able to incentivize service to specific airport destinations.”).

269 See PANYNJ, Press Release Number: 131-2021 (Dec. 15, 2021), Doc. 487, PE-N3
177 CJFKIAT, a USS. affiliate of Royal Schiphol Group, has been the operator of
Terminal 4 at John F. Kennedy International Airport since 1997.”). See also, Royal
Schiphol Group, Corporate Governance Website, Doc. 488, PE-N 184 from
https://web.archive.org/web/20240301192830/https://www.schiphol.nl/en/schiphol-
group/page/corporate-governance/ (“Royal Schiphol Group N.V. is a public limited
liability company with a full two-tier board regime. The State of the Netherlands,
the city of Amsterdam, and the city of Rotterdam are joint shareholders.”).

270 See New York Transportation Development Corporation, Director's Meeting
(Aug. 18, 2020), Doc. 471, PE-N3 34 at 43 (“Mr. Bressette responded and explained

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275. (From 967.) LaGuardia airport is owned by Defendant the City of New York,
which purportedly leases the airport to Defendant PANYNJ to operate.
PANYNJ subleases LaGuardia airport assets to Defendant Delta to operate
as well as to use.27! Delta’s carrier operations are joint ventures with several
foreign governments. Delta has issued a mortgage to PANYNJ, which it has
secured with the City of New York’s airport assets.2”2 New York
Transportation Development Corporation has issued public bonds — for the
benefit of Delta Air Lines — to finance LaGuardia airport projects.

276. (From 4113.) Newark Liberty airport is owned by Defendant the City of
Newark, which purportedly leases the airport to Defendant PANYNJ to
operate. PANYNd subleases a terminal to another operator, Munich Airport,

an agency of a foreign government, Germany.?73

that Terminal 4 is leased by JFK International Air from the Port Authority. He
stated that JFK International is pledging those lease payments to the
Corporation[.]”). See also, id. at 45 (“[T]he Borrower will grant to the Corporation
and the Trustee (for the benefit of the bondholders) a leasehold mortgage in the
Borrower's leasehold interest under the Lease Agreement pursuant to a Leasehold
Mortgage, Assignment of Leases, Security Agreement and Fixture Filing[.]”).

271 Delta SEC Form 10-K (Feb. 12, 2024), Exhibit 10.7, Amended and Restated
Agreement of Lease by and between PANYNJ and Delta dated Sep. 13, 2017, 39
(note that the assets leased are not disclosed, but the operation by Delta of

concessions and the “concessions revenue sharfing]” with PANYNd is disclosed).

272, See New York Transportation Development Corporation, Director's Meeting
(Aug. 18, 2020), Doc. 471, PE-N3 34 at 74 (a “leasehold mortgage”).

273 See PANYNJ Press Release, “Newark Liberty International Airport’s Terminal
A Celebrates One-Year Anniversary (Jan. 12, 2024),” Doc. 472, PE-N3 78 from
https://web.archive.org/web/202402230043 15/https://www.panynj.gov/port-
authority/en/press-room/press-release-archives/2024-Press-Releases/-newark-
liberty-international-airport-s-terminal-a-celebrates-on.html.

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F. Winter 2019 and Summer 2020 Seasonal Reservations

1. Allocation with the IATA WSG

On May 9, 2019, each Defendant Carrier sent the DOT/IATA WSG Slot
Coordinator a list of the airspace reservations allocated to them the last
equivalent season, which it claims entitles them to the future season’s
reservation.274 On May 16, 2019, each Defendant Carrier submitted its
schedule ‘request’ for the Winter 2019 scheduling season to the FAA.275 Each
Defendant Carrier obtained exclusive reservations no later than June 6,
2019, when the DOT/IATA WSG Slot Coordinator allocated each reservation
— for free — to the carrier claiming entitlement and denied Exhaustless its
right to hear competitive bids for that reservation from other carriers and to
speak market prices (winning bids) to all market participants.276

On June 18, 2019, each Defendant IATA Carrier and the DOT/IATA WSG
Slot Coordinator attended the IATA Slot Conference in Cape Town, South
Africa to finalize the allocation of the season’s airspace reservations to

carriers.277

274 See Exhaustless Documentation of [ATA WSG Calendar of Coordination
History, Doc. 14, PE-D1 1.

275 See id.
278 See id.

277 See id.

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On September 26, 2019, each Defendant Carrier sent the DOT/ATA WSG
Slot Coordinator a list of the airspace reservations allocated to it the last
equivalent season, which it claims entitles it to the future season’s
reservation.278 On October 3, 2019, each Defendant Carrier submitted its
schedule ‘request’ for the Summer 2020 scheduling season to the FAA.?79
Each Defendant Carrier obtained exclusive reservations no later than
October 31, 2019, when the DOT/IATA WSG Slot Coordinator allocated each
reservation — for free — to the carrier claiming entitlement and excluded
that reservation from the market competition thus removing any
consideration for bidding by other carriers.?®°

On November 12, 2019, each Defendant IATA Carrier and the DOT/AATA
WSG Slot Coordinator attended the LATA Slot Conference in Brisbane,
Australia to finalize the allocation of the season’s airspace reservations to the
carriers. 28!

(From 9280.) Defendant Port Authority of New York and New Jersey
attended the Slot Conference to allocate the market of airport gates according

to the outcome of the administrative slot market allocation.

See id.
See id.
See id.
See id. See also, Exhaustless FOIA Request Use of Government Aircraft (Mar.

6, 2023), Doc. 21, PE-B2 73 at 75.

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2. Slot Usage Waiver — Reduced Passenger Demand

282. (From 7244.) In the spring of 2020, the level of passenger demand for
scheduled service plummeted, and the level of cargo demand spiked, due to
the COVID-19 pandemic. Defendant Carriers requested that the DOTIATA
WSG Slot Coordinator ‘grant’ a waiver from the usage terms of their private-
sector WSG agreement for the seasonal reservations that had previously been
allocated by grandfathering for the Winter 2019 and Summer 2020 season in
order to retain their grandfathered status for the future season.282 The
DOT/IATA WSG Slot Coordinator complied and de facto waived the required
usage of reservations for Winter 2019, and carriers voluntarily violated their
private IATA WSG agreement by continuing to claim entitlement.?®? The
FAA issued a notice of proposed rulemaking for the Summer 2020

reservations.284 Endres responded to the proposal, stating:

282, See FAA Notice of limited waiver of the minimum slot usage requirement, 85
Fed. Reg. 15018 (Mar. 16, 2020), Doc. 40, PE-B Rulemaking 142 (“Several foreign
airlines have petitioned the FAA to grant a waiver of the 80 percent minimum slot
usage requirement at JFK through the Winter 2019/2020 scheduling season ending
on March 28, 2020 and some petitioners have sought relief for portions, or the
entirety, of the Summer 2020 scheduling season. On March 2, 2020, IATA
petitioned on behalf of airlines for a slot usage waiver at all constrained airports
through the Summer 2020 scheduling season ending on October 24, 2020. On March
6, 2020, Airlines for America petitioned the FAA on behalf of domestic member
airlines for “a waiver of the minimum slot usage requirement at all slot-controlled
and schedule facilitated airports for at least Summer 2020.”).

283 See id.

284 See FAA Notice of limited waiver of the minimum slot usage requirement, 85
Fed. Reg. 16989 (proposed Mar. 25, 2020), Doc. 41, PE-B2 109.

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283.

284.

285 Exhaustless Objection, Dkt. FAA-2013-0259-2815 (Mar. 28, 2020), Doc. 42, PE-
B2 111.

286 See FAA Notice of limited waiver of the minimum slot usage requirement., 85

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In the deregulated air transportation market,
carriers are free to adjust their prices, routes, and
service in response to market conditions. . . No
other deregulated industry gets to preserve its
market share during a crisis—especially not
through regulation. For every other market, it’s a
new competition after the crisis. * * * Any airline
that operates flights in the U.S. whose slot
reservation was allocated through an
anticompetitive process risks treble damages for
price-fixing and market-rigging of airport slots and
their perpetual right-of-first-refusal — both of
which are per se violations of U.S. antitrust laws
(Clayton Act). * * * Now is the best time to
introduce a market clearing service — while the
excess demand and excess supply are low, the
congestion premiums will be low and will allow
time for airlines to prepare to better serve the pent-
up demand when it returns. 285

No carrier joined the Competitive Market Standard. The DOT/IATA WSG
Slot Coordinator de facto granted a waiver to the carriers’ private IATA WSG
agreement, and carriers voluntarily violated the terms of their agreement by

continuing to claim entitlement.2%6

G. USPTO Denies Market-Clearing Patent

On November 25, 2019, after Endres had spent four years of time and
attorney fees prosecuting his market-clearing process patent, the USPTO

rejected the patent under 35 U.S.C. §101, claiming the subject matter was an

Fed. Reg. 21500 (Apr. 17, 2020), Doc. 43, PE-B2 116.

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unpatentable abstract idea according to its internal guidance documents and
without citing any Art. III case law that supported their assertion of judicial

exception.287 On October 5, 2020, Exhaustless filed a notice of appeal.

H. The Public’s Access to the Public’s Airspace at a NJ Airport

285. At the request of Defendant United Airlines, the DOT/IATA WSG Slot
Coordinator reduced the schedule at the Newark Liberty airport by 16 daily
reservations purportedly to reduce delays.288

286. Rather than compete in Endres’ announced competitive market for all
airspace reservations at all airports, Defendant Spirit Airlines decided to
‘compete’ within the confines of the IATA WSG — by petitioning the court for
a review of a federal agency action that prevented Spirit from ‘competing’ for
a grant from the DOT/IATA WSG Slot Coordinator of 16 out of 1,200 daily

reservations at the Newark, NJ airport.289 Spirit eventually received its

287 USPTO, Office Action Summary, Application 15/789,585 (Nov. 25, 2019), Doc.
36, PE-B2 92.

288 See Spirit Airlines, Inc. v. DOT, D.C. Cir. No. 19-1248, Petition for Review, ECF
1818212 (Nov. 25, 2019), Doc. 234, PE-G1 239. See also, Spirit Airlines, Inc. v.
DOT, No. 19-1248 (D.C. Cir. 2021), Doc. 82, PE-G1 218 at 234 ([W]e must take
with a grain of salt the self-serving views of the regulated entities, such as those
offered by United upon which the FAA seems to have relied.”) Gnternal quotations
and references omitted).

289 See Spirit Airlines, Inc. v. DOT, D.C. Cir. No. 19-1248, Petitioner's Final
Opening Brief, ECF 1849058 (Jun. 26, 2020), Doc. 235, PE-G1 247 at 257
(“Petitioner Spirit Airlines promptly asked DOT/FAA to reallocate Southwest’s
peakhour flight authorizations to Spirit.”).

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‘competitive’ grant of 16 reservations — after an 18-month court process
followed by a 14-month regulatory process, involving dozens of people.”
287. Rather than compete for airspace reservations in Endres’s announced

competitive market, or comply with the terms of its IATA WSG agreement, or
comply with the statutory process for reducing schedules to reduce delays,?9!
Defendant United and other Defendant Carriers requested and purportedly
received a private and unlawful waiver from the DOT/IATA WSG Slot
Coordinator of the terms of its private IATA WSG agreement:

United Airlines will cut about 50 daily flights from

Newark Liberty International Airport next month

in an effort to reduce delays. . . [W]e reached out to

the FAA and received a waiver allowing us to

temporarily adjust our schedule there for the

remainder of the summer. . . Delta Air Lines,

JetBlue Airways, Spirit Airlines, Southwest

Airlines and Alaska Airlines are among the carriers
that have also trimmed their schedules this year.29

I. Winter 2020 Seasonal Reservations

1. Competitive Market Allocation Boycott

288. On December 24, 2019, Endres announced an auction by Exhaustless’

market-clearing service for airspace reservations for the Winter 2020 carrier

290 See Order 2022-7-1, (Jul. 5, 2022), Doc. 134, PE-F 58.
291 See 49 U.S.C. § 41722.

292 Exhaustless FOIA Request for Information from Schedule Reduction Meetings
Held in Private, Dkt. DOT-OST-2021-0103-0049 (Jul. 14, 2022), Doc. 147, PE-B2
195 at 199, referencing an article in the press.

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scheduling season.293 On December 26, 2019, Airline Information Research
L.L.C.’s service “Daily Airline Filings” broadcast this announcement to its
customers.294 No carrier licensed the Competitive Market Standard to

participate in the auction.
2. Allocation with the IATA WSG

289. On May 7, 2020, each Defendant Carrier sent the DOT/IATA WSG Slot
Coordinator a list of the airspace reservations allocated to it the last
equivalent season, which it claims entitles it to the future season’s
reservation.2%

290. On May 14, 2020, each Defendant Carrier submitted its schedule ‘request’ for
the Winter 2020 scheduling season to the FAA.

291. Each Defendant Carrier obtained exclusive reservations no later than June 4,
2020, when the DOT/IATA WSG Slot Coordinator allocated the reservations
according to the IATA WSG — for free — to the carrier claiming entitlement

and denied Exhaustless its right to hear competitive bids for that reservation

293 See Exhaustless Aviation 2.0 Explained, Dkt. DOT-OST-2019-0144-0019
attachment 4/5 (Dec. 24, 2019), Doc. 37, PE-E 4.

294 See Airlineinfo.com, OST Docket Filings for December 26, 2019, Doc. 39, PE-E
54 at 57. Note that Airline Information Research L.L.C.’s service ‘hears,’ or scrapes,
the federal docket system and website activity, then curates and broadcasts that
activity to its customers.

295 See Exhaustless Documentation of IATA WSG Calendar of Coordination
History, Doc. 14, PE-D1 1.

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from other carriers and to speak market prices (winning bids) to all market

participants. No slot conference was held.
3. Slot Usage Waiver — Reduced Passenger Demand

292. On September 15, 2020, the DOT/IATA WSG Slot Coordinator again
proposed a rulemaking in response to Defendant Carrier’s requests that the
DOT/IATA WSG Slot Coordinator ‘grant’ a waiver from the usage terms of
their private-sector WSG agreement for the Winter 2020 seasonal
reservations to retain their grandfathered status for the future season.2°°
Endres responded to the proposal, stating, inter alta:

Air carriers must abandon the unlawful
grandfathering scheme. Airlines may adopt the
Aviation 2.0 Operating Standard to compete for
access to high demand markets. Or, airines may

choose to abandon those markets. Those are the
choices under current statute.297

293. No carrier joined the Competitive Market Standard, and no carrier petitioned
the DOT/IATA WSG Slot Coordinator to change the airports to ‘level 1’

pursuant to the IATA WSG agreement. The DOT/IATA WSG Slot

296 See FAA COVID-19 Related Relief Concerning Operations at [ORD, JFK, LAX,
EWR, LGA, DCA, SFO] for the Winter 2020/2021 Scheduling Season, 85 Fed. Reg.
57288 (proposed Sep. 15, 2020), Doc. 53, PE-B1 32 (IATA, Airlines for America
(A4A), and multiple U.S. carriers, including American Airlines, Inc., Delta Air
Lines, Inc., JetBlue Airways Corporation, and United Airlines, Inc., as well asa
coalition of airlines worldwide and the African Airlines Association (AFRAA), have
urged the FAA to extend relief through the Winter 2020/2021 scheduling season,
which ends on March 27, 2021.”).

227 Kixhaustless Inc. Objection, Dkt. FAA-2020-0862-0018 Gep. 16, 2020), Doc. 54,
PE-B1 37.

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Coordinator de facto granted a waiver to the carriers’ private IATA WSG

agreement, and Defendant Carriers voluntarily violated their agreement.”

J. American/JetBlue Northeast Alliance (NEA)

1. The making of the NEA agreement

294. On May 19, 2020, Defendant Carrier’s LATA published a guide to its products
and services which airlines can use to manage bespoke alliances — including
joint ventures that coordinate “capacity, pricing, and schedules.” 2°9

295. On July 17, 2020, Defendants American Airlines and JetBlue (both of whom
had executives on the Board of Governors of the IATA) entered into a
domestic Northeast Alliance Agreement (NEA), which claimed that each
carrier “owned or otherwise held’ a proprietary right to perpetually lease to
each other seasonal reservations to use the public’s airspace at certain public

airports. 309

2928 See FAA COVID-19 Related Relief Concerning Operations at [ORD, JFK, LAX,
EWR, LGA, DCA, SFO] for the Winter 2020/2021 Scheduling Season, 85 Fed. Reg.
63335 (Oct. 7, 2020), Doc. 55, PE-B1 39.

299 TATA Industry restart: Forming new interline partnerships within the
multilateral interline framework (May 19, 2020), Doc. 312, PE-J 4 at 5.

300 JetBlue Airways Corporation SEC Form 10-Q, Exhibit 10.3, Northeast Alhance
Agreement between American Airlines, Inc. and JetBlue Airways Corp. (Nov. 9,
2020), Doc. 322, PE-D2 1 at 22 See also, id. at 21 (°NEA Airports’ means the
following airports: Boston Logan International Airport (BOS), John F. Kennedy
International Airport (JFK), LaGuardia Airport (LGA) and Newark Liberty
International Airport (EWR).”).

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On January 7, 2021, Defendant Spirit Airlines filed a complaint with the
DOT/IATA WSG Slot Coordinator to request an investigation into whether
the NEA was an unfair method of competition.2°!

On January 10, 2021, Defendants American and JetBlue agreed to unlawful
regulations of price, route, and service by the Assistant Secretary of Aviation
and International Affairs of the DOT/IATA WSG Slot Coordinator °°? in
exchange for the DOT/IATA WSG Slot Coordinator and the DOJ not to
prosecute the coordination by the carriers that violates antitrust laws.°03
Defendants American and JetBlue and the DOT/IATA WSG Slot Coordinator
asserted that the carriers had a proprietary right to sell a ‘permanent’
seasonal reservation to use the public’s airspace by requiring the alliance
carriers to “divest” certain airspace reservations within approximately one
year by auctioning the reservations to another certificated carrier and
retaining the proceeds.®°4 Additionally, Defendants American and JetBlue
and the DOT/IATA WSG Slot Coordinator asserted that the carriers had a

proprietary right to lease a ‘permanent’ seasonal reservation to use the

301 See Spirit Airlines Complaint, Attachment 1/2, Dkt. DOT-OST-2021-0001 (Jan.
7, 2021), Doc. 328, PE-D2 503.

302 Note that this was the same person that issued the order in March 2020 that

stated carriers may not coordinate under the antitrust laws, see Order 2020-3-10
(proposed Mar. 27, 2020), Doc. 339, PE-B Rulemaking 557..

303 See Agreement with the U.S. Department of Transportation Regarding
Northeast Alliance Between American Airlines, Inc. and JetBlue Airways
Corporation, dated January 10, 2021, Doc. 75, PE-D1 204.

304 See id. at 207.

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public’s airspace by requiring the alliance carriers to lease a slot for longer

than the term defined by the unspoken IATA WSG agreement.°° (To 9460.)
2. The complaint against the NEA

298. On September 21, 2021, the DOJ Antitrust Division, under a new
administration of the Executive branch, and joined by several states,
including Florida,® filed a complaint in the U.S. District Court for the
District of Massachusetts against Defendants American Airlines and
JetBlue’s NEA agreement for violation of the antitrust laws.°°7 The court
noted the DOT/IATA WSG Slot Coordinator’s public comment published on
the same day regarding its agreement with the NEA carriers:

On September 21, 2022, [sic] the same day this
lawsuit was filed, the DOT issued a formal
Clarification of Departmental Position, noting its
review of the NEA had occurred informally and
without establishing a docketed proceeding, and
explaining the DOT Agreement was not designed to
approve or disapprove the alliance.°°8

305 See id. at 205 (“[T]he NEA will be amended so that slots will be leased for a
minimum of two IATA seasonsf[.]”).

306 Arizona, California, District of Columbia, Florida, Massachusetts,
Pennsylvania, and Virginia. Note that Florida was represented by the office of
Florida Attorney General Ashley Moody.

307 See U.S. et al v. American Airlines and JetBlue Airways, D. Mass. Case 1:21-cv-
11558, Complaint, ECF 1 Gep. 21, 2021), Doc. 105, PE-I1 1.

308 U.S. et al v. American Airlines and JetBlue Airways, D. Mass. 1:21-cv-11558,
Findings of Fact and Conclusions of Law, ECF 344 (May 19, 2023), Doc. 224, PE-I2
320, footnote 32 at 345 (internal quotations and reference omitted). See also,

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299. On October 7, 2021, Endres objected to the carriers’ agreement with the
DOT/IATA WSG Slot Coordinator over Exhaustless’ competitive market
allocation and provided information to the public docket and to the lead DOJ
attorney on the NEA case in the district court:

The entire NEA — and indeed, every so-called
immunized alliance — is predicated on the
allocation of slots according to the WSG agreement,
but the WSG agreement is not included in the NEA
Agreement. While the WSG is mentioned in the
DOT-AA-JB Agreement, there is no indication that
it was reviewed with the joint venture or with any

alliance agreement, nor that the DOJ has any
knowledge of it. 309

300. On January 14, 2022, the DOJ notified Endres that the DOJ is required to
provide the information from Endres to each carrier-defendant’s outside
counsel, which will be categorized as confidential and governed by the court’s
default protective order.?!0

301. On May 10, 2022, Endres notified the DOJ of the rulings in U.S. v. Causby,
328 U.S. 256 (1946) and Air Pegasus of D.C., Inc. v. U.S., 424 F.3d 1206 (Fed.

Cir. 2005) that only the public has title to the navigable airspace.?!!

Clarification of Departmental Position on American Airlines - JetBlue Airways
Northeast Alliance Joint Venture, Dkt. DOT-OST-2021-0001-0023 (Sep. 21, 2021),
Doc. 108, PE-D1 229.

309 _Exhaustless Objection, Dkt. DOT-OST-2021-0001, 3 (Oct. 7, 2021), Doc. 106,
PE-D1 218.

310 See DOJ Email, Notice of Protective Order (Jan. 14, 2022), Doc. 125, PE-I1 43.

311 See Exhaustless Update to DOJ (May 10, 2022), Doc. 148, PE-I2 3. See also,
Exhaustless Email to DOJ (May 10, 2022), Doc. 149, PE-I2 7.

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302. On April 20, 2022, the DOJ notified Endres that the district court had issued
a stipulated protective order for the case, and that the information Endres
had provided would be treated as “highly confidential” as described in the

order. 312

3. The trial of the NEA

Il. No questions regarding the procurement of
reservations to use public assets.

303. The district court held a month-long bench trial for the American Airlines —
JetBlue NEA agreement antitrust case in the autumn of 2022. Testifying
witnesses included executives of both defendant carriers and of Spirit and
Southwest airlines, as well as expert economist witnesses for each side. The
court heard evidence that airlines treat ‘slots’ as both assets and as equity,
but no witness was questioned about how a renewable asset — the future

airspace schedule — was treated as a permanent asset.2!5 No party or

312 DOJ Email, Notice of Stipulated Protective Order (Apr. 20, 2022), Doc. 379, PE-
Il 666.

313 See, e.g., Testimony of JetBlue CEO, Robin Hayes, D. Mass. Case 1:21-cv-11558,
ECF 299, pp. 1-90 (Sep. 28, 2022), Doc. 377, PE-I1 511, line 20 at 523, line 22 at
531, and line 24 at 534 (“Q. What did you see as impeding or hindering JetBlue's
growth in New York, in particular[?] A. The number one hindrance to growth we
had was just the lack of slots. * * * THE COURT: So the assets you're pooling are
the slot. THE WITNESS: Yes.” * * * Q. Thank you. Then the next bullet says,
"Secures valuable airport access at LaGuardia and gains traction with corporate
accounts. What do you mean by airport access at LaGuardia? A. Well, we touched
on that earlier. You know, we had always had a very, very small slot holding at

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witness mentioned the IATA WSG or its allocation of seasonal airspace
reservations by grandfathering at the twice-a-vear Slot Conference — that

every carrier before the court attended on June 21, 2022, in Seattle,

Washington to allocate the global Winter 2022 airspace reservations, nor the

upcoming slot conference on November 15-18, 2022. in Australia to allocate
the global Summer 2023 airspace reservations with grandfathering.?!4 No
party or witness mentioned the public’s title to the navigable airspace, which

was declared in binding case precedent in 1946. No party or witness

mentioned the Exhaustless market, which was declared in binding case

precedent in 2019. (To 4190.)

LaGuardia. .. And for us, being able to add more slots at LaGuardia would've
allowed us to be more successful in trying to get more corporate business on
JetBlue.”) (emphasis added)). See also, Testimony of Spirit Airlines VP Network
Planning, John Kirby, D. Mass. Case 1:21-cv-11558, ECF 301 (Sep. 30, 2022), Doc.
378, PE-I1 601, line 12 at 628 (“THE COURT: Airlines, I take it, are entitled to sell
the slots to another airline if they want, or does that have to go through DOT? THE
WITNESS: [T]ypically, they have to go through DOT. And the interesting thing
about slots, Your Honor, is that technically they're owned by the government. . .
Over time, it's evolved into something that's considered a piece of equity for the
carrier.”).

314 See Exhaustless Documentation of [ATA WSG Calendar of Coordination
History, Doc. 14, PE-D1 1.

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mm. Contract for Scheduled Service

304. In addition, testimony and evidence submitted to the court coupled with
testimony and evidence from other sources?) revealed that Defendant
Carriers used Distribution Systems to circumvent the air tariff publication
system to allocate part of the market of air transportation to business
‘customers’ pursuant to a Contract for Scheduled Service at fixed prices or

discounted prices relative to those offered to the public, including a federal

315 See, e.g., U.S. Atrways v. Sabre, Case No. 1:11-cv-02725, Opinion and Order,
ECF 882 (SDNY Mar. 21, 2017), Doc. 429, PE-N1 31 (Pemanded on different
grounds No. 17-960 (2d Cir. 2019) at 39, (Brick and mortar’ travel agencies book
almost exclusively through the GDSs. These travel agencies’ clients are primarily
corporate travelers, who are higher value customers for airlines.”). Note that in the
current industry structure, a travel agency (a “ticket agent” per 49 U.S.C. §
40102(a)(45)) is simultaneously an agent of an airline, an agent of a GDS, and is
held out to be an agent of the traveler; see All Direct Travel Services Inc. et al v.
Delta Air Lines Inc. et al, Case 8:01-cv-00902, Delta Statement, ECF 127 (Apr. 29,
2003), Doc. 479, PE-N3 91 at 96 (“The ARC Agreement establishes a principal-agent
relationship between each travel agent and Delta.”). See also, Expedia Group, Inc.
SEC Form 10-K (Feb. 10, 2023) at 5 (“We make travel products and services
available from a variety of hotel companies, property owners and managers, large
and small commercial airlines, car rental companies, cruise lines, destination
service providers, and other travel partners. We seek to build and maintain long-
term, strategic relationships with travel suppliers and global distribution system
(“GDS”) partners.”). See also, NY Contract Award (Feb. 15, 2022), Doc. 187, PE-H
274 at 278 (“The travel management services contractor is a member of the Airlines
Reporting Corporation (ARC) and the International Airlines Travel Agent Network
(ATAN).” Note that the LATAN is a branch of the IATA,).

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government “City Pair Program” (CPP) fixed-price contract managed by the

General Services Administration (GSA).°!¢ (To 7491.)

nn. Provide reduced-delay service — for free — to
employees of the government or large businesses that
are VIP-A.

305. In addition, testimony and evidence submitted to the court revealed that
Defendant Passenger Carrier’s business account sales representatives
monitor the Contract for Scheduled Service accounts for individual flight
reservations booked by very important people to the airline (VIP-A); when a
VIP-A is scheduled on a particular flight, the sales representative notifies the

airline staff at the airport to prioritize service for that flight.217 What was

316 See GSA FY23 CPP Request for Proposal (Feb. 17, 2022), Doc. 185, PE-H 153 at
167 (‘The offeror shall propose a fixed-price fare for scheduled air passenger
transportation services as specified herein in accordance with the same services the
offeror provides commercially to the general public in scheduled service.”). See also
14 C.F .R. § 212.2 “Charter flight means a flight operated under the terms of a
charter contract between a direct air carrier and its charterer or lessee. It does not
include scheduled interstate air transportation, scheduled foreign air
transportation, or nonscheduled cargo foreign air transportation, sold on an
individually ticketed or individually waybilled basis.” (emphasis added)).

317 See Testimony of JetBlue Corporate Sales Manager, Barry McMenamin, D.
Mass. Case 1:21-cv-11558, ECF 299 pp. 1-4 and 204-242 Gep. 28, 2022), Doc. 184,
PE-I1 208 at 236 (“So this is an e-mail you sent to JetBlue’s system operations
directors; is that right? A. Yes. Q. And the system operations directors are the
people at JetBlue responsible for moving — or for managing airplane activities and
movements across JetBlue’s network; is that right? A. Yes. That’s one of their
functions. Q. Okay. And in this particular e-mail, you were asking them for special
attention to a flight between Philadelphia and Boston on which this corporate
customer’s CEO was then traveling; is that nght? A. Yes. I’m highlighting this
flight to the system office team. . . But if I can give them some information,
highlight a flight is important to us, they will keep their eyes on all the elements
that go into getting a flight out on time.”).

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306.

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not said at the trial is that an airline trade association houses one of its
employees in the public’s air traffic control tower; the Defendant Carrier
notified their trade association liaison of flights to prioritize, who then
coordinated with the FAA to ensure that the flight with the VIP-A on board
bypassed the queue to the runway.?!8 Business and government employee
VIP-As are provided this premium service ——to bypass the queue — at no
additional charge. Endres cannot hear bids from the public for the price that
they are willing to pay to avoid delays, nor a way to speak market clearing
prices to all market participants for use in their economic decision-making for

congestion-free transportation.

oo. Allocate future airspace capacity to employees of
government or large businesses.

In addition, and what was not said in the Court, each Defendant Passenger
Carrier allocates future capacity of the air transportation system — for free —
to an employee of a government agency or business that purchases an
individual flight reservation under a Contract for Scheduled Service. The
Defendant Passenger Carrier accomplishes this by bundling the price of the
carrier-currency and the airfare in the fixed price Contract for Scheduled

Service and then ‘awarding’ the carrier-currency to the employee in their

318 See A4A, Job Posting for Airline Traffic Management Coordinator (Oct. 5, 2022),
Doc. 195, PE-D3 1. See also, A4A, Job Posting for Director, Air Traffic Management
(Mar. 22, 2023), Doc. 196, PE-D3 3.

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personal airline loyalty program account. The ‘awarded’ employee could be a
member of the Congress, a federal judge, or staff of the White House;!9 or an
executive of an airline vendor such as a wireless carrier, a cargo carrier, an
accounting firm, an aircraft manufacturer, a software provider, a hotel, an
expert witness from a consulting firm, or a bank.®2°

307. The Congress has authorized the ‘awards’ of future airspace capacity to
employees of the federal government through law.??!

308. On December 2, 2022, the DOJ submitted its proposed findings of fact that
“American owns many valuable slots at JFK and LGA, both of which are slot-
constrained airports.”°22. The DOJ omitted the IATA WSG, the Exhaustless
market-clearing service declared in binding case precedent in Exhaustless v.

FAA, 931 F.3d. 1209 (D.C. Cir. 2019) and the Supreme Court precedent in

319 See A4A Industry Review: Allocating Capital to Benefit Customers, Employees,
and Investors (Jan. 11, 2024), Doc. 446, PE-N2 12 at 23 from
https://www.airlines.org/wp-content/uploads/2023/05/A4A-Industry-Review-1.pdf.

320 See id. at 22.

321 See National Defense Authorization Act for Fiscal Year 2002, Pub. L. 107-107,
div. A, title XI, § 1116, 115 Stat. 1012, 1241 (Dec. 28, 2001), amended by National
Defense Authorization Act for Fiscal Year 2020, Pub. L. 116-92, div. A, title VI, §
606(c), 133 Stat. 1198, 1425 (Dec. 20, 2019), codified at 5 U.S.C. § 5702 note,
Retention of Travel Promotional Items. See also, GSA Federal Travel Regulation;
Using Promotional Materials and Frequent Traveler Programs, 67 Fed. Reg. 17946
(Apr. 12, 2002), Doc. 197, PE-B2 208. See also, GSA Federal Travel Regulation;
Using Promotional Materials; Conference Planning, 68 Fed. Reg. 27936 (May 22,
2003), Doc. 198, PE-B2 210.

322 U.S. et al v. American Airlines and JetBlue Airways, D. Mass. Case 1:21-cv-
11558, Plaintiffs Proposed Findings of Fact, ECF 332 (Dec. 2, 2022), Doc. 200, PE-
Il 255, 7436 at 383.

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309.

310.

U.S. v. Causby, 328 U.S. 256 (1946). The DOJ did not mention that in Air
Pegasus of D.C., Inc. v. U.S., 424 F.3d 1206 (ed. Cir. 2005), it had relied on
U.S. vu. Causby when it stated that “the navigable airspace has always been
subject to the exclusive and complete control of the federal government and is
consequently not available for private ownership.” 323 Instead, the DOJ cited
sealed evidence to proffer airline ownership of reservations to use the

airspace, PX0162, which remains unpublished.
4, Permanent injunction of the NEA

On May 19, 2023, the court permanently enjoined the NEA as a “naked
agreement to not compete” and “a straightforward example of market
allocation.” 24 The court’s order did not declare that carries owned ‘slots’ as
proffered by the DOJ.

While Defendants American Airlines and JetBlue were in the court
negotiating the terms of the injunction — and claiming that they had
engaged “in good faith” with regulators to craft their joint venture

agreement325 — they did not disclose that the carriers and the DOT/IATA

823 Air Pegasus of D.C., Inc. v. U.S., 424 F.3d 1206, 1214 (Fed. Cir. 2005).

324 U.S. et al v. American Airlines and JetBlue Airways, D. Mass. 1:21-cv-11558,
Findings of Fact and Conclusions of Law, ECF 344 (May 19, 2023), Doc. 224, PE-I2
320 at 323, 392.

825 U.S. et al v. American Airlines and JetBlue Airways, D. Mass. Case 1:21-cv-
11558, American Airlines and JetBlue Response to Plaintiff's Motion for Entry of
Final Judgment and Permanent Injunction, Exhibit A, ECF 359-1 (Jun. 14, 2023),
Doc. 315, PE-I2 730 at 731.

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WSG Slot Coordinator were attending the 1524 slot conference on June 13-
15, 2023, in Ireland to allocate the global Winter 2023 airspace reservations

with the entire market allocation secured by the IATA WSG agreement.326
5. American Airlines appeal of the permanent injunction of the NEA

311. On September 25, 2023, solo Defendant American Airlines appealed the
district court’s ruling enjoining the NEA to the U.S. Court of Appeals for the
First Circuit. On December 6, 2023, American Airlines filed its brief in which
it stated that “The NEA created a new flight network competitive to the larger
existing networks of entrenched market leaders, Delta Airlines and United
Airlines.” 827

312. On March 4, 2024, which was after the dissolution of the NEA, American
Airlines stated that its partnerships “serve ~ 90% of U.S. long-haul

demand.” 328

826 See IATA 152"4 Slot Conference — Organizations attending (Jun. 11, 2023), Doc.
254, PE-D3 18.

827 U.S. et al v. American Airlines Group Inc., 1st Cir. Case 23-1802, Brief of
Defendant-Appellant American Airlines (Dec. 6, 2023), Doc. 496, PE-N4 148 at 158.

328 American Airlines SEC Form 8-K, Investor Presentation (Mar. 4, 2024), Doc.
495, PE-N4 25 at 63.

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K. Summer 2021 Seasonal Reservations

1. Allocation with the IATA WSG

313. On October 1, 2020, each Defendant Carrier sent the DOT/IATA WSG Slot
Coordinator a list of the airspace reservations allocated to it the last
equivalent scheduling season, entitles it to the future season’s reservation. ®29
On October 8, 2020, each Defendant Carrier submitted its schedule ‘request’
for the Summer 2021 scheduling season to the FAA. Each Defendant Carrier
obtained exclusive reservations no later than November 5, 2020, when the
DOT/IATA WSG Slot Coordinator allocated each reservation — for free — to
the carrier claiming entitlement and denied Exhaustless its right to hear
competitive bids for that reservation from other carriers and to speak market
prices (winning bids) to all market participants.2=° On November 17, 2020,
each Defendant IATA Carrier attended the IATA Slot Conference held online

to finalize the allocation of the season’s airspace reservations to carriers. 231

329 See Exhaustless Documentation of [IATA WSG Calendar of Coordination
History, Doc. 14, PE-D1 1.

330 See id.

331 See id. See also, Exhaustless FOIA Request Use of Government Aircraft (Mar.
6, 2023), Doc. 21, PE-B2 73 at 75.

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2. Slot Usage Waiver — Reduced Passenger Demand

314. On December 18, 2020, the DOTA.ATA WSG Slot Coordinator posted

315.

Defendant Carriers IATA WSG agreement to a public docket.*°2

On December 22, 2020, at the request of Defendant Carriers, the FAA

proposed a rule to issue carriers a waiver of the airspace reservation

minimum usage requirement agreed to by carriers’ private IATA WSG

agreement, through the end of the Summer 2021 scheduling season on

October 30, 2021.223 On December 28, 2020, Endres objected to the waiver

because:

The FAA cannot protect airlines from the antitrust
laws. As the Supreme Court stated: ‘The
assumption that competition is the best method of
allocating resources in a free market recognizes
that all elements of a bargain — quality, service,
safety, and durability — and not just the immediate
cost, are favorably affected by the free opportunity
to select among alternative offers. Even assuming
occasional exceptions to the presumed.
consequences of competition, the statutory policy
precludes inquiry into the question whether
competition is good or bad.’2*4

332, See [ATA Worldwide Slot Guidelines, 9+ Edition (Effective Jan. 1, 2019), Dkt.
FAA-2020-0862 (Dec. 17, 2020), Doc. 69, PE-D1 136.

333 See FAA COVID-19 Related Relief Concerning Operations at [ORD, JFK, LAX,
EWR, LGA, DCA, SFO} for the Summer 2021 Scheduling Season, 85 Fed. Reg.
83672 (proposed Dec. 22, 2020), Doc. 70, PE-B1 65.

334 Exhaustless Objection, Dkt. FAA-2020-0862-0255 (Dec. 28, 2020), Doc. 71, PE-
B1 69 (referencing National Soc’y of Prof. Engineers v. U.S., 435 U.S. 679, 695
(1978) (emphasis in original).

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316. In addition, Endres announced an auction by Exhaustless market-clearing
service of airspace reservations for the Winter 2021 carrier scheduling season
to carriers that license the Competitive Market Standard by January 13,
2021.35 No carrier joined the standard.

317. On January 14, 2021, the FAA de facto granted the waiver and de facto
created a second-class of airline reservations with grandfathered rights, at
the request of Defendant Carriers through their trade association, IATA,

relegating new schedule ‘requests’ to third-class.°36

L. American/oneworld Alliance Amendment

318. Rather than compete in Endres’ announced competitive market for airspace
reservations in the U.S., Aer Lingus, a citizen of Ireland and a subsidiary of
Defendant International Consolidated Airlines Group, jomed Defendants

American Airlines and Alaska Airlines Oneworld alliance in a “confidential”

335 Td.

336 See FAA Policy Statement: COVID-19 Related Relief at [ORD, JFK, LAX, EWR,
LGA, DCA, SFO] for the Summer 2021 Scheduling Season, Dkt. FAA-2020-0862-
0302 (Jan. 14, 2021), Doc. 72, PE-B1 71 at 101 ([T]he FAA has determined to apply
a standard similar to paragraph 1.4 of the WASB proposal at all slotcontrolled and
designated IATA Level 2 airports in the United States. Slots or schedules operated
as approved on a non-historic basis in Summer 2021 will be given priority over new
demands for the same timings in the next equivalent season (.e., Summer 2022) for
use on a non-historic basis, subject to capacity availability and consistent with
established rules and policies in effect in the United States. .. This priority does
not affect the historic precedence or priority of slot holders and carriers with
schedule approvals, respectively, which meet the conditions of the waiver during
Summer 2021 and seek to resume operating in Summer 2022.”).

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agreement to use the public’s airspace.237 In November 2020, the DOT/IATA
WSG Slot Coordinator issued a show cause order for its tentative approval of
this non-public agreement and cited “serious competitive concerns in the U.S.-

London market due to access constraints” to justify requiring certain carriers

to lease their ‘holdings’ of certain reservations.#38

319. In response to the proposed amended alliance — rather than compete for
airspace reservations in Endres’ announced competitive market or honor its
IATA WSG agreement — Defendant JetBlue sought for the government to
take reservations from the existing ‘holders’ to give to JetBlue:

JetBlue argues that only government action will
enable JetBlue to enter the market and compete
with the existing alliances. JetBlue states that it is
the best-positioned carrier to enter the U.S-LHR
market and provide vigorous competition. JetBlue
argues that the existing remedy slot holders have
more than enough slots to operate their existing
and planned operations. Therefore, JetBlue argues
that the remedy should be modified to allow for the
reallocation of the remedy slots to JetBlue.®29

320. Endres objected to the proposed expansion of antitrust immunity because:

1) Acompetitive alternative is available for
airlines to obtain airspace slots without
regulatory intervention in the slot market; 2)
The fundamental assumption of illiquid slot

337 American Airlines et al Motion for Antitrust Immunity for Amended Joint
Business Agreement, Dkt. DOT-OST-2008-0252 (Dec. 21, 2018), Doc. 325, PE-D2
152, Appendix 1 at 210.

888 Order 2020-11-9 (proposed Nov. 16, 2020), Doc. 64, PE-D1 92 at 103 (emphasis
added).

339 Id. at 99.

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321,

322.

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markets by the applicants and the DOT is no
longer valid; 3) The proposed slot divestiture
continues the prohibited practice of
grandfathering slots; ... Exhaustless will
blindly auction the Winter 2021/2022 slot, or
schedule, reservations for Heathrow Airport on
April 7, 2021.340

Defendants International Consolidated Airlines Group, American Airlines
and Alaska Airlines did not abandon their joint business agreement to join

the competitive market.

M. Delta/LATAM Alliance Agreement

In July 2020, rather than compete in Endres’ announced competitive market
for airspace reservations, Defendants Delta Air Lines and LATAM Airlines
Group, a holding company of eleven foreign carriers that are citizens of seven
countries (Argentina, Brazil, Chile, Columbia, Ecuador, Paraguay, and Peru)
— all of whom are members of the IATA — requested that the DOT/IATA
WSG Slot Coordinator grant approval and antitrust immunity of a
“confidential” joint venture agreement (JVA) among all of the carriers across

the two groups. #4!

340 Exhaustless Objection, Dkt. DOT-OST-2008-0252 (Nov. 30, 2020), Doc. 65, PE-
D1 110.

341 Delta Air Lines, Inc. and LATAM Airlines Group, S.A., Joint Application for
Approval of and Antitrust Immunity for Alliance Agreements, Dkt. DOT-OST-2020-
0105-0001 (Jul. 8, 2020), Doc. 151, PE-D1 243 at 253.

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323. On February 7, 2022, Endres opposed this agreement because, inter alia, the
“JVA is not the entire agreement as it is predicated on the anticompetitive
IATA Worldwide Slot Guidelines agreement. * * * Delta-LATAM’s JVA
presents pages of market share impact’ against rivals — data that is

meaningless since they have conspired to allocate that market through the

WSG.”342
324. Defendants Delta Air Lines and LATAM Airlines Group did not abandoned
the joint venture agreement, eventually accepting a grant of antitrust

immunity based on their fraudulent application.?#
N. Winter 2021 Seasonal Reservations

1. Competitive Market Allocation Boycott \

325. As noted in the discussion of American/Aer Lingus application for antitrust
immunity,*44 on November 9, 2020, Endres announced an auction by
Exhaustless for the Winter 2021 airspace reservations for LaGuardia, JFK,

and Newark Liberty airports on April 7, 2021, to eligible carriers that license

342 Exhaustless Objection to the Delta-LATAM Alliance, Dkt. DOT-OST-2020-0105-
0045 (Feb. 7, 2022), Doc. 152, PE-D1 366 at 368.

843 See Order 2022-9-20 (Sep. 30, 2022), Doc. 155, PE-D1 413.

344 See VILL. American/oneworld Alliance Amendment, supra.

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the Competitive Market Standard by January 13, 2021.45 No Defendant

Carrier joined the standard.
2. Allocation with the IATA WSG

326. On May 6, 2021, each Defendant Carrier sent the DOT/IATA WSG Slot
Coordinator a list of the airspace reservations allocated to it the last
equivalent season, which it claims entitles it to the future season’s
reservation.246 On May 13, 2021, each Defendant Carrier submitted its
schedule ‘request’ for the Winter 2021 scheduling season to the FAA.347 Each
Defendant Carrier obtained exclusive reservations no later than June 3,
2021, when the DOT/IATA WSG Slot Coordinator allocated each reservation
-—~ for free — to the carrier claiming entitlement and denied Exhaustless its
right to hear competitive bids for that reservation from other carriers and to
speak market prices (winning bids) to all market participants.*48 On June
15, 2021, each Defendant IATA Carrier attended the [ATA Slot Conference
held online to finalize the allocation of the season’s airspace reservations to

the carriers®49

345 Hxhaustless Objection, Dkt. DOT-OST-2018-0154-0053 (Nov. 9, 2020), Doc. 60,
PE-D Agreement 52.

346 See Exhaustless Documentation of IATA WSG Calendar of Coordination
History, Doc. 14, PE-D1 1.

347 See id.
348 See id.

349 See id. See also, Exhaustless FOIA Request Use of Government Aircraft (Mar.
6, 2023), Doc. 21, PE-B2 73 at 75.

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3. Slot Usage Waiver — Reduced Passenger Demand

327. On September 20, 2021, at the request of Defendant Carriers, the FAA
proposed a rule to issue carriers a waiver of the airspace reservation
minimum usage requirement agreed to by the carrier’s private [ATA WSG
agreement, through the end of the Winter 2021 carrier scheduling season on
March 26, 2022.95° On September 27, 2021, Endres objected to the proposed
waiver because, inter alia:

The waiver seeks to protect the market allocated at
seven high demand airports to members of the
carrier cartel that provide foreign air
transportation, contrary to the air transport
agreement with the E.U. that requires both
governments to ‘apply their respective competition

regimes to protect and enhance overall competition
and not individual competitors.’351

328. On October 20, 2021, the DOT/IATA WSG Slot Coordinator de facto granted a

waiver to the Defendant Carrier’s private IATA WSG agreement.°52

350 See FAA COVID-19 Related Relief Concerning Operations at [ORD, JFK, LAX,
EWR, LGA, DCA, SFO] for the Winter 2021/2022 Scheduling Season, 86 Fed. Reg.
52114 (proposed Sep. 20, 2021), Doc. 103, PE-B1 115.

351 Exhaustless Inc. Objection, Dkt. FAA-2020-0862-0321 (Sep. 27, 2021), Doc. 104,
PE-B1 122.

352 FAA COVID-19 Related Relief Concerning Operations at [ORD, JFK, LAX,
EWR, LGA, DCA, SFO] for the Winter 2021/2022 Scheduling Season, 86 Fed. Reg.
58134 (Oct. 20, 2021), Doc. 121, PE-B1 132.

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O. Summer 2022 Seasonal Reservations

1. Competitive Market Allocation Boycott

329. On August 19, 2021, Endres announced a competitive market allocation by
Exhaustless for the airspace reservations for the Summer 2022 carrier
scheduling season at the seven airports which the FAA requires advance
management of airspace demand.*°? No Defendant Carrier licensed the

Competitive Market Standard to compete for the reservations.
2. Allocation with the IATA WSG

330. On September 30, 2021, each Defendant Carrier sent the DOTA ATA WSG
Slot Coordinator a list of the airspace reservations allocated to it the last
equivalent season, which it claims entitles it to the future season’s
reservation.254 On October 7, 2021, each Defendant Carrier submitted its
schedule ‘request’ for the Summer 2022 scheduling season to the FAA.255
Each Defendant Carrier obtained exclusive reservations no later than

November 4, 2021, when the DOT/IATA WSG Slot Coordinator allocated each

353 See Exhaustless Announcement of Slot Auction for Summer 2022, Dkt. DOT-
OST-2001-9849-0187 attachment 1/6 (Aug. 19, 2021), Doc. 94, PE-E 101. See also,
Exhaustless Attached Auction Documents, Dkt. DOT-OST-2001-9849-0187 (Aug.
19, 2021) (Aviation 2.0 Licensing Agreement (attachment 2/6), Slot Auction Rules
and Procedures (attachment 3/6), Slot Auction Design (attachment 4/6),
Prepayment Form (attachment 5/6), and Registration Form (attachment 6/6)).

354 See Exhaustless Documentation of [ATA WSG Calendar of Coordination
History, Doc. 14, PE-D1 1.

855 See id.

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reservation — for free — to the carrier claiming entitlement and denied
Exhaustless its right to hear competitive bids for that reservation from other
carriers and to speak market prices (winning bids) to all market
participants.256 On November 16, 2021, each Defendant IATA Carrier
attended the [ATA Slot Conference in Rome, Italy to finalize the allocation of

the season’s airspace reservations to the carriers. #57
3. Slot Usage Waiver — Reduced Passenger Demand

331. On March 2, 2022, at the request of Defendant Carriers, the FAA proposed a
rule to issue carriers a waiver of certain airspace reservation minimum usage
requirements agreed to by carriers’ private [ATA WSG agreement, through
the Summer 2022 carrier scheduling season ending on October 29, 2022.58
On March 7, 2022, Endres objected to the waiver: “The DOT/FAA’s proposal
to elevate the self-declared ‘historical rights’ of air carriers over an available
market is repugnant to the policies of the U.S. Government and to the
agreement among tis people of a free market economy as enshrined in the

Constitution.” 359 Endres also documented the civil penalties that the

356 See id.

357 See id. See also, Exhaustless FOIA Request Use of Government Aircraft (Mar.
6, 2023), Doc. 21, PE-B2 73 at 75.

358 See FAA COVID-19 Related Relief Concerning Operations at [ORD, JFK, LAX,
EWR, LGA, DCA SFO] for the Summer 2022 Scheduling Season, 87 Fed. Reg. 11805
(proposed Mar. 2, 2022), Doc. 135, PE-B1 155.

359 Eixhaustless Comment, Dkt. FAA-2020-0862-0354/0351 (Mar. 7, 2022), Doc. 136,
PE-B1 161 at 163 (emphasis added).

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Congress provides for each flight involving the violation of certain statutes. 3°
On Mar. 29, 2022, the FAA de facto granted a waiver to the carriers’ private

IATA WSG agreement.%6!

P. Winter 2022 Seasonal Reservations

1. Competitive Market Allocation Boycott

On January 7, 2022, Endres announced a competitive market allocation by
Exhaustless for the airspace reservations for the Winter 2022 carrier
scheduling season at the seven airports which the FAA requires advance
management of airspace demand.*62 The announcement included the
evolution of the Congress’ actions to deregulate the industry that “shows that
the DOT/FAA does not have, and has never had, authority to regulate
routes.” 63 No carrier licensed the Competitive Market Standard to compete

for the reservations.

360 Jd. at 164.

361 See FAA COVID-19 Related Relief Concerning Operations at [ORD, JFK, LAX,
EWR, LGA, DCA SFO] for the Summer 2022 Scheduling Season, 87 Fed. Reg. 18057
(Mar. 29, 2022), Doc. 137, PE-B1 166.

362 See Exhaustless Comment, Dkt. FAA-2001-9854-0127 (Jan. 7, 2022), Doc. 124,
PE-E 103.

363 Id. at 109 (emphasis added).

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2. Allocation with the IATA WSG

On May 12, 2022, each Defendant Carrier sent the DOTAATA WSG Slot
Coordinator a list of the airspace reservations allocated to it the last
equivalent season, which it claimed entitles them to the future season’s
reservation.°64 On May 19, 2022, each Defendant Carrier submitted its
schedule ‘request’ for the Winter 2022 scheduling season to the FAA.°65 Each
Defendant Carrier obtained exclusive reservations no later than June 9,
2022, when the DOT/IATA WSG Slot Coordinator allocated each reservation
— for free — to the carrier claiming entitlement and denied Exhaustless its
right to hear competitive bids for that reservation from other carriers and to
speak market prices (winning bids) to all market participants.*6* On June
21, 2022, each Defendant IATA Carrier attended the IATA Slot Conference in
Seattle, Washington to finalize the allocation of the season’s airspace
reservations to the carriers.°°7

Defendant Port Authority of New York and New Jersey attended the Slot

Conference to allocate the market of airport gates based on the

364 See Exhaustless Documentation of [ATA WSG Calendar of Coordination
History, Doc. 14, PE-D1 1.

365 See id.
366 See id.

367 See id. See also, Exhaustless FOIA Request Use of Government Aircraft (Mar.
6, 2023), Doc. 21, PE-B2 73 at 75.

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administrative airspace reservation market allocation agreed to by
Defendant Carriers. 268 (To 9405.)

335. Asa “member of the slot conference,” the DOT/IATA WSG Slot Coordinator
attended the IATA WSG Slot Conference and met privately with many
Defendant Carriers and also met with OneAlpha Technologies, *°? a “slot
coordination and airport capacity management software platform,” a joint
venture of undisclosed persons.?7°

336. Defendant PANYNJ contracts with OneAlpha Technologies to provide
software at no charge to each Defendant Carrier to further coordinate

airspace reservations.®7! (To 7488.)
3. Slot Usage Waiver — Reduced Passenger Demand

337. On August 25, 2022 — two months after allocating the airspace reservations
according to the IATA WSG — carrier trade associations requested the FAA

grant a waiver from the terms of their private [ATA WSG agreement for the

368 See IATA 150th Slot Conference — Organizations attending (Jun. 13, 2022), Doc.
231, PE-D3 10 at 15.

369 FAA FOIA Responsive Records for FOIA 2022-09917 (Feb. 23, 2024), Doc. 476,
PE-O 4. See also, id. at 19.

370 OneAlpha Technologies Webpage, Doc. 477, PE-N3 83 from
https://web.archive.org/web/20240229200859/https://onealphatech.com/.

371 See id. See also, OneAlpha Technologies, Our Difference webpage, Doc. 478,
PE-N3 87 from
https://web.archive.org/web/20240223232709/https://onealphatech.com/our-
difference/.

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Winter 2022 carrier scheduling season beginning October 30, 2022, and

ending March 25, 2023.°72 On October 28, 2022, the FAA declined.378

Q. PTAB Denial of Market-Clearing Patent

338. On Feb. 8, 2022, the Patent Trial Appeal Board (“PTAB”) upheld the
USPTO’s denial of the patent for the new commerce of the market-clearing
process.°74 On March 25, 2022, Exhaustless’ patent attorney notified Endres

of this decision.

R. United/Air Canada Alliance Agreement

339. On February 10, 2022, rather than compete for Endres’ announced
competitive market for airspace reservations or follow the regulatory process
to submit an alliance agreement,?75 Defendants United Airlines and Air
Canada privately requested antitrust immunity of an undisclosed alliance
agreement.376 The contents of the private letter or the agreement are not

public.

372, See FAA COVID-19 Related Relief Concerning Operations at [ORD, JFK, LAX,
EWR, LGA, DCA, SFO] for the Winter 2022/2023 Scheduling Season, 87 Fed. Reg.
65282 (Oct. 28, 2022), Doc. 180, PE-B1 178.

373 See id.

374, USPTO, Decision on Appeal, Application 15/789,585 (Feb. 8, 2022), Doc. 139,
PE-B2 167.

375 See 14 C.F.R. § 303.03.

376 See TRN Letter to United Airlines, Dkt. DOT-OST-2008-0234-0336 (posted Jul.
21, 2022), Doc. 176, PE-D1 424.

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S. Access to South Africa’s Airspace

In early 2022, two U.S. carriers had each requested an administrative
allocation of reservations for service to South Africa; the sum of the request
exceeded the reservation volume agreed to in the bi-lateral air transport
agreement. On March 30, 2022, Endres announced a competitive market
allocation by Exhaustless to clear the excess demand for airspace
reservations for the rest of the Summer 2022 and the Winter 2022 carrier
scheduling season.377 No carrier licensed the Competitive Market Standard
to compete for the reservations in the market, instead accepting a grant from

the DOT/IATA WSG Slot Coordinator.?78

T. Access to Cuba’s Airspace

On October 25, 2019, the DOT/IATA WSG Slot Coordinator unilaterally
imposed economic sanctions on Cuba by suspending scheduled service by U.S.
carriers at airports other than the Havana airport,3”9 and a year later by
limiting the annual number of round-trip charter flights.*8° No carrier

challenged these unlawful agency actions.

377 See Exhaustless Auction of Airspace Reservations to South Africa, Dkt. DOT-
OST-2001-9849-0188 (Mar. 30, 2022), Doc. 141, PE-E 144.

378 See Order 2022-7-18 (ul. 26, 2022), Doc. 174, PE-F 115.

378 See Notice Suspending US-Cuba Scheduled Services via Non-Havana Points,
Dkt. DOT-OST-2016-0021-1410 (Oct. 25, 2019), Doc. 156, PE-F 75.

380 See Order 2020-11-14 (Nov. 17, 2020), Doc. 157, PE-F 78.

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Between March and April 2022, charter air carriers filed applications for
more round-trip frequencies to Cuba than the DOT/IATA WSG Slot
Coordinator’s limit.281 On April 19, 2022, Endres announced an auction by
Exhaustless to clear the excess demand for these airspace reservations. *®2
No carrier joined the Competitive Market Standard to compete for the
frequencies in the market, deciding instead to seek a grant from the
DOT/IATA WSG Slot Coordinator and denied Exhaustless its nght to hear
competitive bids for that reservation from other carriers and to speak market
prices (winning bids) to all market participants. 8°

On May 5, 2022, Endres announced an auction by Exhaustless to clear excess
carrier demand for airspace reservations from any U.S. airport to the
Havana, Cuba airport for the Winter 2022 carrier scheduling season.*®4 On
June 1, 2022, the DOT/IATA WSG Slot Coordinator removed the
administratively imposed flight limits and returned to the hmits agreed by
the air transport agreement between the U.S. and Cuba.*®> No carrier joined

the Competitive Market Standard to compete for the frequencies in the

381 See Exhaustless Announces Auction of Frequencies to Cuba, Dkt. DOT-OST-
2001-9849-0190 (Apr. 19, 2022), Doc. 158, PE-E 148.

382 Jd.
383 Order 2022-5-17 (May 19, 2022), Doc. 159, PE-F 81 at 83.

384 See Exhaustless Announces Auction of Frequencies for Scheduled Services to
Havana, Dkt. DOT-OST-2016-0021-1427 (May 5, 2022), Doc. 160, PE-E 153.

385 See Order 2022-6-1 (Jun. 1, 2022), Doc. 161, PE-F 89.

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market, and on September 19, 2022, the DOT/IATA WSG Slot Coordinator
administratively allocated the reservations and denied Exhaustless its right
to hear competitive bids for that reservation from other carriers and to speak
market prices (winning bids) to all market participants.*8* At the request of
carriers, the DOT/IATA WSG Slot Coordinator promptly granted use waivers

on the allocated frequencies. 87

U. JetBlue/Spirit Merger Agreement

pp. The making of the merger agreement.

344. On May 12, 2021, Spirit Airlines stated that the “blatant actions of [American
Airlines and JetBlue NEA] to reshape competition using publicly-owned but
highly-constrained resources... underscore the immediate need for an

investigation[.]’ 388

386 See Notice of Action Taken re: American Airlines, Inc. and JetBlue Airways
Corp., Dkt. DOT-OST-20 16-002 1-1436 (Sep. 19, 2022), Doc. 162, PE-F 94. See also,
Notice of Action Taken re: Mesa Airlines, Inc., Dkt. DOT-OST-2016-0021-1435 (ep.
19, 2022), Doc. 163, PE-F 97.

387 See, e.g., Notice of Action Taken re: Delta Air Lines, Dkt. DOT-OST-2016-0021-
1442 (Oct. 18, 2022), Doc. 164, PE-F 100. See also, Notice of Action Taken re:
JetBlue Airways Corp., Dkt. DOT-OST-2016-0021-1447 (Mar. 17, 2023), Doc. 165,
PE-F 104.

888 Spirit Airlines Supplement to Complaint, Dkt. DOT-OST-2021-0001 (May 12,
2021), Doc. 327, PE-D2 366 at 369 (emphasis added).

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345. On July 28, 2022, JetBlue Airways and Spirit Airlines entered into a merger
agreement.*89 Spirit represented that it had a “valid and subsisting
ownership interest” in its tangible personal property®°° and a “valid and
subsisting leasehold interest in all Company Leased Real Property.”29! Yet
JetBlue required no representation, and Spirit made no representation, of
any right to confer the publicly-owned takeoff or landing slots “held by” or
“permanently allocated to” Spirit®92 — even though JetBlue’s 2022 $3.5
billion Senior Secured Bridge Facility commitment to consummate the
merger was secured by takeoff and landing slots.293 JetBlue claimed that the
value of its assets pledged as security increased to $6.2 billion at the end of
2022594 — for a public company with shareholder equity market

capitalization of $3.0 billion as of June 30, 2023.395

389 See Spirit Airlines, Inc. SEC Form 8-K/A, Agreement and Plan of Merger,
Exhibit 2.1 (filed Aug. 16, 2022), Doc. 323, PE-D2 39.

390 Td., §3.21 at 72.
391 Td., §3.22 at 72.
302 Id., §3.25 at 74.

393 See JetBlue Airways Corporation SEC Form 10-K, 10 (Feb. 27, 2023) (‘We were
able to leverage... our... unencumbered asset base to secure the funding to
support the Spirit acquisition.”). See also, id. at 79 (“Our indefinite-lived intangible
assets consist primarily of acquired Slots at certain High Density Airports[.]’).

394 See id at 10.

395 See JetBlue Airways Corporation SEC Form 10-Q, 1 (Aug. 1, 2023), showing
333,250,321 outstanding shares at June 30, 2023; and see also, finance.yahoo.com
showing an $8.86 closing price per share on June 30, 2023.

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346. On March 6, 2023, while all three parties were in the same court in the NEA
case, Defendants JetBlue and Spirit agreed to preempted State regulations
related to price, route, or service of a carrier in air transportation in exchange
for Defendant Ashley Moody, acting as Attorney General of the State of
Florida, to not prosecute the JetBlue and Spirit merger agreement for
antitrust violations.°9° The carriers and Defendant Ashley Moody agreed not
to disclose the agreement with the State to a court.°97 Defendant Ashley
Moody, as an attorney, had access to the information that Endres had

provided to the DOJ in the NEA case. (To 9/462.)

qq. The complaint against the merger agreement
347. On March 7, 2023, the DOJ Antitrust Division, joined by several states, °°
filed a complaint in the U.S. District Court for the District of Massachusetts
against the JetBlue Airways and Spirit Airlines merger agreement for

violation of the antitrust laws.3°9

396 See Settlement Agreement among Spirit Airlines, Inc., JetBlue Airways Corp.,
and the Attorney General of Florida (Mar. 6, 2023), Doc. 214, PE-I2 266. See also,
id. J5 at 268 (specifically regulating traffic that uses “a Florida airport that either
JetBlue or Spirit serve as of March 2023[.]”).

397 Id. at (30 at 275.

398 Massachusetts, New York, and District of Columbia; amended on March 31,
2023, to join California, Maryland, New Jersey, and North Carolina.

399 See U.S. et al v. JetBlue Airways and Spirit Airlines, Inc., D. Mass. Case 1:23-
cv-10511, Complaint, ECF 1 (Mar. 7, 2023), Doc. 215, PE-I2 279.

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On March 13, 2023, the DOJ notified Endres that the DOJ is required to
provide the information Endres provided in both its current investigation and
the NEA case to each defendant’s outside counsel, categorized as highly
confidential submissions and governed by the Court’s default protective

order, 400

On March 22, 2023, the DOJ notified Endres that the information Endres
provided is categorized as “highly confidential” and governed by the Court’s

stipulated protective order. 4°!

rr. The trial against the merger agreement

The district court held a month-long bench trial for the complaint against the
JetBlue-Spirit merger agreement antitrust case in the autumn of 2023.
Endres did not have access to the court proceeding because it was not
broadcast. Per the court’s public docket, testifying witnesses included
executives of Defendants JetBlue, Spirit, Frontier, and United Airlines, as

well as expert economist witnesses for each side.

400 See DOJ Email, Notice of Production to Defendants in U.S. v JetBlue and Spirit
(Mar. 13, 2023), Doc. 380, PE-I1 668.

401 See DOJ Email, Notice of Stipulated Protective Order (Mar. 22, 2023), Doc. 381,
PE-I1 670.

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ss. Permanent injunction of the merger agreement.

On January 16, 2024, the district court enjoined the merger agreement. *°2

The district court’s ruling failed to mention the IATA WSG or its allocation of

seasonal airspace reservations by grandfathering at the twice-a-year Slot

Conference — that everv carrier before the court attended on June 21, 2022

in Seattle, Washington to allocate the global Winter 2022 airspace

reservations, nor the upcoming slot conference on November 15-18, 2022. in

Australia to allocate the global Summer 2023 airspace reservations with

grandfathering.*°3 The district court’s ruling failed to mention the public’s

title to the navigable airspace, which was declared in binding case precedent
in 1946. No party, witness, nor the court’s ruling mentioned the Exhaustless

market. which was declared in binding case precedent in 2019.

V. Summer 2023 Seasonal Reservations

1. Competitive Market Allocation Boycott

On July 29, 2022, Endres announced an auction by Exhaustless of
congestion-free access to the National Airspace System for Summer 2023 at

Reagan National Airport in Washington, D.C., and the three large hub

402 See U.S. et al v. JetBlue Airways and Spirit Airlines, Case 1:23-cv-10511-WGY,
Findings of Fact and Conclusions of Law, ECF 461 @Jan. 16, 2024).

403 See Exhaustless Documentation of IATA WSG Calendar of Coordination
History, Doc. 14, PE-D1 1.

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airports in the New York City metro area airspace; Newark Liberty, JFK,
and LaGuardia airports.*°4 On August 24, 2022, Endres notified the public
that no carriers licensed the Competitive Market Standard to compete in the

market for the airport schedules. 4%
2. Allocation with the IATA WSG

353. On September 29, 2022, each Defendant Carrier sent the DOT/IATA WSG
Slot Coordinator a list of the airspace reservations allocated to it the last
equivalent season, which they claimed entitles it to the future season’s
reservation.*°6 On October 6, 2022, each Defendant Carrier submitted its
schedule ‘request’ for the Summer 2023 scheduling season to the FAA.“7
Each Defendant Carrier obtained exclusive reservations no later than
November 3, 2022, when the DOT/IATA WSG Slot Coordinator allocated each
reservation — for free — to the carrier claiming entitlement and denied
Exhaustless its right to hear competitive bids for that reservation from other
carriers and to speak market prices (winning bids) to all market

participants. 108

404 See, e.g., Exhaustless Airport Slot Auction Notice for Summer 2023, Dkt. DOT-
OST-2001-9849-0193 (Jul. 29, 2022), Doc. 177, PE-E 158.

405 See Exhaustless Notice of Results of Auction of Airport Schedules for Summer
2023, Dkt. DOT-OST-2001-9849-0194 (Aug. 24, 2022), Doc. 178, PE-E 165.

406 See Exhaustless Documentation of [ATA WSG Calendar of Coordination
History, Doc. 14, PE-D1 1.

407 See id.

408 See id.

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354. On November 15, 2022, each Defendant IATA Carrier attended the IATA Slot

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Conference in Melbourne, Australia to finalize the allocation of the season’s

airspace reservations to the carriers. 40%
3. Slot Usage Waiver — Reduced Airport Runway Capacity

Although the Airline Deregulation Act of 1978 and the Open Skies air
transport agreements require carriers to compete in a market for
reservations to use the airspace, while there was no reservation market, the
Congress required a voluntary schedule reduction meeting to reduce delays
caused by the overscheduling of flights by carriers.449 The IATA WSG
requires adherence to the seniority of “historic slots” when there is a
reduction of capacity.4!!

At the November 15, 2022, IATA WSG slot conference, the FAA disclosed the
‘coordination parameters’ of each ‘level 2’ and ‘evel 3’ airport for the IATA
Summer 2023 season, including Reagan National in Washington, D.C.

(CA).412

409 See id. See also, Exhaustless FOIA Request Use of Government Aircraft (Mar.
6, 2023), Doc. 21, PE-B2 73 at 75.

410 See Vision 100—Century of Aviation Reauthorization Act, Pub. L. 108-176,
§422, 117 Stat. 2490, 2552 (2003), codified at 49 U.S.C. § 41722.

411 TATA Worldwide Slot Guidelines, 9tt Edition (Effective Jan. 1, 2019), Dkt. FAA-
2020-0862 (Dec. 17, 2020), Doc. 69, PE-D1 136, § 6.9.1 at 169.

412 See IATA, How to get the most out of attending the Slot Conference (March
2022), Doc. 338, PE-J 168 at 169 (“Coordinators please . . . upload any of the
following documents or website links to Swapcard . . . Declared airport capacities . .

.”).

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357. On December 27, 2022, the FAA issued a notice that runway construction at
DCA would reduce flight capacity and that, at the unpublished request of a
carrier trade association, the FAA ‘granted’ carriers a waiver of the minimum
usage requirement for certain airspace reservations — agreed to by carriers’
private IATA WSG agreement — at DCA for most of 2023.41 The waiver
does not apply to airspace reservations granted pursuant to statute,4!4 so it
only applies to ‘great-grandfathered’ airspace reservations initially allocated
by the FAA to carriers according to the grandfathering rules of the carrier
scheduling committee agreements from the regulated era. 415 Rather than
compete for congestion-free reservations in the Exhaustless market, or follow
the statutory policy for a schedule reduction to reduce delays, or uphold the

historical hierarchy of reservations pursuant to the [ATA WSG, carriers

413 FAA Construction Related Relief Concerning Operations at [DCA, JFK, LGA,
EWR], 87 Fed. Reg. 79245 (Dec. 27, 2022), Doc. 201, PE-B1 187.

414 Td. at 409. See exemptions at, e.g., Wendell H. Ford Aviation Investment and
Reform Act for the 21st Century (AIR-21 Act), Pub. L. 106-181, §231(e)(1), 114 Stat.
61 (2000), codified at 49 U.S.C. § 41718.

415 See 14 C.F.R. Part 93, Subpart S, § 93.215(a), Doc. 202, PE-B2 216. See also,
FAA High Density Traffic Airports; Slot Allocation and Transfer Methods, 50 Fed.
Reg. 52180 (ec. 20, 1985), Doc. 232, PE-B1 200 (“[S]lots at each of the four airports
generally have been allocated by . . . scheduling committees composed of the
incumbent carriers and interested new entrant carriers in each category at each
airport. Each committee meets and operates under a limited grant of antitrust
immunity issued under section 414 of the Federal Aviation Act. * * * As a result of
this amendment, the role of the scheduling committees in the allocation of slots is
eliminated.”).

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violated their private IATA WSG agreement to the minimum usage
requirement.

358. Because the air carriers guarantee the allocation of capacity and the price for
federal and state government employees pursuant to their unlawful Contract
for Scheduled Service, this reduced flight capacity to Washington D.C.
funnels the rest of the public onto fewer available seats than the total
available at the time the GSA contract was negotiated, which will apply
upward pressure on published prices even further above the negotiated fixed

price of the contract.
4. Slot Usage Waiver — Reduced Airspace Capacity

359. (rom 99356 to 357.) On March 15, 2023, each Defendant Carrier attended a
private “safety summit” held by the DOT/IATA WSG Slot Coordinator.*!® On
March 21 to 22, 2023, rather than compete for reservations in Exhaustless’
market, or comply with the statutory schedule reduction meeting, or comply
with the [ATA WSG and relinquish the less senior reservations from the
market, each Defendant American Airlines, Delta, and United Airlines
requested that the DOT/IATA WSG Slot Coordinator reduce the schedule at
the three New York City area large hub airports by 10% during the calendar

summer of 2023 to reduce anticipated delays, and grant the carriers a waiver

416 FAA Press Release, FAA Aviation Safety Summit Breakout Panels (Mar. 15,
2023), Doc. 382, PA- J 232.

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of the minimum usage requirements agreed to by carriers’ private IATA WSG
agreement.‘!7 The DOT/IATA WSG Slot Coordinator de facto ‘granted’
carriers a waiver through September 15, 2023.418 The DOT/IATA WSG Slot
Coordinator committed not to reallocate any reservations for the NYC area
airspace that a carrier cancels but will reallocate those cancelled at the D.C.
airport— while it is simultaneously reducing the schedule at Reagan
Washington, D.C. airport for runway construction.*!9 No process for setting
the reservation volume to capacity levels was described.

360. Because the air carriers guarantee the allocation of capacity and the price for
federal and state government employees pursuant to their unlawful
Contracts for Scheduled Service, this reduced flight capacity to NYC funnels
the rest of the public onto even fewer seats at above-market prices, further
subsidizing the price and service of federal and state government employees

from the reservations acquired by the rest of the public.

417 See Delta Air Lines letter to FAA re system constraints (Mar. 21, 2023), Doc.
383, PE-J 235. See also, American Airlines letter to FAA re system constraints
(Mar. 22, 2023), Doc. 384, PE-J 237. See also, United Airlines letter to FAA re
system constraints (Mar. 22, 2023), Doc. 385, PE-J 238.

418 See FAA PR, Fed. Reg. Notice of Limited Waiver of Slot Usage Requirement for
Summer 2023 (Mar. 22, 2023), Doc. 386, PE-J 241. See also, FAA Notice of Limited
Waiver of the Slot Usage Requirement (Mar. 22, 2023), Doc. 387, PE-J 243. See
also, FAA Staffing Related Relief Concerning Operations at [DCA, JFK, LGA,
EWR], 88 Fed. Reg. 18032 (Mar. 27, 2023), Doc. 210, PE-B1 190.

419 See FAA Staffing Related Relief Concerning Operations at [DCA, JFK, LGA,
EWR], 88 Fed. Reg. 18032 (Mar. 27, 2023), Doc. 210, PE-B1 190 at 192.

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On August 7, 2023, each Defendant Carrier, through its agent Airlines for
America, requested that the DOT/LATA WSG Slot Coordinator grant a waiver
of the slot usage term of its carrier-member’s private IATA WSG agreement
for airspace reservations to New York City’s large hub airports through the
end of the IATA summer season ending October 28, 2023.42° The trade
association claimed it is “actively working on additional ideas for the
upcoming year and will be in contact with you in the near future,” and did
not mention the Exhaustless competitive market.421 On August 9, 2023, by
press release, the DOT/IATA WSG Slot Coordinator granted the requested
waiver of the terms of the carriers’ private IATA WSG agreement and noted
that American Airlines request for a slot usage waiver for the following two
IATA seasons would be addressed separately.422 (To [371.)

The carriers that returned airspace reservations for the IATA Summer 2023
season — which they had allocated according to the grandfathering rules of
the IATA WSG, in which they agreed to minimum usage requirements to
retain entitlement — are poised to violate their private IATA WSG

agreement and claim entitlement to those airspace reservations for the [ATA

420 A4A Letter to FAA re Slot Usage Waiver (Aug. 7, 2023), Doc. 342, PA-J 172.
421 Td.

422 See FAA Press Release, FAA Extends Flexibility for Airlines (Aug. 9, 2023), Doc.
352, PA-J 223. See also, FAA NYC_Waiver_Extension_FAA_ 8-8-23, Doc. 353, PA-J
224. See also, FAA Staffing Related Relief Concerning Operations at [DCA, JFK,
LGA, EWR], September 16, 2023, Through October 28, 2023, 88 Fed. Reg. 54873
(Aug. 14, 2023), Doc.

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Summer 2024 season based on a non-party’s waiver of the terms of their

private IATA WSG agreement.

W. Winter 2023 Seasonal Reservations

1. Competitive Market Allocation Boycott

363. On Feb. 17, 2023, Endres announced a competitive market allocation by
Exhaustless for the airspace reservations at certain airports for the Winter
2023 carrier scheduling season.42°5 On Mar. 17, 2023, Endres notified the
public that no carrier licensed the Competitive Market Standard to be eligible
to participate in the competitive market allocation of airspace reservations

for access to public airport schedules at four domestic airports. 424
2. JetBlue Complaint Against The Netherlands

364. On February 14, 2023, JetBlue filed a complaint with the DOT against the

Kingdom of the Netherlands alleging that the government must provide

423 See (a) Exhaustless Airport Slot Auction Notice for Winter 2023, Dkt. DOT-
OST-2001-9849-0195 (Feb. 17, 2023), Doc. 203, PE-E 171; (b) Exhaustless Aviation
2.0 Licensing Agreement — Carrier (v8.1), Dkt. DOT-OST-2001-9849-0195 (Feb. 17,
2023), Doc. 204, PE-E 178; (c) Exhaustless Slot Auction Design Winter 2023, Dkt.
DOT-OST-2001-9849-0195 (Feb. 17, 2023), Doc. 205, PE-E 193; (d) Exhaustless Slot
Auction Rules and Procedures Winter 2023, Dkt. DOT-OST-2001-9849-0195 (Feb.
17, 2023), Doc. 206, PE-E 201; (e) Exhaustless Winter 2023 Auction Registration
doc ver. 1.1, Dkt. DOT-OST-2001-9849-0195 (Feb. 17, 2023), Doc. 207, PE-E 215;
and (f) Exhaustless Winter 2023 Airport Slot Auction Prepayment Form, Dkt. DOT-
OST-2001-9849-0195 (Feb. 17, 2023), Doc. 208, PE-E 218.

424 See Exhaustless Notice of Results of Auction of Airport Schedules for Winter
2023, Dkt: DOT-OST-2001-9849-0196 (Mar. 17, 2023), Doc. 209, PE-E 219.

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JetBlue with slots at Schiphol airport in Amsterdam, a ‘level 3’ airport, by
requiring a carrier to transfer “a sufficient number of slots” to JetBlue, as
defined by JetBlue.425 On March 7, 2023, the Dutch government responded
to the complaint:

Traffic rights and slots are independent of each
other. The Agreement assigns traffic rights. In our
view, the assignment of traffic rights does not
imply a guarantee to receive slots. This is also laid
down as one of the “key principles” of a coordinated
devel 3) airport in the Worldwide Airport Slot
Guidelines (WASG) from IATA under 1.7.2.3 and
8.1.1.j: “The allocation of slots is independent from
the assignment of traffic rights under bilateral air
service agreements.” The Agreement provides for
traffic rights, not slots. Furthermore, the
Agreement does not contain any provisions on slots.
For each airline, the slot allocation process in the
Netherlands is governed by the EU Slot
Regulation. #26

365. On March 13, 2023, Endres notified the government of the Kingdom of the
Netherlands of Exhaustless’ competitive market for slots, that the air
transport agreement calls for a competitive market allocation of reservations,
and that “[t]his conflict is manufactured by Jet Blue to attempt to obtain slots

while seeking protection by the U.S. Department of Transportation from that

#25 See JetBlue Airways Complaint, Dkt. DOT-OST-2023-0028 (Feb. 14, 2023), Doc.
344, PE-J 182. See also, IATA Worldwide Slot Guidelines, 9t Edition (Effective
Jan. 1, 2019), Dkt. FAA-2020-0862 (Dec. 17, 2020), Doc. 69, PE-D1 136, §8.1.1(g) at
174. (Historic slots may not be withdrawn from an airline to accommodate new
entrants or any other category of aircraft operator.”).

426 Answer of the Dutch Government, Ministry of Infrastructure and Water
Management, Dkt. DOT-OST-2023-0028 (Mar. 7, 2023), Doc. 345, PE-J 203.

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competition.”427 Endres further explained the contradictory claims of JetBlue

in the U.S.:

At airports where JetBlue holds ‘grandfathered’
slot reservations, it claims ‘ownership’ — of
reservations to use the public’s airspace — and
then collateralizes the slots against borrowed
money. Yet when they have no ‘grandfathered
rights’ at an airport, as in this proceeding, JetBlue
fabricates a dispute between the U.S. and the
Netherlands to demand that one sovereign give it
slots by waiving the allocation of historical rights to
another carrier — even though the historical rights
are only declared by an agreement among carriers
that JetBlue joined, whose agreement is managed
by an organization that JetBlue co-controls. 42°

On June 5, 2023, JetBlue notified the DOT/IATA WSG Slot Coordinator that

it had been ‘granted’ slots by the Dutch government for the season but

lamented that the Dutch government had not ‘granted’ JetBlue a

“permanent” ability to provide service — with no mention of its requirement

to compete in the market for its reservations.*29 Nonetheless, JetBlue

requested that the DOT withdraw its complaint.° On June 27, 2023, the

427 Kxhaustless Response, Dkt. DOT-OST-2023-0028 (Mar. 13, 2023), Doc. 346, PE-
J 207 (emphasis in original). \

428 Jd. (emphasis in original), referencing JetBlue Airways Corporation SEC Form
8-K (Oct. 24, 2022) (“Additional Collateral” shall mean .. . Slots of the borrower[.]’).

429 JetBlue request to withdraw complaint, Dkt. DOT-OST-2023-0028 (Jun. 5,
2023), Doc. 347, PE-J 216.

430 See id.

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DOTYIATA WSG Slot Coordinator dismissed the complaint and terminated

the proceeding. +2!
3. Allocation with the IATA WSG

367. On May 4, 2023, each Defendant Carrier sent the DOT/IATA WSG Slot
Coordinator a list of the airspace reservations allocated to it the last
equivalent season, which they claimed entitles them to the future season’s
reservation.#22 On May 11, 2023, each Defendant Carrier submitted their
schedule ‘request’ for the Winter 2023 scheduling season to the DOT/IATA
WSG Slot Coordinator.423 Each Defendant Carrier obtained exclusive
reservations no later than June 1, 2023, when the DOT/IATA WSG Slot
Coordinator allocated each reservation — for free — to the carrier claiming
entitlement and denied Exhaustless its right to hear competitive bids for that
reservation from other carriers and to speak market prices (winning bids) to
all market participants. *4

368. Each Defendant IATA Carrier and Defendant the United States attended the
IATA Slot Conference on June 13, 2023, to allocate the worldwide

reservations to use the public’s airspace during the Winter 2023 carrier

431 See Order 2023-6-21 (Jun. 27, 2023), Doc. 348, PE-J 218.

432 See Exhaustless Documentation of [ATA WSG Calendar of Coordination
History, Doc. 14, PE-D1 1.

433 See id.

434 See id.

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scheduling season.*> Many of these parties were in the U.S. District Court
for the District of Massachusetts between September 27 and October 27,
2023, testifying on the American-JetBlue Northeast Alliance agreement,
which was predicated on a right to lease airspace reservations, yet no
Defendant disclosed the IATA WSG and its seasonal airspace reservation
market allocation.

369. Defendant PANYNJ attended the IATA Slot Conference to allocate the
airport gates based on the grandfathered airspace reservation market
allocation. 46 (To 7405.)

370. At the close of the slot conference, each Defendant Carrier as a member of
and/or governor of the IATA joined a statement to “urge governments
worldwide to ensure global alignment of slot rules to safeguard the consistent,
fair, and transparent allocation of airport slots under the Worldwide Airport

Slot Guidelines (WASG).” 487

435 See IATA 152nd Slot Conference — Organizations attending (Jun. 11, 2023), Doc.
254, PE-D3 18.

436 See id.

437 See IATA Press Release, Airline Associations Join Together to Call for Global
Alignment of Slot Regulations (Jun. 15, 2023), Doc. 313, PE-D3 410. See also
Airline associations statement on benefit of global alignment of airport slot
regulations (Jun. 15, 2023), Doc. 314, PE-D3 411.

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4. Slot Usage Waiver — Reduced Airspace Capacity

(From 9361.) On September 20, 2023, the DOT/LATA WSG Slot Coordinator
‘granted' waivers from the slot usage requirements for a full year, through

October 26, 2024.438 (To 7380.)

X. =JetBlue/Frontier LaGuardia “Divestiture” Agreement

On June 1, 2023, in another price-fixing and market-allocation scheme,
Defendants JetBlue and Frontier Group Holdings, Inc. announced an
agreement for JetBlue to “divest” all of the “holdings” of Defendant Spirit
Airlines at New York’s LaGuardia Airport to Frontier, including “six gates . .
. and 22 takeoff and landing slots,” on condition of JetBlue’s merger with
Spirit.42° Note that LaGuardia is a public airport owned by New York City
and leases the use of gates to carriers.44° Neither carrier published the

“divestiture” agreement.

438 See FAA Staffing-Related Relief Concerning Operations at [DCA, JFK, LGA,
EWR] Through October 26, 2024, 88 Fed. Reg. 64793 (Sep. 20, 2023), Doc. 489, PE-
N83 187.

438 See Frontier Press Release, JetBlue and Frontier Announce Divestiture
Agreement in Connection with JetBlue’s Combination with Spirit (Jun. 1, 2023),
Doc. 324, PE-D2 150.

440 See Spirit Airlines, Inc. SEC Form 10-K, Item 2 Ground Facilities, 44 (Feb. 6,
2023) (“We lease all of our facilities at each of the airports we serve ... Our leases
for terminal passenger service facilities, which include ticket counter and gate
space, operations support areas and baggage service offices, generally have a term
ranging from month-to-month to 24 years[.]’).

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Y. Summer 2024 Seasonal Reservations

1. Air Carrier Complaints against the Kingdom of the Netherlands

and the E.U

On September 25, 2023, Defendants Alaska Air, American Airlines, Delta,
FedEx, Hawaiian, JetBlue, Southwest, United Airlines, and UPS filed a joint
complaint with the TRN alleging violations of certain provisions of the U.S. —
EU Open Skies by the government of the Netherlands and the E.U.44! The
air carriers complained that the Netherlands planned reduction of the
volume of airspace reservations at one of its airports “will result in the
permanent confiscation of historic slot rights held by U.S. carriers at AMS
and the foreclosure of new entry by U.S. carriers at the airport.” 442 The air
carriers concluded that the U.S. Government should protect the air carriers
self-declared “historic slot rights” by “engagling] in consultations with the
Dutch government and the Commission to resolve the issue and explore
reasonable alternatives that are less restrictive on operations and
competition.” 448

JetBlue filed an additional complaint that it “is uniquely situated among U.S.

carriers because tt faces actual expulsion” from AMS because it has not

441 See Joint Complaint of Members of Airlines for America, Inc., Dkt. DOT-OST-
2023-0148-0001 (Sep. 25, 2023), Doc. 405, PE-M 1.

442 Id. at 4.
443 Id. at 12.

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operated at AMS long enough to have earned ‘historical slots’ for the Summer
2024 capacity declaration according to the rules of the IATA WSG.444 JetBlue
declared that “the imminence of that expulsion threat necessitates the
Department’s more immediate imposition of targeted and impactful

countermeasures.” 445
2. Competitive Market Allocation Boycott

In response to the air carrier complaints, Endres added the airspace
reservations for the Netherlands Amsterdam Schiphol airport (AMS) to the
market-clearing service. On October 12, 2023, Endres announced a
competitive market allocation by Exhaustless for the airspace reservations at
certain airports for the Summer 2024 carrier scheduling season.446 Endres
stated that the “carrier Complaints manufacture a conflict between the United
States government and the Netherlands government in an attempt to obtain
access to scarce economic airspace resources at Amsterdam Schiphol Airport
while seeking protection by the U.S. Depariment of Transportation from
competition for the use of those assets. Instead of undermining the market

with protectionism, JetBlue and all carriers should bid for the slots they want

444 Complaint of JetBlue Airways Corporation, Dkt. DOT-OST-2023-0028 (Sep. 28,
2023) Doc. 406, PE-M 16 at 17.

“45 Td.

446 See Exhaustless Slot Auction Notice for Summer 2024, Dkt. DOT-OST- 2023-
0148-0003 (Oct. 12, 2023), Doc. 408, PE-M 82.

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in the auction remedy announced herein.” 447 On Oct. 30, 2023, Endres notified
the public that no carrier licensed the Competitive Market Standard to be
eligible to participate in the competitive market allocation of airspace

reservations for access to public airport schedules. 448
3. Carriers Respond to their Own Complaint

376. Defendant Carriers then ‘answered’ and ‘responded to’ their own complaint

yet did not answer Exhaustless competitive market allocation.449

4. The United States Approves Countermeasures Against Carrier-

Citizens of the Netherlands

377. On Nov. 2, 2023, the TRN “approve[d]” the carrier complaints and various
‘countermeasures’ and said “/t/he issues raised by Exhaustless are outside the
scope of these proceedings and we do not view them as responsive to the

matters that the Department must consider in regard to the complaints.

447 Id. at 3.

448 See Exhaustless Notice of Results of Auction of Airport Schedules for Summer
2024, Dkt. DOT-OST-2023-0148-0010 (Oct. 30, 2023), Doc. 420, PE-M 188.

449 See, e.g., (a) American Airlines Answer, Dkt. DOT-OST-2023-0148-0004 (Oct.
13, 2023), Doc. 414, PE-M 141; (b) KLM Airlines Answer, Dkt. DOT-OST-2023-
0148-0005 (Oct. 13, 2023), Doc. 415, PE-M 147; (c) Cargo Airlines Ass’n Answer,
Dkt. DOT-OST-2023-0148-0006 (Oct. 13, 2023), Doc. 416, PE-M 162; (d) A4A
Consolidated Reply, Dkt. DOT-OST-2023-0148-0008 (Oct. 18, 2023), Doc. 418, PE-M
173; (e) JetBlue Reply, Dkt. DOT-OST-2023-0028-0031 (Oct. 20, 2023), Doc. 419,
PE-M 177; and @) A4A Supplemental Information, Dkt. DOT-OST-2023-0148-0011
(Nov. 2, 2023), Doc. 417, PE-M 165.

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Therefore, we will not address them here.” .45° The order required foreign
carriers of the Netherlands to file their existing schedule at U.S. airports in
the docket.4! On November 14, 2023, Defendant Air France-KLM filed its
airspace schedule in the docket for both charter service (under carrier
Martinair) and for seasonally scheduled air transportation service (under
carrier KLM Royal Dutch Airline), which included the airspace schedule of its
alliance partners Delta Air Lines (which had over 90% of the 941 page slot
schedule), Air France, Virgin Atlantic and WestJet. This filing was picked up
by the Airlineinfo.com service and is still available to anyone with a
subscription. Soon after the filing, the TRN removed the KLM filing from the

public docket without amending its order.
5. Allocation with the IATA WSG

378. On September 28, 2023, each Defendant Carrier sent the DOT/IATA WSG
Slot Coordinator a list of the airspace reservations allocated to it the last
equivalent season, which they claimed entitles it to the future season’s
reservation.*©2 On October 5, 2023, each Defendant Carrier submitted its

schedule ‘request’ for the Winter 2023 scheduling season to the FAA.453 Each

450 Order 2023-11-6 at 4 (Nov. 2, 2023), Doc. 421, PE-M 196.
451 Td. at 205.
452, See IATA Calendar of Coordination (Nov. 2023), Doc. 426, PE-N1 16.

453 See id. See also, FAA Notice of Submission Deadline for Schedule Information
for (ORD, JFK, LAX, EWR, SFO] for the Summer 2024 Scheduling Season, 88 Fed.
Reg. 64964 (ep. 20, 2023), Doc. 427, PE-N1 17.

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Defendant Carrier obtained exclusive reservations no later than November 2,
2023, when the DOT/IATA WSG Slot Coordinator allocated each reservation
— for free — to the carrier claiming entitlement and denied Exhaustless its
right to hear competitive bids for that reservation from other carriers and to
speak market prices (winning bids) to all market participants.4°4

379. Each Defendant IATA Carrier and Defendant the United States attended the
IATA Slot Conference on November 14, 2023, to allocate the worldwide
reservations to use the public’s airspace during the Summer 2024 carrier

scheduling season.455
6. Slot Usage Waiver — Reduced Airspace Capacity

380. (From 4371.) Prior to the allocation of Summer 2024 slots with the IATA
WSG, Defendant Carriers had already requested, and the DOTAATA WSG
Slot Coordinator had already ‘granted’, a waiver from the slot usage

requirements.
7. Slot Usage Waiver — Reduced Airport Runway Capacity

381. On December 22, 2023, each Defendant Carrier, inclusive of its partners,
through its agent A4A, requested the FAA to ‘waive’ the terms of its private

agreement for minimum slot usage rules at DCA, LGA, EWR, and JFK due to

454 See IATA Calendar of Coordination (Nov. 2023), Doc. 426, PE-N1 16.

455 See IATA 153rd Slot Conference (Dubai, United Arab Emirates, 14 - 17
November 2023) Program (Nov. 6, 2023), Doc. 422, PE-M 207.

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planned runway construction at DCA.“ On January 25, 2024, the
DOT/IATA WSG Slot Coordinator ‘granted’ the waiver for most of 2024.457
Rather than compete for congestion-free reservations in the Exhaustless
market, each Defendant Carrier that is a member of A4A violated their

private IATA WSG agreement to a minimum usage.

PATENT ISSUED FOR ENDRES’ MARKET-CLEARING PROCESS BY
CANADA

On December 12, 2023, the Canadian Intellectual Property Office (CIPO)
issued the Canadian Certificate of Grant and Patent Grant Specification for
Endres’ invention SYSTEM AND METHOD FOR MANAGING AIR
TRAFFIC DATA as Canadian Patent No. CA2,995,867. The patent term is

20 years, commencing on August 23, 2016, and expiring on August 23, 2036.

ALLOCATION OF FUTURE SEASONAL RESERVATIONS

A. Winter 2024 Seasonal Reservations

Endres plans to allocate the airspace reservations to both suppliers and
consumers with the Exhaustless Market-Clearing Service for the Winter
2024 carrier scheduling season at seven airports: four U.S. airports — John
F. Kennedy (JFK) and LaGuardia (LGA) in New York, Newark Liberty

(EWR) in Newark, and Reagan National in Washington, D.C. (DCA); one

456 See FAA Construction Related Relief Concerning Operations at [DCA, JFK,
LGA, EWR], 89 Fed. Reg. 4802 (Jan. 25, 2024), Doc. 452, PE-N2 59.

457 See id.

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Netherlands airport — Schiphol in Amsterdam (AMS); and two Canadian
airports — Toronto Pearson (YYZ) and Vancouver (YVR). The auction to
supplier-carriers is tentatively planned on April 18, 2024, and has not yet
been announced.

384. Each Defendant Carrier plans to allocate the airspace reservations to
supphier-carriers with the grandfathering rules of the IATA WSG for the
Winter 2024 carrier scheduling season at 145 domestic public service airports
(NPIAS hub airports) in the U.S. on May 9, 2024.458 The DOT/IATA WSG
Slot Coordinator plans to enforce Defendant Carriers’ grandfathered
allocation at seven large hub airports on May 30, 2024.49

385. In the last three years, in addition to the claims of title to airspace
reservations cited supra, Defendant Carriers have asserted the right to

permanent, exclusive, and priority access to airspace at various airports. 46°

458 See IATA Calendar of Coordination (Nov. 2023), Doc. 426, PE-N1 16. Note that
the IATA publishes a list of airports considered ‘Level 2 and Level 3’ which require
the aid of a ‘Slot Coordinator’ or a ‘Schedule Facilitator’ pursuant to the [ATA WSG
but it does not publish a list of airports considered ‘Level 1’ at which it allocates
supplier airspace reservations among carriers unaided by a federal agency.

459 See id. (“SAL Deadline”). See also, FAA Information Collection Request, OMB
Control No: 2120-0524, ICR Reference No: 202108-2120-002, Supporting Statement
A (Aug. 26, 2021), Doc. 261, PE-H 283 at 285 (showing the process for carriers to
obtain supplier airspace reservations at LaGuardia, JFK, Newark Liberty, Reagan
National, Chicago O’Hare, San Francisco, and Los Angeles airports).

460 See, e.g., United Airlines Comment, Dkt. DOT-OST-2021-0103 (Sep. 27, 2021)
Doc. 330, PA-J 15 ““[Government action must] ensure that [other carrier operations
do] not depriv[e] United of the movements necessary to serve its customers through

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386. Each Defendant Carrier plans to further privatize public information.*!
IX. VIOLATIONS ALLEGED

387. Plaintiff Endres hereby incorporates the allegations of paragraphs 1 through

386 above as if set forth fully herein.

A. Agreements between Horizontal Competitors

388. (From 9164.) The International Air Transport Association’s Worldwide Slot
Guidelines TATA WSG) is a contract and a conspiracy of Defendant Carriers
within the meaning of Section 1 of the Sherman Act, 15 U.S.C. § 1. (To 9389,

503.)

its full service global hub at EWR’). See also, comments at Docket FAA-2020-0862,
e.g., United Airlines Comment, Dkt. FAA-2020-0862 (Dec. 29, 2020), Doc. 331, PA-
J 122 (“Through an administrative structure that has already been designed, built,
and implemented, [the current process] preserves the overall status quo ante of the
industry in order to enable airlines to survive the effects of the pandemic.”). See
also, Southwest Airlines Comment, Dkt. FAA-2020-0862 (Dec. 29, 2020), Doc.
332, PA-J 129 (“... anumber of airlines, including Southwest, have made clear
their willingness to operate additional flights . . . now if permanent slots were made
available. . . takeoff and landing slots . . . are valuable public assets. .. Allowing the
large incumbent carriers . . . to protect the entirety of their existing slot portfolios
while simultaneously barring other carriers from using the slots to add new service
and competition is contrary to the public interest. . .”) (italic emphasis in original,
underline emphasis added). See also, Spirit Airlines Comment, Dkt. FAA-2020-
0862 (Dec. 29, 2020), Doc. 333, PA-J 134 (“With usage well below the caps, now is
the ideal time to permit pro-competitive access at least to slots and authorizations
used for domestic flying.”); JetBlue Comment, Dkt. FAA-2020-0862 (Sep. 23, 2020),
Doc. 334, PA-J 144 (“We welcome the ability to continue to grow our low-fare
presence at EWR while also receiving FAA recognition for future priority status.”
(emphasis added)).

461 See Graham Newton, IATA Airlines Magazine, v2024-01, "Giving airline data
back to the airlines," Doc. 482, PE-N3 147 (“Data is a key asset and aviation data
belongs to the industry’, Macaulay [[ATA’s Chief Information and Data Officer]
concludes.”).

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(From 4168, 388.) The IATA WSG is a market-allocating agreement as

admitied by most defendants and thus a per se violation of Section 1 of the

Sherman Act, 15 U.S.C. § 1. (To 9503.)

(From 91169, 388.) The IATA WSG is a price-fixing and bid-rigging
agreement and thus a per se violation of Section 1 of the Sherman Act, 15
U.S.C. § 1. (To 7505.)

(From 436.) The allocation of public airspace reservations with
grandfathering pursuant to the IATA WSG by Defendant Carriers every day
since June 7, 2018 to today was a group boycott of the multi-sided airspace
reservation market that Endres invented, developed, and assigned to his
company, and a per se violation of Section 1 of the Sherman Act, 15 U.S.C. §

1. (To 4506.)

(From 94179 to 182, 196 to 200.) Airlines for America and its Airlines

Clearinghouse (ACH) is a combination in the form of trust in service to the
IATA WSG conspiracy and thus each Defendant owner violated Section 1 of
the Sherman Act, 15 U.S.C. § 1. (To 4519.)

(From 4/191 to 193.) Airlines Reporting Corporation (ARC) is a combination
in the form of trust in service to the IATA WSG conspiracy and thus each
Defendant owner violated Section 1 of the Sherman Act, 15 U.S.C. § 1. (To
521.)

(From {186 to 190.) Air Tariff Publishing Company (ATPCO) is a

combination in the form of trust in service to the IATA WSG conspiracy and

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thus each Defendant owner violated Section 1 of the Sherman Act, 15 U.S.C.
§ 1. (To 7523.)

395. (From 9133.) International Air Transport Association (LATA) is a
combination in the form of trust in service to the IATA WSG conspiracy and
thus each Defendant owner violated Section 1 of the Sherman Act, 15 U.S.C.
§ 1. (To 1526.)

396. (From 7254.) San Franciso Terminal Equipment Company, L.L.C. GFOTEC)
is a combination in the form of trust in service to the IATA WSG conspiracy
and thus each Defendant owner violated Section 1 of the Sherman Act, 15
U.S.C. § 1. (To 1528.)

397. (From 44201 to 203.) Société Internationale de Télécommunications
Aéronautiques SCRL (SITA) is a combination in the form of trust in service to
the IATA WSG conspiracy and thus each Defendant owner violated Section 1
of the Sherman Act, 15 U.S.C. § 1. (To 9530.)

398. (From 9194 to 195.) Universal Air Travel Plan, Inc. (UATP) is a combination
in the form of trust in service to the IATA WSG conspiracy and thus each
Defendant owner violated Section 1 of the Sherman Act, 15 U.S.C. § 1. (To
1532.)

399. (rom {38 et seg.) Defendant Carriers alliance agreements, joint ventures,
and merger agreements, which were all predicated on the IATA WSG,

violated Section 1 of the Sherman Act, 15 U.S.C. § 1, including: (To 7534.)

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a. The “West Coast International” Alliance Agreement
between Defendants American Airlines and Alaska Air;

b. The “oneworld” Alliance between Defendants Alaska Air,
American Airlines, and ICAG;

c. The “SkyTeam” Alliance between Defendants Air France-
KLM, and Delta;

d. The alliance between Defendants Delta and LATAM;

e. The “Star” Alliance between Defendants Air Canada,
United Airlines, and Lufthansa. ‘462

f. The “ATSA” alliance between Defendants Amazon and
Hawaiian.

g. The “commercial passenger services” agreement between
Defendants Amazon and Hawaiian.

h. The merger agreement between Defendants Alaska Air

and Hawaiian.

B. Racketeering

1. Primary Allocation of Public Airspace Reservations

400. (From 173, 176, 177, 179) Each Defendant Carrier’s receipt or retention of

a reservation to use the public’s airspace on June 7, 2018, and every day to

462 See id.

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today, with the intent to convert it to its own use or gain, such as one
administratively allocated with grandfathering by the DOT/IATA WSG Slot
Coordinator, knowing it to have been purloined from Endres’ competitive
multi-sided market, violated section 2 of the law of March 3, 1875, ch. 144, 18
Stat. 479, 18 U.S.C. § 641. (To 7402, 406)

401. Each Defendant Carrier’s disposition of a reservation to use the public’s air
space by not honoring the reservation — such as by relying on the IATA
WSG 80% usage rule or by its request for and acceptance of a waiver by the
DOT/IATA WSG Slot Coordinator from its private slot usage agreement —
violated the law of June 18, 1934, ch. 587, 48 Stat. 996, 18 U.S.C. § 641. (To
1402.)

402. (From §{/400 and 401.) The daily violations of 18 U.S.C. § 641 were a
“specified unlawful activity” within the meaning of section 1352(a) of the
Money Laundering Control Act of 1986, 18 U.S.C. § 1956(¢)(7)(D). (To 7403.)

403. (From 7402.) Each Defendant Carrier traveled in interstate or foreign
commerce, used the mail, the telephone system, the wireless communication
system, or another facility in interstate or foreign commerce, with intent to
distribute the proceeds of unlawfully grandfathered airspace reservations
and did distribute the proceeds of unlawfully grandfathered airspace
reservations, such as at the IATA WSG Slot Conference twice a year, from
June 2018 to today in violation of Pub. L. 87-228, 75 Stat. 498 (Sep. 13, 1961),

18 U.S.C. § 1952(a)(1). (To 7404.)

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404. (From 403.) Each occurrence of travel or use of a facility in interstate of

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foreign commerce that violated 18 U.S.C. § 1952 was a racketeering activity
within the meaning of section 901(a) of the Organized Crime Control Act of
1970, 18 U.S.C. § 1961(1)B). (To 7511.)

(From 9253, 258, 263, 334, 369.) Each Defendant PANYNJ and MWAA

conspired with each Defendant Carrier to violate 18 U.S.C. § 1952(a) when it
traveled in interstate or foreign commerce or used another facility in
interstate or foreign commerce to attend either the domestic or foreign IATA
WSG Slot Conference to allocate the use of public airport assets based on the
unlawful grandfathering of airspace reservations, and then when it allowed a
flight operation whose airspace reservation was obtained by unlawful
grandfathering, and so violated 901(a) of the Organized Crime Control Act of

1970, 18 U.S.C. § 1962(d). (To 7512.)

2. Management of the Primary Allocation of Public Airspace

Reservations

(From {4130, 164, 400.) Each Defendant IATA Carrier traveled in interstate

or foreign commerce, used the mail, the telephone system, the wireless
communication system, or another facility in interstate or foreign commerce,
to promote, manage, establish, carry on, or facilitate the promotion,
management, establishment, or carrying on, of the unlawful IATA WSG, from
{, and did promote, manage, establish, carry on, or facilitate the promotion,

management, establishment, or carrying on, of the unlawful IATA WSG, at

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the JATA Annual General Meeting once a year from June 7, 2018 to today
which violated Pub. L. 87-228, 75 Stat. 498 Gep. 13, 1961), 18 U.S.C. §
1952(a)(8).

(From 406.) Each violation of 18 U.S.C. § 1952 was a racketeering activity
within the meaning of section 901(a) of the Organized Crime Control Act of

1970, 18 U.S.C. § 1961(0)@). (To 408. 511.)

(From 7407.) Consequent to the twice annual violations of 18 U.S.C. §
1961(1)(B) each Defendant Carrier engaged in a pattern of racketeering
activity within the meaning of section 901(a) of the Organized Crime Control
Act of 1970, 18 U.S.C. § 1961(5). (To 7409.)

(From 4408.) Each Defendant Carrier's acquisition or maintenance, directly
or indirectly, of any interest in or control of A4A, ARC, ATPCO, IATA,
SFOTEC, SITA, or UATP from the patterns of racketeering activity or any
other enterprise which is engaged in, or the activities of which affect,
interstate or foreign commerce violated section 901(a) of the Organized Crime

Control Act of 1970, 18 U.S.C. § 1962(b). (To 7537.)

C. Money Laundering

3. Secondary Allocation of Supplier Airspace Reservations

(From §217.) Since June 7, 2018, each Defendant Carrier knowingly engaged
in at least one transaction per carrier scheduling season in an unlawfully

grandfathered supplier airspace reservation of a market value greater than

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$10,000 — pursuant to a sale, lease, alliance block space, or other agreement
— that was derived from specified unlawful activity; and (To 19413, 417,

538.)
(From {210 to 216.) IATA is a business engaged in the exchange of
currency, funds, or value that substitutes for currency or funds (carrier-
currency), and so 1s a “financial institution” within the meaning as amended
by section 6102(d)(1)(B)@) of the Anti-Money Laundering Act of 2020, 31
US.C. § 5312(a)(2)); and (To 4412, 537.)

(From 7411.) Because IATA is a financial institution within the meaning of
31 US.C. § 5312(a)(2), IATA is a “financial institution” within the meaning of
section 318 of the USA PATRIOT Act of 2001, 18 U.S.C. § 1956(¢)(6)(A); and
(To 1413, 537.)

(From 4410, 412) Each transaction involved the use of the financial

institution IATA, the activities of which affect domestic and foreign
commerce in supplier airspace reservations — and so was a “financial
transaction” within the meaning of section 1352(a) of the Money Laundering
Control Act of 1986, 18 U.S.C. § 1956(c)(4)(B); and (To 9414.)

(From §413.) Each financial transaction was a “monetary transaction” within
the meaning of section 1527(b) of the Annunzio-Wylie Anti-Money
Laundering Act (1992), 18 U.S.C. § 1957((1); and (To 4418.)

(From 4129.) Each Defendant Carrier that is an air carrier is a “person

within the United States” and therefore a “United States person” within the

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meaning of section 101(a) of the 1986 Act to Combat International Terrorism,
18 U.S.C. § 3077(2)(C), by virtue of its certificate of public convenience and
necessity issued pursuant to section 401 of the Federal Aviation Act of 1958,
as amended, 49 U.S.C. § 41101 et seq; (To 9417.)

(From 4129.) Each Defendant Carrier that is a foreign air carrier is a “person
within the United States” and therefore a “United States person” within the
meaning of section 101(a) of the 1986 Act to Combat International Terrorism,
18 U.S.C. § 3077(2)(C), by virtue of its foreign air carrier permit issued
pursuant to section 7 of the International Air Transportation Competition
Act of 1979, 49 U.S.C. § 41302; (To 4417.)

(From {9414 to 416.) Each Defendant Carrier's transaction either occurred in
the U.S. or occurred outside the U.S. by a United States person pursuant to
section 1352(a) of the Money Laundering Control Act of 1986, 18 U.S.C. §
1957(d); and (To 4418.)

(From 417.) Therefore, each Defendant Carrier violated section 1352(a) of the
Money Laundering Control Act of 1986, 18 U.S.C. § 1957(a) two times each
year; and (To {419.)

(From §418.) Each violation of 18 U.S.C. § 1957(a) was a racketeering activity
within the meaning of section 1365(b) of the Money Laundering Control Act
of 1986, 18 U.S.C. § 1961(1)B). (To 7420, 511.)

(From 419.) Pursuant to the twice a year violation of 18 U.S.C. § 1957(a),

each Defendant Carrier engaged in a pattern of racketeering activity within

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the meaning of section 901(a) of the Organized Crime Control Act of 1970, 18

U.S.C. § 196165). (To 7541.)
4. Allocation of Consumer Airspace Reservation

(From 7218.) Each Defendant Carrier sold (a) consumer airspace reservations
tied to the (b) consumer aircraft reservation as one item, the (c) Consumer
Reservation; and

Each Defendant Carrier sold Consumer Reservations that involved the
proceeds of “specified unlawful activity” because those sales were part of a set
of parallel or dependent transactions with A4A, ARC, ATPCO, IATA, SITA,
UATP, Distribution Services, Card Services, and banks, any one of which
involved the receipt or retention of the supplier airspace reservation in 4400
and all of which were part of the IATA WSG, within the meaning of section
405 of the USA PATRIOT Improvement and Reauthorization Act of 2005
(2006), 18 U.S.C. § 1956(a)(D®B)Q).

Each Defendant Carrier, knowing that the supplier reservation to use the
public’s airspace — which was involved in the sale of consumer airspace
reservations in air transportation — represented the proceeds of some form of
unlawful activity, conducted a sale transaction which in fact involved the
proceeds of specified unlawful activity within the meaning of 18 U.S.C. §
1956(c)(7)(D), as from (402, and knowing that the sale of Consumer

Reservations was designed in part to conceal the ownership of the proceeds of

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the allocation of the consumer airspace reservations, violated section 1352(a)
of the Money Laundering Control Act of 1986, 18 U.S.C. § 1956(a)(1)(B)@).
The daily sale of consumer reservations in air transportation by each
Defendant Carrier that violated 18 U.S.C. § 1956, described at [423 was a
racketeering activity within the meaning of section 1365(b) of the Money
Laundering Control Act of 1986, 18 U.S.C. § 1961(1)(@B).

Pursuant to the daily violations of 18 U.S.C. § 1961(1)B), from 9424, each
Defendant Carrier engaged in a pattern of racketeering activity within the
meaning of section 901(a) of the Organized Crime Control Act of 1970, 18
USS.C. § 19616).

Each Defendant Carrier's use or investment, directly or indirectly, of any
part of the income or the proceeds of the income derived from the pattern of
racketeering activity from $425 in the operation of its carrier business that is
engaged in interstate or foreign commerce violated 901(a) of the Organized
Crime Control Act of 1970, 18 U.S.C. § 1962(a).

Each Defendant Carrier's use or investment, directly or indirectly, of any
part of the income or the proceeds of the income derived from the pattern of
racketeering activity from 9425 in the acquisition or maintenance, directly or
indirectly, of any interest in or control of another air carrier, railroad, motor
carrier, insurance carrier, refinery, biofuel manufacturer, airport jet fuel
infrastructure, airport gate, airport terminal, airport terminal operator,

travel agency, or any other enterprise which is engaged in, or the activities of

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which affect, interstate or foreign commerce violated section 901(a) of the

Organized Crime Control Act of 1970, 18 U.S.C. § 1962(a).
5. Unallocated Supplier Airspace Reservations

428. Each Defendant Carrier and Defendant Rand falsely represented to a
financial institution — within the meaning of section 318 of the USA
PATRIOT Act of 2001, 18 U.S.C. § 1956(¢)(6) — that it had title to an
unallocated future supplier reservation to use the public’s airspace, which it
collateralized as security for a loan; and

429. Each Defendant Carrier’s and Defendant Rand's collateralization of an
unallocated future supplier reservation to use the public’s airspace,
knowingly converted the unallocated future supplier airspace reservation to
its own use and violated section 1 of the March 3, 1875, ch. 144, 18 Stat. 479,
18 U.S.C. § 641; and

430. Each Defendant Carrier’s and Defendant Rand's violation of 18 U.S.C. § 641
from [429 was “specified unlawful activity’ within the meaning of section
1352(a) of the Money Laundering Control Act of 1986, 18 U.S.C. §
1956(c)(7)(D); and

431. Each Defendant Carrier and Defendant Rand received one or a series of
deposits of sovereign currency from the financial institution as part of a loan
agreement and thus involved the movement of funds; and

432. Each Defendant Carrier’s and Defendant Rand's loan agreement affected the

interstate and foreign commerce in supplier airspace reservations and.

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involved the movement of funds, and was thus a “financial transaction”
within the meaning of section 1527 of the Annunzio-Wylie Anti-Money
Laundering Act (1992), 18 U.S.C. § 1956(c)(4)(A)@); and

Each Defendant Carrier’s and Defendant Rand's loan agreement involved the
use of a financial institution, the activities of which affect interstate and
foreign commerce and was thus a “financial transaction” within the meaning
of section 1352(a) of the Money Laundering Control Act of 1986, 18 U.S.C. §
1956(c)(4)B); and

(From 91428 to 433.) Each Defendant Carrier and Defendant Rand, knowing
that the supplier airspace reservation involved in the loan transaction was
the proceed of specified unlawful activity, conducted the loan transaction
with the intent to promote the carrying on of the conversion of the public’s
airspace reservations to its use and thus violated section 1352(a) of the
Money Laundering Control Act of 1986, 18 U.S.C. § 1956(a)(D(A)Q).

(From {434.) The violation of 18 U.S.C. § 1956 was a racketeering activity
within the meaning of section 1365(b) of the Money Laundering Control Act
of 1986, 18 U.S.C. § 1961(1)@).

(From §435.) Pursuant to the violations of 18 U.S.C. § 1961(1)), each
Defendant Carrier and and Defendant Rand engaged in a pattern of
racketeering activity within the meaning of section 901(a) of the Organized

Crime Control Act of 1970, 18 U.S.C. § 19616).

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437. (From 7436.) Each Defendant Carrier's use or investment, directly or
indirectly, of any part of the income or the proceeds of the income derived
from the pattern of racketeering activity in the operation of its carrier
business or in the acquisition or maintenance, directly or indirectly, of any
interest in or control of any enterprise which is engaged in, or the activities of
which affect, interstate or foreign commerce violated section 901(a) of the
Organized Crime Control Act of 1970, 18 U.S.C. § 1962(a).

438. (From 9437.) Each Defendant PANYNJ and MWAA conspired with each
Defendant Carrier to violate 18 U.S.C. § 1962(a) to control airport jet fuel
infrastructure, airport gate, or an airport terminal which violated 901(a) of

the Organized Crime Control Act of 1970, 18 U.S.C. § 1962(d).
6. Unallocated Consumer Airspace Reservations

439. (From 221.) Each Defendant Passenger Carrier coined its own monetary
instrument, and regulated the value thereof, to trade in air commerce in the
U.S. monetary system, knowing that the legal tender of the U.S. monetary
system is United States currency pursuant to section 102 of the Coinage Act
of 1965, 31 U.S.C. § 5103, and so violated the U.S. Const. art. I, § 8, cl. 5. (To
1535.)

440. Each Defendant Passenger Carrier knowingly converted to its use or the use
of another carrier a portion of unallocated consumer reservations to use the

public’s airspace, by converting the value of a portion of unallocated

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consumer airspace reservations to its carrier-currency, and so violated the
Law of June 18, 1934, ch. 587, 48 Stat. 996, 18 U.S.C. § 641.

Each Defendant Passenger Carrier’s violation of 18 U.S.C. § 641 per 7440
was a “specified unlawful activity’ within the meaning of section 1352(a) of

the Money Laundering Control Act of 1986, 18 U.S.C. § 1956(¢)(7)(D).

tt. Bulk Sale of Carrier-Currency

Each Defendant Passenger Carrier, in one or a series of transactions, sold a
volume of its carrier-currency to a credit-card company or a hotel in exchange
for U.S. currency, and which each transaction represented a portion of
unallocated consumer airspace reservations of a market value greater than
$10,000 (a “Bulk Sale”); and

(From 9442.) Each Defendant Passenger Carrier's Bulk Sale of its carrier-
currency involved the deposit, transfer, or exchange of U.S. currency or a
foreign sovereign’s currency; and

(From 7443.) Each Defendant Passenger Carrier's deposit, transfer, or
exchange of a sovereign’s currency was by, through, or to a financial
institution within the meaning of section 318 of the USA PATRIOT Act of
2001, 18 U.S.C. § 1956(c)(6); and

Each Defendant Passenger Carrier that is an air carrier is a “person within
the United States” and therefore a “United States person” within the
meaning of section 101(a) of the 1986 Act to Combat International Terrorism,

18 U.S.C. § 30772)(C), by virtue of its certificate of public convenience and

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necessity issued pursuant to section 401 of the Federal Aviation Act of 1958,
as amended, 49 U.S.C. § 41101 e¢ seq;

Each Defendant Passenger Carrier that is a foreign air carrier is a “person
within the United States” and therefore a “United States person” within the
meaning of section 101(a) of the 1986 Act to Combat International Terrorism,
18 U.S.C. § 3077(2)(C), by virtue of its foreign air carrier permit issued
pursuant to section 7 of the International Air Transportation Competition
Act of 1979, 49 U.S.C. § 41302; and

(From 71442 to 446.) Each Defendant Passenger Carrier's Bulk Sale of its
carrier-currency either occurred in the U.S. or occurred outside the U.S. by a
United States person pursuant to section 1352(a) of the Money Laundering
Control Act of 1986, 18 U.S.C. § 1957(d); and

(From [439 to 447.) Each Defendant Passenger Carrier’s Bulk Sale of its
carrier-currency violated section 1352(a) of the Money Laundering Control
Act of 1986, 18 U.S.C. § 1957(a); and

(From §448.) The violations of 18 U.S.C. § 1957 were a racketeering activity
within the meaning of section 1365(b) of the Money Laundering Control Act
of 1986, 18 U.S.C. § 1961(1)(B); and

(From 7449.) Pursuant to the violations of 18 U.S.C. § 1961(1)(B) each
Defendant Carrier engaged in a pattern of racketeering activity within the
meaning of section 901(a) of the Organized Crime Control Act of 1970, 18

U.S.C. § 1961(5); and

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(From 9450.) Each Defendant Carrier's use or investment, directly or
indirectly, of any part of the income or the proceeds of the income derived
from the pattern of racketeering activity in the operation of its carrier
business or in the acquisition or maintenance, directly or indirectly, of any
interest in or control of any enterprise which is engaged in, or the activities of
which affect, interstate or foreign commerce violated section 901(a) of the

Organized Crime Control Act of 1970, 18 U.S.C. § 1962(a).

uu. Individual Sale of Carrier-Currency

(From 4208.) Each Defendant Passenger Carrier sold a volume of its carrier-
currency to a consumer in exchange for a sovereign’s currency; and/or

Each Defendant Passenger Carrier sold a volume of its carrier-currency to a
consumer or a consumer’s employer in exchange for a sovereign’s currency by
(a) tying a volume of its carrier-currency with the purchase of a reservation
for a seat on the aircraft, (b) recording internally a value in sovereign
currency for each the carrier-currency and for the aircraft seat reservation,
and (c) representing to the consumer or the consumer’s employer that the
transferred volume of its carrier-currency was a free loyalty reward to the
consumer; and

(From 9452 and 453.) Each Defendant Passenger Carrier made the sale of
carrier-currency knowing that the carrier-currency represented the proceeds

of specified unlawful activity as from 7441; and

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Each Defendant Carrier’s sale of carrier-currency involved the proceeds of
“specified unlawful activity” within the meaning of section 405 of the USA
PATRIOT Improvement and Reauthorization Act of 2005 (2006), 18 U.S.C. §
1956(a)(1)(B)G@) because that sale was part of a set of parallel or dependent
transactions with IATA, A4A, Air Tariff Publishing Company (ATPCO),
Airline Reporting Corporation (ARC), Universal Air Travel Plan (UATP),
Société Internationale de Télécommunications Aéronautiques SCRL (SITA),
Distribution Services, Card Services, and banks, any one of which involved
the carrier-currency and all of which were part of the IATA WSG; therefore,
(From 91439 to 441 and 9452 to 455.) Each Defendant Passenger Carrier,
knowing that the sale of carrier-currency was designed in part to conceal the
ownership of the proceeds of the allocation of the passenger airspace
reservation, violated section 1352(a) of the Money Laundering Control Act of
1986, 18 U.S.C. § 1956(a)(1)(B)@); and

(From 9456.) The violations of 18 U.S.C. § 1956 were a racketeering activity
within the meaning of section 1365(b) of the Money Laundering Control Act
of 1986, 18 U.S.C. § 1961(1)(B); and

(From 9457.) Pursuant to the violations of 18 U.S.C. § 1961(1)(B) each
Defendant Carrier engaged in a pattern of racketeering activity within the
meaning of section 901(a) of the Organized Crime Control Act of 1970, 18

U.S.C. § 1961(5); and

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459. (From {458.)Each Defendant Carrier's use or investment, directly or
indirectly, of any part of the income or the proceeds of the income derived
from the pattern of racketeering activity in the operation of its carrier
business or in the acquisition or maintenance, directly or indirectly, of any
interest in or control of any enterprise which is engaged in, or the activities of
which affect, interstate or foreign commerce violated section 901(a) of the

Organized Crime Control Act of 1970, 18 U.S.C. § 1962(a).

D. Carrier Agreements with Government Agency or Other

Employers

1. Agreement with United States Government Agency

460. (From {297.) Defendants the United States, American Airlines, and JetBlue,
by their Agreement between the U.S. DOT and Defendants American
Airlines and JetBlue dated January 10, 2021, made false claims to a
proprietary right to airspace reservations that were allocated by the
DOT/IATA WSG Slot Coordinator with unlawful grandfathering and so
violated the law of June 18, 1934, ch. 587, 48 stat. 996, 18 U.S.C. § 1001. (To
1546.)

461. Defendant the United States, by its Agreement between the U.S. DOT and
Defendants American Airlines and JetBlue dated January 10, 2021,
regulated carrier routes and service at two airports in New York (LaGuardia

and JFK) and a Washington, D.C. airport (Reagan National), and so violated

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section 3 of the Airline Deregulation Act of 1978, 49 U.S.C. § 40101(a)(12),
which requires market competition to decide matters related to price, route,
and service in air transportation, and in so doing violated the Congress’
exclusive power to regulate domestic and foreign commerce, U.S. Const. art.

I, § 8, cl. 8. (To 9567.)

2. Agreement with State Agency

vv. Florida Attorney General’s Unlawful Regulation of
Air Transportation

462. (From 346.) Defendant Ashley Moody, by her Settlement Agreement
between Defendants JetBlue, Spirit Airlines, and Ashley Moody, the Attorney
General of the State of Florida dated March 6, 2023, (the “Moody
Agreement”), regulated routes and service through airports in Florida and so
violated preemption of authority over price, route, and service in air
transportation, section 4(a) of the Airline Deregulation Act of 1978, 49 U.S.C.
§ 41713(b); and (To 7463.)

463. (From 462.) Defendant Ashley Moody’s violation of 49 U.S.C. § 41713(b)
violated the Congress’ exclusive power to regulate domestic and foreign
commerce, U.S. Const. art. I, § 8 cl. 3; and (To 9464, 559.)

464. (From 463.) Defendant Ashley Moody violated Endres’ right to conduct
commerce pursuant to his right to freedom of speech under U.S. Const.

amend. I; and (To 1/465, 560.)

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(From 7464.) The Moody Agreement was a transaction affecting interstate or
foreign commerce in airspace reservations and required the movement of
$300,000 by wire or other means, and therefore was a “financial transaction"
within the meaning of section 1527 of the Annunzio-Wylie Anti-Money
Laundering Act (1992), 18 U.S.C. § 1956(c)(4)(A); and (To 7466.)

(From 79402, 465.) Each Defendant Ashley Moody, JetBlue and Spirit,
knowing that the supplier airspace reservations involved in the Moody
Agreement involved the proceeds of specified unlawful activity conducted the
Moody Agreement with the intent to promote the carrying on of the
grandfathering of supplier airspace reservations, and violated section 1352(a)
of the Money Laundering Control Act of 1986, 18 U.S.C. § 1956(a)(1)(A)@;
and (To {/467.)

(From 466.) Defendant Ashley Moody, by conducting the Moody Agreement,
conspired with Defendants JetBlue and Spirit to violate 18 U.S.C. § 1956 and
so violated section 1530 of the Annunzio-Wylie Anti-Money Laundering Act

(1992), 18 U.S.C. § 1956(h); and (To 19468, 515, 562.)

(From 467.) By their agreement to exclude the Moody Agreement from
discovery in a court proceeding, Defendants Ashley Moody, JetBlue, and
Spirit obstructed the due administration of justice by their agreement to
exclude the Moody Agreement from discovery in a court proceeding, and so
violated section the law of June 10, 1872, ch. 420, v.17, p. 378, 18 U.S.C. §

1503; and (To 469, 563.)

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(From 7468.) Defendants Ashley Moody, JetBlue, and Spirit’s violation of 18
U.S.C. § 1503 was a “specified unlawful activity’ within the meaning of

section 901(a) of the Organized Crime Control Act of 1970, 18 U.S.C. §

1956(c)(7)(A). (To 11515, 559.)

ww. Airport’s Unlawful Diversion of Revenue

01.Credit PFC’s to Carrier

(From 272.) An unidentified airport authority charged a passenger facility
charge (“PFC”) tax to passenger-users of one or more airport it operates,
which revenue the airport authority represented it would use for eligible
airport-related projects, pursuant to a federal program at section 9110 of the
Aviation Safety and Capacity Expansion Act of 1990, 49 U.S.C. § 40117. The
PFC tax was collected by carriers from passengers, and remitted by carriers
to the unidentified airport; and

The federal program prohibits a contract between an air carrier and the
public agency of a commercial service airport from regulating the use of the
tax, section 9110 of the Aviation Safety and Capacity Expansion Act of 1990,
49 U.S.C. § 40117; and

(From 1272.) Defendant United Airlines, including its business trusts,
partnerships, joint ventures, or other alliances, agreed with the unidentified
airport to reduce the amount it pays for use of public airport assets by all or a
portion of the amount of PFC tax the unidentified airport collected from

passengers; and by so doing

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Defendant United Airlines knowingly converted public funds to its own use,
and so violated section 2 of the law of March 3, 1875, ch. 144, 18 Stat. 479, 18
U.S.C. § 641; and

(From 99470 to 473.) Defendant United Airlines violation of 18 U.S.C. § 641
was a “specified unlawful activity” within the meaning of section 1352(a) of

the Money Laundering Control Act of 1986, 18 U.S.C. § 1956(c)(7).
02. Revenue Sharing Agreement — Airport Owner

(From 1265.) Defendants the City of New York and PANYNd negotiated rent
of the airports based on the value of the revenue of the airport rather than
the value of the facilities provided to the airport, in violation of section 112(a)
of the Federal Aviation Administration Authorization Act of 1994, 49 U.S.C. §
47107(k)(2); and im so doing,

Defendant PANYNJ knowingly converted to the use of another public airport
funds when it diverted airport revenue with a revenue sharing agreement as
part of its lease agreement with the City of New York and so and so violated
section 1 of the law of March 3, 1875, ch. 144, 18 U.S.C. § 641; (To 9553.) and
Defendant the City of New York retained the payment in excess of the value
of the facilities, knowing it to have been purloined from the airport revenue,
and so violated section 2 of the law of March 3, 1875, ch. 144, 18 U.S.C. § 641;
(To {570.) and

(From {475 to 477.) PANYNJ and the City of New York’s violations of 18

U.S.C. § 641 were a “specified unlawful activity” within the meaning of

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section 1352(a) of the Money Laundering Control Act of 1986, 18 U.S.C. §

1956(c)(7). (To 9512.)
. 03. Revenue Sharing Agreement - Carriers

(From 259.) Defendant MWAA knowingly converted to the use of each
Defendant Carrier public airport funds when it diverted airport revenue with
a revenue sharing agreement and so and so violated section 1 of the law of
March 8, 1875, ch. 144, 18 U.S.C. § 641; and (To 4569.)

(From 9479.) MWAA’s violation of 18 U.S.C. § 641 was a “specified unlawful
activity” within the meaning of section 1352(a) of the Money Laundering

Control Act of 1986, 18 U.S.C. § 1956(c)(7).

xx. Airport’s Unlawful Economic Regulation of Air
Transportation

04. Airport’s Air Carrier Incentive Plan

(From 9273.) The agreement between each Defendant PANYNJ and MWAA,
on the one hand, and each Defendant Carrier, on the other hand, to pay each
Defendant Carrier, directly or indirectly, to influence route decisions
pursuant to an Air Carrier Incentive Plan be adjudged to violate @)
preemption of regulatory authority related to price, route, and service of
carriers in air transportation, section 4(a) of the Airline Deregulation Act of
1978, 49 U.S.C. § 41713(b); (ii) the delegation to market competition to decide
on routes, section 3(a) of the Airline Deregulation Act of 1978, 49 U.S.C. §

40101(a)(12)(B); Gid) the right of the people to consistent economic regulation

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at all airports, section 502(a)(5) of the Airport and Airway Improvement Act
of 1982, 49 U.S.C. § 47101(d); and (iv) the prohibition on diverting airport
revenue pursuant to section 804(a) of the Airport Revenue Protection Act of
1996, 49 U.S.C. § 47133(a); and

A ‘route’ referred to in the statutory economic regulations represents the
combination of supplier airspace reservations at each terminal airport and
intermediate airport, if any, between which the air carrier’s flight is
scheduled; 4? and

(From 481.) Each Defendant Carrier’s agreement with an airport operator
related to a route decision and its retention of the airport operator’s direct or
indirect payment related to the allocation of a route in domestic and foreign
commerce knowingly converted the supplier airspace reservations to use the
public’s airspace to its use, and violated section 1 of the law of March 3, 1875,
ch. 144, 18 Stat. 479, 18 U.S.C. § 641; and

(From 483) Each Defendant Carrier’s violation of 18 U.S.C. § 641 was a
“specified unlawful activity’ within the meaning of section 1352(a) of the

Money Laundering Control Act of 1986, 18 U.S.C. § 1956(©)(7); and

463 See, e.g., prior to deregulation, the Federal Aviation Act of 1958, Pub. L. 85-726,
Sec. 401(e), 72 Stat. 731, 755 (1958) (“Each certificate issued under this section
shall specify the terminal points and intermediate points, if any, between which the
air carrier is authorized to engage in air transportation and the service to be
rendered[.]”).

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(From 375.) Each Defendant Carrier, knowing that the supplier airspace
reservation involved in the payment from airport operators represented the
proceeds of unlawful grandfathering, and in fact involved the proceeds of
specified unlawful activity received the payment with the intent to promote
the carrying on of the specified unlawful activity, and violated section 1352(a)
of the Money Laundering Control Act of 1986, 18 U.S.C. § 1956(a)(1)(A)@;
and

(From 9481.) Each Defendant PANYNg’s and MWAA’s violation of 49 U.S.C.
§ 41713(b) violated the Congress’ exclusive power to regulate domestic and
foreign commerce, U.S. Const. art. I, sec. 8, cl. 3; and

(From 4403.) Each Defendant PANYNd’s and MWAA’s agreement with each
Defendant Carrier, knowing that the supplier airspace reservations involved
in the payment for a route to each Defendant Carrier represented the
proceeds of unlawful grandfathering conspired with each Defendant Carrier
with the intent to promote the carrying on of the money laundering, from
485 and violated section 1530 of the Annunzio-Wylie Anti-Mondy

Laundering Act (1992), 18 U.S.C. § 1956(h). (To 9552.)

05. Airport’s Coordination of Carriers

(From 9336.) The indirect agreement between Defendant PANYNJ and each
Defendant Carrier, through a software provider (OneAlpha Technologies), to
further coordinate unlawfully grandfathered airspace reservations violated

(a) preemption of regulatory authority related to price, route, and service of

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carriers in air transportation, section 4(a) of the Airline Deregulation Act of
1978, 49 U.S.C. § 41713); (b) the delegation to market competition to decide
on service, section 3(a) of the Airline Deregulation Act of 1978, 49 U.S.C. §
40101(a)(12)(B); and (c) the right of the people to consistent economic
regulation at all airports, section 502(a)(5) of the Airport and Airway
Improvement Act of 1982, 49 U.S.C. § 47101(d). (To 4489.)

(From §488.) The indirect agreement between Defendant PANYNJ and each
Defendant Carrier, through a software provider (OneAlpha Technologies) was

in furtherance of the conspiracy to grandfather airspace reservations.

06. Airport’s Exclusion of Flights

(From 262.) Defendant PANYNd’s perimeter rule is a regulation of carrier
routes and service and violates 49 U.S.C. § 41713, and so violates U.S. Const.

art. I, § 8, cl.3. (To 1566.)
3. Contracts for Scheduled Air Service

(From 9304.) Each Defendant Carrier’s Contract for Scheduled Service with a
state or local government entity or business to provide scheduled air
transportation is a contract, combination, or conspiracy within the meaning
of Section 1 of the Sherman Act, 15 U.S.C. § 1; (To 4492.)

(From 491.) Each Defendant Carrier’s Contract for Scheduled Service with a
government entity or business to provide scheduled air transportation to its

employees or for its shipping outside of the market — which is individually

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ticketed or individually waybilled — is a market-allocating agreement and a
per se violation of Section 1 of the Sherman Act, 15 U.S.C. § 1; and (To 7507.)

493. (From 9491.) Each Defendant Carrier’s Contract for Scheduled Service with a
government entity or business to provide scheduled air transportation to its
employees at prices that discriminate between different purchasers violates
Section 2 of the Clayton Act, 15 U.S.C. § 13(a). (To 4508.)

494. Defendant the United States’ Contracts for Scheduled Service with each
Defendant Carrier was a regulation of price, route, and service and so
violated 49 U.S.C. § 40101(a), which usurped the Congress’ exclusive power

to regulate commerce, and so violated U.S. Const. art. I, § 8, cl.3. (To 9571.)

E. Separation of Powers

495. Defendant the City of New York’s airport lease agreement to Defendant
PANYNJ that requires payment of a percentage of revenue on domestic and
foreign air transportation is a regulation of domestic and foreign commerce,
and violated U.S. Const. art. I, § 8, cl.3.

496. Defendant the City of New York’s collection of a percent of airport revenue
through its lease agreement with Defendant PANYNJ violated U.S. Const.
art. I, § 10, cl. 2, which prohibits states from taxing imports or exports.

497. Each Defendant PANYNJ and MWAA joined the Airports Council
International, and so violated U.S. Const. art. 1, §10, cl.1 (“No State shall

enter into any Treaty, Alliance, or Confederation[.]”).

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Defendant PANYNJ has unlawfully delegated its bi-state authority, which
was constitutionally authorized by the Congress, over the operation and
development of airports to JFKIAT and to Delta, and so violated U.S. Const.
amend. X.

The USPTO and its Patent Trial and Appeal Board usurped the Congress’
exclusive power to promote progress in maximizing market competition in
transportation by elevating its internal guidance document over the law to
deny the patent for Endres’ market-clearing process, in violation of U.S.

Const. art. I, § 8, cl. 8.

F. Unconstitutional Statutes

United States statute 49 U.S.C. § 49104(a)(4), which 'grants’ Defendant
MWAA an exception to competing in markets for its supplies, services, and
concession contracts (a) violates the U.S. Const. art. I, § 9, cl. 6 by
preferencing a port in the regulation of commerce of those supplies, services,
and concessions, and (b) violates Endres’ right to a free market for those
supplies, services, and concessions, U.S. Const. amend. I.

United States statute 49 U.S.C. § 49106(e), which ‘authorizes’ Defendant
MWAA to regulate carrier service in air transportation at two airports in
Washington, D.C., (a) delegates the Congress’ power to regulate domestic and
foreign commerce to a state government’s agent, in violation of U.S. Const.
art. I, § 8, cl. 3; and (b) preferences a port, in violation of the U.S. Const. art.

I, § 9, cl. 6.

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United States statute 49 U.S.C. § 49109, the ‘perimeter rule’ regulates carrier
service at Reagan National Airport (DCA), in violation of the U.S. Const. art.
I, § 9, cl. 6 (No Preference shall be given by any Regulation of Commerce or

Revenue to the Ports of one State over those of another[.]’).

REQUEST FOR RELIEF

Plaintiff Endres requests that:

A. Carrier Antitrust Remedies

(From 4388.) The International Air Transport Association’s Worldwide Slot
Guidelines (ATA WSG) be adjudged to be a contract and a conspiracy of
Defendant Carriers within the meaning of Section 1 of the Sherman Act, 15
US.C. § 1. (To 504.)

(From 9389, 503.) The Worldwide Slot Guidelines of the International Air
Transport Association be adjudged to be a per se market allocation agreement
among Defendant Carriers to restrain trade in reservations to use the

public’s airspace in domestic and foreign commerce as admitted to by

Defendants Air Canada, Air France-KLM, Alaska Air, American Air, Delta,
Lufthansa, FedEx, Frontier, Hawaiian, ICAG, JetBlue, LATAM, Southwest,
Spirit, United Airlines, UPS, Ashley Moody, City of Newark, MWAA,
PANYNGJ, and the United States, in violation of section 1 of the Sherman Act,
15 U.S.C. § 1; (To 7509.)

(From 1390.) The Worldwide Slot Guidelines of the International Air

Transport Association be adjudged to be a per se price fixing and a per se bid-

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rigging agreement among Defendant Carriers to restrain trade in
reservations to use the public’s airspace in domestic and foreign commerce in
violation of section 1 of the Sherman Act, 15 U.S.C. § 1; (Io 7509.)

(From {391.) The allocation of airspace reservations with grandfathering by
Defendant Carriers since June 7, 2018 be adjudged to be a group boycott of
the multi-sided airspace reservation market that Endres invented, developed,
and assigned to his company, a per se violation of Section 1 of the Sherman
Act, 15 U.S.C. § 1; (To 7509.)

(From 4492.) The International Air Transport Association’s Worldwide Slot
Guidelines (ATA WSG) be adjudged to be a contract and a conspiracy of
Defendant Carriers within the meaning of Section 1 of the Sherman Act, 15
U.S.C. § 1. Each Defendant Carrier’s Contract for Scheduled Service be
adjudged to be a market-allocating agreement and a per se violation of
Section 1 of the Sherman Act, 15 U.S.C. § 1. (To 9509.)

(From 493.) Each Defendant Carrier’s Contract for Scheduled Service to
provide service at prices that discriminate between different purchasers be
adjudged to violate Section 2 of the Clayton Act, 15 U.S.C. § 13(a). (To 7509.)
Consequent to [503 to 508, compensation from Defendant Carriers for
threefold the revenue, pursuant to section 4 of the Clayton Act, 15 U.S.C. §
15(a), that Endres was entitled to earn from Exhaustless Inc.’s proprietary
right to allocate the supplier airspace reservation market with its market-

clearing service since June 7, 2018. The value of the property is difficult to

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estimate because there has never been a competitive market for reservations.
The most recent study of the economic impact of air transportation delays
valued the annual cost to suppliers of domestic passenger service delays—
based on a DOT value of time — at $8,300,000,000 in 2007;464 the study also
proposed that the market price to avoid delays was likely higher.465 This cost
equates to $71,593,000,000 over 2,113 days through March 20, 2024 (approx.
five-and-three-quarter years) at a February 2024 dollar value, and treble
damages brings the value to $214,779,000,000, multiplied by Endres’
personal interest of 95.192% in Exhaustless equals $204,452,426,000.
Endres does not have access to a reliable study of the cost of domestic and
foreign cargo and mail service delays or foreign passenger service delays, so
the estimate of damages excludes a valuation of that portion of the market;
510. Consequent to 7503 to 508, Defendant Carriers be permanently enjoined
from continuing and restrained from further implementing the IATA

Worldwide Slot Guidelines.

464 See Michael Ball, et al., Total Delay Impact Study, National Center of
Excellence for Aviation Operations Research (“(NEXTOR’) (Nov. 3, 2010), Doc. 2,
PE-A InfoCongress 38 at 49 and 62 (“We focus on domestic data, since airline on-
time performance records are only for domestic flights. In our study, the selected
airlines are all passenger service focused, with only a small portion of their traffic
undertaking cargo, mail, and other types of business.”).

465 Jd. at 57 (“In general, passengers are willing to pay a higher price for less
delayed flights[.]”).

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B. RICO Remedies

1. Monetary Remedy

511. (Crom 97404, 407, 419.) That each Defendant Carrier be adjudged to have

engaged in racketeering activity pursuant to section 1365(b) of the Money
Laundering Control Act of 1986, 18 U.S.C. § 1961(1)(B); (To 7516.)

512. (From 7405, 478.) That each Defendant PANYNJ and MWAA be adjudged to
have engaged in racketeering activity pursuant to section 1365(b) of the
Money Laundering Control Act of 1986, 18 U.S.C. § 1961(1)(B); (To 516.)

513. (From 9478.) That Defendant City of New York be adjudged to have engaged
in racketeering activity pursuant to section 1365(b) of the Money Laundering
Control Act of 1986, 18 U.S.C. § 1961(1)(B); (To 9516.)

514. (From 9115.) That Defendant City of Newark be adjudged to have engaged
in racketeering activity pursuant to section 1365(b) of the Money Laundering
Control Act of 1986, 18 U.S.C. § 1961(1)(B); (To 7516.)

515. (rom 9467, 469.) That Defendant Moody be adjudged to have engaged in
racketeering activity pursuant to section 1365(b) of the Money Laundering
Control Act of 1986, 18 U.S.C. § 1961(1)B); (To 7516.)

516. Consequent to {9511 to 514, that each named Defendant be adjudged to be
engaged in a pattern of racketeering pursuant to 18 U.S.C. § 19616); (To
7517.)

517. Consequent to 7516, that each Defendant except the United States be

adjudged to have violated 18 U.S.C. § 1962(a); and (To 518.)

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518. Consequent to 9517, compensation from all Defendants except the United
States for threefold the revenue, pursuant to section 901(a) of the Organized
Crime Control Act of 1970, 18 U.S.C. § 1964(c), that Endres was entitled to
earn from Exhaustless Inc.’s proprietary right to allocate the public airspace
reservation market with its market-clearing service since June 7, 2018. The
value of the property is difficult to estimate because there has never been a
competitive market for the public’s reservations. The most recent study of
the economic impact of air transportation delays valued the annual cost of
domestic passenger service delays to the public — based on a TRN value of
time — at $31,200,000,000 in 2007;*¢ the study also proposed that the
market price to avoid delays was likely higher.467 This cost equates to
$269,121,000,000 over 2,113 days through March 20, 2024 (approx. five-and-
three-quarter years) at a December 2023 dollar value, and treble damages
brings the value to $807,363,000,000, multiplied by Endres’ personal interest
of 95.192% in Exhaustless equals $768,544,987,000. Endres does not have
access to a reliable study of the cost of domestic and foreign cargo and mail

service delays or foreign passenger service delays, so the estimate of damages

466 See Michael Ball, et al., Total Delay Impact Study, National Center of
Excellence for Aviation Operations Research (“(NEXTOR’”) (Nov. 3, 2010), Doc. 2,
PE-A1 35 at 49 and 62 (“We focus on domestic data, since airline on-time
performance records are only for domestic flights. In our study, the selected airlines
are all passenger service focused, with only a small portion of their traffic
undertaking cargo, mail, and other types of business.”).

467 Id. at 57 (“In general, passengers are willing to pay a higher price for less
delayed flights[.]”).

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excludes a valuation of that portion of the market. Combined with the

antitrust claim at 4509, the total claim by Endres is $972,997,413,000.

2. Structural Remedies

(From 392.) Airlines for America be adjudged to be a corporate trust in
service to the conspiracy to not compete, in violation of section 1 of the
Sherman Act, 15 U.S.C. § 1; and (To 7520.)

(From 7519.) Defendant Carriers be ordered to dissolve Airlines for America,
pursuant to 18 U.S.C. § 1964(a).

(From 4393.) Airline Reporting Corporation be adjudged to be a corporate
trust in service to the conspiracy to not compete, in violation of section 1 of
the Sherman Act, 15 U.S.C. § 1; and (To 7522.)

(From 521.) Defendant Carriers be ordered to dissolve Airline Reporting
Corporation, pursuant to 18 U.S.C. § 1964(a).

(From 9394.) Air Tariff Publishing Company be adjudged to be a corporate
trust in service to the conspiracy to not compete, in violation of section 1 of
the Sherman Act, 15 U.S.C. § 1; and (To 7524.)

(From 9523.) Defendant Carriers be ordered to forfeit ownership of Air Tariff
Publishing Company to the United States, pursuant to 18 U.S.C. § 1962; and
(To 525.)

(From 7524.) Defendant United States be ordered to divest Air Tariff
Publishing Company, at the market price, to Endres’ company, Exhaustless

Inc., to publish the full price of air transportation, including the reservation

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to use the airspace and the reservation for carrier service, as required by 49
U.S.C. § 41712, per 14 C.F.R. § 399.84(a).

526. (From 7395.) International Air Transport Association be adjudged to be a
corporate trust in service to the conspiracy to not compete, in violation of
section 1 of the Sherman Act, 15 U.S.C. § 1; and (To 4527.)

527. (From 9526.) Defendant Carriers be ordered to forfeit ownership of
International Air Transport Association to the United States, pursuant to 18
U.S.C. § 1962.

528. (rom 4396.) San Francisco Terminal Equipment Company, L.L.C.
(SFOTEC) be adjudged to be a corporate trust in service to the conspiracy to
not compete, in violation of section 1 of the Sherman Act, 15 U.S.C. § 1; and
(To 1529.)

529. (rom 9528.) Defendant Carriers be ordered to dissolve SFOTEC, pursuant to
18 U.S.C. § 1964(a).

530. (rom $397.) Société Internationale de Télécommunications Aéronautiques
SCRL (SITA) be adjudged to be a corporate trust in service to the conspiracy
to not compete, in violation of section 1 of the Sherman Act, 15 U.S.C. § 1;
and (To 1531.)

531. (From 1530.) Defendant Carriers be ordered to forfeit ownership of SITA to

the United States, pursuant to 18 U.S.C. § 1962.

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532. (From 398.) Universal Air Travel Plan, Inc. (CUATP) be adjudged to be a
corporate trust in service to the conspiracy to not compete, in violation of
section 1 of the Sherman Act, 15 U.S.C. § 1; and (To 9533.)

533. (From 9532.) Defendant Carriers be ordered to dissolve UATP, pursuant to
18 U.S.C. § 1964(a).

534. (From 4399.) Defendant Air Carriers and Foreign Air Carriers be
permanently enjoined from continuing and restrained from further
implementing air carrier alliance agreements that fraudulently stated there
were no other agreements, whereas they were predicated on the IATA WSG,
including:

a. The “West Coast International” Alliance Agreement
between Defendants American Airlines and Alaska Air;

b. The “oneworld” Alliance between Defendants Alaska Air,
American Airlines, and ICAG;

c. The “SkyTeam” Alliance between Defendants Air France-
KLM, and Delta;

d. The alliance between Defendants Delta and LATAM;

e. The “Star” Alliance between Defendants Air Canada,

United Airlines, and Lufthansa. 46

468 See id.

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f. The “ATSA” alliance between Defendants Amazon and
Hawaiian.

g. The “commercial passenger services” agreement between
Defendants Amazon and Hawaiian.

h. The merger agreement between Defendants Alaska Air
and Hawaiian.

535. (From 7439.) Each Defendant Passenger Carrier be adjudged to have violated
the U.S. Const. art. I, § 8, cl. 5, by coining its own currency and regulating
the value thereof to trade in the U.S. monetary system every day since June
7, 2018; and (To 9536.)

536. (From 535.) Each Defendant Carrier be ordered to dissolve its loyalty

programs and cease trade in non-sovereign currencies.
3. Civil Forfeiture of Private Assets

537. (From 7409.) Each Defendant Carrier be adjudged to have violated 18 U.S.C.
§ 1962(b) in the acquisition or maintenance, directly or indirectly, of any
interest or control of A4A, ARC, ATPCO, IATA, SFOTEC, SITA, or UATP
from the patterns of racketeering activity or any other enterprise which is
engaged in, or the activities of which affect, interstate or foreign commerce,
every day from June 7, 2018 to today; and

538. (From {410 to 419.) Each Defendant Carrier be adjudged to have violated 18
U.S.C. § 1957(a) and 18 U.S.C. § 1962(a) in the secondary allocation of

supplier airspace reservations every day from June 7, 2018, to today; and

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539. (From 91421 to 427.) Each Defendant Carrier be adjudged to have violated 18
U.S.C. § 641 and 18 U.S.C. § 1962(a) in the allocation of consumer airspace
reservations every day since June 7, 2018; and

540. (From 91428 to 438.) Each Defendant Carrier be adjudged to have violated 18
U.S.C. § 641, 18 U.S.C. § 1956(a)(1)(A)@, and 18 U.S.C. § 1962(a) in the
receipt of a loan of sovereign currency secured by public assets every day
since June 7, 2018; and

541. (From {9537 to 540.) Each Defendant Carrier be adjudged to have engaged in
a pattern of racketeering;

542. Each Defendant Passenger Carrier be adjudged to have violated 18 U.S.C. §
1957(a) and 18 U.S.C. § 1962(a) in the conversion of public assets to its
private currency, and the sale of its private currency for sovereign currency,
from 41440 to 451, every day since June 7, 2018; and

543. (From 91452 to 459.) Each Defendant Passenger Carrier be adjudged to have
violated 18 U.S.C. § 1956(a)(1)(B)@) and 18 U.S.C. § 1962(a) in the conversion
of public assets to its private currency, and the concealed sale of its private
currency for sovereign currency every day since June 7, 2018; and

544. (From 99537 to 543.) Each Defendant Carrier's use or investment, directly or
indirectly, of any part of the income or the proceeds of the income derived
from the pattern of racketeering activity in the acquisition or maintenance,
directly or indirectly, of any interest in or control of an enterprise which is

engaged in, or the activities of which affect, interstate or foreign commerce be

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adjudged to violate section 901(a) of the Organized Crime Control Act of
1970, 18 U.S.C. § 1962(a). (To 1545.)

545. Consequent to 1544, the forfeiture by each Defendant Carrier of the property
to the United States which is (i) property involved in or traceable to money
laundering transactions in violation of 18 U.S.C. § 1956 pursuant to section
1366(a)(1) of the Money Laundering Control Act of 1986, 18 U.S.C. §

98 1(a)(1)(A); and/or Gi) property which constitutes proceeds traceable to
specified unlawful activity within the meaning of section 20(b) of the Civil
Asset Forfeiture Reform Act of 2000, 18 U.S.C. § 981(a)(2)(A), pursuant to
section 20(a) of the Civil Asset Forfeiture Reform Act of 2000, 18 U.S.C. §

981(a)(1)(C):
yy. Investments in:

(i) Air carrier, motor carrier, water carrier, railroad.

Gi) Air navigation service provider.

Gii) Airport operator.

Gv) Freight forwarder, freight broker.

(v) Ticket agent, travel agency.

(vi) Insurance carrier.

(vii) Realtor, mortgage broker, residential housing.

(vill) Payment processor.

(ix) Refinery, sustainable aviation fuel producer, fuel farm, or

fuel cooperative.

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(x) Hotel, motel, or casino.
(xi) Dealer or leasing enterprise for aircraft or any craft used
in transportation.

(xii) Maintenance or servicing enterprise for aircraft.
The Agreement between the USDOT and Defendant American Airlines (the
merged company) dated November 12, 2013, be adjudged to violate section 3
of the Airline Deregulation Act of 1978, 49 U.S.C. § 40101(a), which requires
market competition to decide matters related to price, route, and service in
air transportation;
(From 9460.) The Agreement between the USDOT and Defendant American
Airlines (the merged company) dated November 12, 2013, be adjudged to
violate 18 U.S.C. § 1001 by making a false claim to a proprietary right to
airspace reservations allocated by unlawful grandfathering.
(From 9469.) The Settlement Agreement between Defendants JetBlue
Airways, Spirit Airlines, and the Attorney General of the State of Florida
dated March 6, 2023, be declared to violate the U.S. Const. art. I, § 8, cl. 3,
art. IV, § 3, cl. 2, and art. I, § 10, cl. 1;
Defendants JetBlue Airways, Spirit Airlines, and the Attorney General of the
State of Florida be permanently enjoined from continuing and restrained

from further implementing the Settlement Agreement dated March 6, 2023;

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550. Each Defendant Carrier has violated Section 2 of the Clayton Act, 15 U.S.C. §
13(a) by its contracts for scheduled air transportation at discriminatory
prices and levels of service between different purchasers; “°°

551. Defendant Carriers be permanently enjoined from continuing and restrained

from further implementing contracts for scheduled air transportation.

4. Civil Forfeiture of Public Assets

zz. Airports within the Port of New York and New Jersey
and Related Airport

552. (From 9473.) Defendant PANYNd be adjudged to have violated 18 U.S.C. §
641 in crediting PFC’s to a carrier.

553. (From 9475.) Defendant PANYNd be adjudged to have violated 18 U.S.C. §
641 in diverting airport revenue pursuant to a revenue sharing agreement
with Defendant the City of New York.

554. (From 9477.) Defendant the City of New York PANYNJ be adjudged to have
violated 18 U.S.C. § 641 in retaining airport revenue received by a direct
payment in addition to rents pursuant to an agreement with Defendant

PANYNG, and therefore,

469 See e.g., GSA City Pair Program (CPP) FY24 Contract Awards (Jul. 2023), Doc.
354, PE-H CarrierInfo 315. See also, the USTRANSCOM list of contracts at
footnote 187.

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(From 99552 to 554.) Defendants PANYNJ and the City of New York be
adjudged to have engaged in specified unlawful activity in the meaning of 18
U.S.C. § 1956()(7)(D); and
(From 7487.) Defendant PANYNJ be adjudged to have violated 18 U.S.C. §
1956(h) in diverting airport revenue to carriers pursuant to an Air Carrier
Incentive Plan, and therefore,
(From 7556.) Defendant PANYNJ be adjudged to have engaged in specified
unlawful activity in the meaning of 18 U.S.C. § 1956(c)(7)(A); and therefore,
(From {552 to 557.) The forfeiture of the following property to the United
States which is G) property involved in or traceable to money laundering
transactions in violation of 18 U.S.C. § 1956 pursuant to section 1366(a)(1) of
the Money Laundering Control Act of 1986, 18 U.S.C. § 981(a)(1)(A); and/or
Gi) property which constitutes proceeds traceable to specified unlawful
activity within the meaning of section 20(b) of the Civil Asset Forfeiture
Reform Act of 2000, 18 U.S.C. § 981(a)(2)(A), pursuant to section 20(a) of the
Civil Asset Forfeiture Reform Act of 2000, 18 U.S.C. § 981(a)(1)(C):

a. Newark Liberty airport in Newark, New Jersey;

b. Teterboro airport in Teterboro, New Jersey;

c. John F. Kennedy airport in New York, New York;

d. LaGuardia airport in New York, New York;

e. Stewart airport in New Windsor, New York, without the

Port District but operated by Defendant PANYNJ;

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aaa. Airports in Florida that JetBlue or Spirit Served as of
March 2023

559. (From 9463.) Defendant Ashley Moody be adjudged to have violated U.S.
Const. art. I, §8, cl. 3 by regulating air commerce pursuant to the Moody
Agreement; and (To 7565.)

560. (From 464.) Defendant Ashley Moody be adjudged to have violated Endres’
right to free speech under U.S. Const. amend. I pursuant to the Moody
Agreement; and (To 9565.)

561. (rom 9465.) Defendants Ashley Moody, JetBlue, and Spirit be adjudged to
have violated 18 U.S.C. § 1956(a)(1)(A)@ with the intent to promote the
carrying on of the grandfathering of supplier airspace reservations; and (To
9565.)

562. (From 9467.) Defendant Ashley Moody be adjudged to have conspired with
Defendants JetBlue and Spirit to violate 18 U.S.C. § 1956 and so be adjudged
to have violated 18 U.S.C. § 1956(h); and (To 9565.)

563. (From 9468.) Defendants Ashley Moody, JetBlue, and Spirit be adjudged to
have violated 18 U.S.C. § 1503 by agreeing to not disclose their Moody
Agreement to a court; and therefore, (To 9565.)

564. (From 9469.) Defendants Ashley Moody, JetBlue, and Spirit be adjudged to
have engaged in specified unlawful activity within the meaning of 18 U.S.C. §
1956(c)(7)(A). (To 1565.)

565. (From 9559 to 564.) The forfeiture of the following property in Florida to the

United States which is G) property involved in or traceable to money

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laundering transactions in violation of 18 U.S.C. § 1956 pursuant to section
1366(a)(1) of the Money Laundering Control Act of 1986, 18 U.S.C. § 981(a)
(1)(A); and/or Gi) property which constitutes proceeds traceable to specified
unlawful activity within the meaning of section 20(b) of the Civil Asset
Forfeiture Reform Act of 2000, 18 U.S.C. § 981(a)(2)(A), pursuant to section
20(a) of the Civil Asset Forfeiture Reform Act of 2000, 18 U.S.C. §
98 1(a)(1)(C):

a. Fort Lauderdale-Hollywood airport (FLL);

b. Jacksonville airport (JAX);

c. Key West airport (EYW);

d. Miami airport (MIA);

e. Orlando airport (MCO);

f. Palm Beach airport (PB);47°

g. Pensacola airport (PNS);

h. Sarasota Bradenton airport (SRQ);

1. Southwest Florida airport (RSW);

j. Tallahassee airport (TLH); and

k. Tampa airport (TPA).

470 Note that the Palm Beach airport has allocated one of its three concourses to the
Bahamas government through its wholly owned airline.

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C. Unlawful Economic Regulation of Air Transportation

(From 490.) The Port Authority of New York and New Jersey (PANYNJ)
regulation regarding a perimeter rule at LaGuardia airport be declared to
violate 49 U.S.C. § 41713, and so violates U.S. Const. art. I, § 8, cl.3, and
Defendant PANYNJ be enjoined from enforcing it.

(From {460 to 461.) The Agreement between the USDOT and Defendants
American Airlines and JetBlue Airways dated January 10, 2021 be adjudged
to violate (a) section 3 of the Airline Deregulation Act of 1978, 49 U.S.C. §
40101(a), which requires market competition to decide matters related to
price, route, and service in air transportation; (b) 18 U.S.C. § 1001 by making
a false claim to a proprietary right to airspace reservations allocated by
unlawful grandfathering; and in so doing, () Endres’ first amendment right
to free speech to discover and broadcast the market-clearing price of airspace
reservations and to engage in commerce, U.S. Const. amend. I; and therefore,
Defendants American Airlines, JetBlue Airways, and the United States be
permanently enjoined from continuing and restrained from further
implementing the Agreement with the USDOT dated January 10, 2021.
(From 4473.) Defendant PANYNd’s crediting of PFCs to carriers be adjudged
to violate 49 U.S.C. § 47133(a) and the PANYNJ be ordered to repay the

diverted revenue to the airports pursuant to 49 U.S.C. § 47107 (m)(2)).

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(From 7479.) MWAA’s revenue sharing agreement with carriers be adjudged
to violate 49 U.S.C. § 47133(a) and the MWAA be ordered to repay the

diverted revenue to the airport pursuant to 49 U.S.C. § 47107 (m)(2)).

D. Remedies to the U.S. Constitution

(From 477.) Defendant the City of New York’s collection of a percent of
airport revenue be adjudged to be an Impost or Duty on Imports or Exports in
violation of U.S. Const. art. I, § 10, cl. 2, requiring compensation of the
amount collected by the City of New York to the U.S. Treasury.

(From 494.) Defendant the United States agency's Contracts for Scheduled
Service with each Defendant Carrier be adjudged to violate U.S. Const. art. I,
§ 8, cl.3 and the United States be enjoined from enforcing them.

United States statute 49 U.S.C. § 49104(a)(4) be declared to violate U.S.
Const. art. I, § 9, cl. 6 and U.S. Const. amend. I and Defendant United States
be enjoined from enforcing it.

United States statute 49 U.S.C. § 49106(e) be declared to violate U.S. Const.
art. I, § 8, cl. 3, and U.S. Const. art. I, § 9, cl. 6 and Defendant United States
be enjoined from enforcing it.

United States statute 49 U.S.C. § 49109 be declared to violate the U.S. Const.
art. I, § 9, cl. 6, and Defendant U.S. be enjoined from enforcing it.

United States statute 49 U.S.C. § 49111 be declared to violate the U.S. Const.

art. I, § 9, cl. 8, and Defendant United States be enjoined from enforcing it.

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E. Patents

A declaratory judgment be issued that there is no judicial exception to the
patentability of Plaintiff Endres’ patent application 15/789,585 for his multi-
sided demand-calibrated market clearing process, pursuant to 35 U.S.C. §
101, and that therefore, the patent was unlawfully withheld; and
Consequent to [576, a mandamus be issued to the Under Secretary of
Commerce for Intellectual Property and Director of the United States Patent
and Trademark Office to issue the patent to: (a) protect competition among
suppliers and competition among consumers in airspace reservations in air
commerce as required by section 3 of the Airline Deregulation Act of 1978, 49
U.S.C. § 40101(a)(6)(A), (9), and (12); (b) enforce the Public’s constitutional
right to progress in the art of preventing congestion delays in transportation
through a multi-sided market-clearing process, U.S. Const. art. I, § 8, cl. 8; ©)
secure the Public’s title to the navigable airspace pursuant to 49 U.S.C. §
40103(a)(2); and (d) to further aid the courts’ jurisdiction in future
bankruptcy and antitrust cases involving domestic and foreign air carriers,
airport operators, and airport owners.

Patent Number US9,156,564 (2015) for Endres’ assisted takeoff system and
Patent Number US9,920,695 (2018) for Endres’ controlled descent system be

extended to 18 years after the issuance of the patent in the 9577.

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F. Other

579. Plaintiff be awarded such other relief as the Court may deem necessary and

proper.

XI. OATH

I declare under penalty of perjury that the foregoing is true and correct.

Signed March 21, 2024.

Aa P Eudes

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